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    1                         IN THE UNITED STATES DISTRICT COURT

    2                         IN AND FOR THE DISTRICT OF DELAWARE

    3                                          - - -
          ACORDA THERAPEUTICS, INC.,                   :
    4                                                  :    CIVIL ACTION
                         Plaintiff,                    :
    5     v                                            :
                                                       :    (Consolidated)
    6     ALKEM LABORATORIES LTD.,                     :
                                                       :    NO. 14-882-LPS
    7                    Defendant.                    :
                                               - - -
    8
                                       Wilmington, Delaware
    9                               Monday, September 19, 2016
                                     Bench Trial - Volume A
   10
                                               - - -
   11
          BEFORE:             HONORABLE LEONARD P. STARK, Chief Judge
   12
          APPEARANCES:                         - - -
   13

   14                    MORRIS NICHOLS ARSHT & TUNNELL, LLP
                         BY: MARYELLEN NORIEKA, ESQ.
   15
                              and
   16
                         KAYE SCHOLER, LLP
   17                    BY: AARON STIEFEL, ESQ.,
                              DANIEL DiNAPOLI, ESQ., and
   18                         SOUMITRA DEKA, ESQ.
                              (New York, New York)
   19
                              and
   20
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   23                                 Therapeutics, Inc., and Alkermes
                                      Pharma Ireland Limited
   24

   25     Dale Hawkins                                 Brian P. Gaffigan
          Registered Merit Reporter                    Registered Merit Reporter
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    2     APPEARANCES:    (Continued)

    3
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   24

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    1                                     - oOo -

    2                             P R O C E E D I N G S

    3                   (REPORTER'S NOTE:      The following bench trial was

    4     held in open court, beginning at 8:32 a.m.)

    5                   THE COURT:    Good morning, everyone.

    6                   (The attorneys respond, "Good morning, Your Honor.")

    7                   THE COURT:    Just this first morning, let me have

    8     you start by putting your appearances on the record for me,

    9     please.

   10                   MS. NOREIKA:     Good morning, Your Honor.

   11                   THE COURT:    Good morning.

   12                   MS. NOREIKA:     Maryellen Noreika for the

   13     plaintiffs.    And with me at counsel table are Daniel

   14     DiNapoli and Aaron Stiefel from Kay Scholer.

   15                   MR. DiNAPOLI:     Good morning, Your Honor.

   16                   THE COURT:    Good morning.

   17                   MR. STIEFEL:     Good morning, Your Honor.

   18                   MS. NOREIKA:     In the row behind are Sylvia

   19     Becker and Sam Deka, also from Kaye Scholer.

   20                   And then sitting in the front row, is Jane

   21     Wasman who is the general counsel of Acorda.

   22                   THE COURT:    Okay.    Good morning.    Welcome.

   23                   MS. MATTERER:     Good morning, Your Honor.

   24                   THE COURT:    Good morning.

   25                   MS. MATTERER:     On behalf of Mylan, defendants
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    1     Mary Matterer from Morris James.        I have with me Robert

    2     Florence at counsel table.

    3                   MR. FLORENCE:     Good morning, Your Honor.

    4                   MS. MATTERER:     Karen Carroll.

    5                   MS. CARROLL:     Good morning, Your Honor.

    6                   MS. MATTERER:     And Michael Binns.

    7                   MR. BINNS:    Good morning, Your Honor.

    8                   THE COURT:    Good morning.

    9                   Thank you.

   10                   MR. PHILLIPS:     Good morning, Your Honor.

   11                   THE COURT:    Good morning.

   12                   MR. PHILLIPS:     Jack Phillips on behalf of

   13     Apotex, Teva, and Roxane.       And with me in the courtroom are

   14     Charles Klein.

   15                   MR. KLEIN:    Good morning.

   16                   MR. PHILLIPS:     Sam Park.

   17                   MR. PARK:    Good morning.

   18                   MR. PHILLIPS:     Bryce Cooper.

   19                   MR. COOPER:    Good morning.

   20                   MR. PHILLIPS:     And Reid Smith, all of Winston &

   21     Strawn.

   22                   MR. SMITH:    Good morning.

   23                   THE COURT:    Good morning to all of you.       Thank

   24     you.

   25                   Is that everybody?      All right.    Well, welcome
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    1     again.   We're here for trial.

    2                   Before we begin with presumably opening

    3     statements, are there any issues or objections from the

    4     plaintiffs this morning?

    5                   MR. DiNAPOLI:     No, Your Honor, although there is

    6     one issue as to the order of presentation of the opening.

    7                   THE COURT:    Okay.    That sounds like an issue.

    8     So why don't we start the clock, and why don't you come

    9     address that then.

   10                   MR. DiNAPOLI:     Very well.    I mean it's -- and we

   11     are the plaintiffs in the case, and I understand that it's

   12     customary practice for plaintiffs to go first.

   13                   I understand that the defendants do bear the

   14     burden since the only issue in the case is invalidity.            But

   15     nonetheless, as plaintiffs, we would like the opportunity to

   16     present our invention first.

   17                   THE COURT:    My recollection is it was undisputed

   18     at least the order of proof was going to be defendants

   19     first; is that correct?

   20                   MR. DiNAPOLI:     Yes.

   21                   THE COURT:    But you would nonetheless like to be

   22     heard first on opening?

   23                   MR. DiNAPOLI:     Correct.

   24                   THE COURT:    All right.     Thank you.    We'll hear

   25     from defendants on this, and then we'll see if you have
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    1     separate issues.

    2                   MR. KLEIN:    Your Honor, I believe this is the

    3     only issue, but because we have the burden of proof, we

    4     would like to present our opening statement first, and we

    5     believe that is customary.

    6                   THE COURT:    Okay.    Thank you.

    7                   Well, I'm going to stick to the burden of proof

    8     being the order that I hear argument in.          I think you could

    9     go either way, and I don't think it will be unfair to either

   10     side, but I certainly had in my mind that we are going to

   11     here from the defendants first since that was the undisputed

   12     order of proof.     So we'll do that with respect to the

   13     openings as well.

   14                   And just for the record, no other issues that

   15     defendants wanted to raise?

   16                   MR. KLEIN:    That is correct, Your Honor.

   17                   THE COURT:    And how many openings should I

   18     expect on the defendants' side?

   19                   MR. KLEIN:    Just one.

   20                   THE COURT:    Okay.    All the better.

   21                   Well, you may begin when you are ready.

   22                   MR. KLEIN:    Thank you, Your Honor.       I will be

   23     presenting the opening statement on behalf of all of the

   24     defendants.

   25                   I would like to begin by giving Your Honor a
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    1     high level overview of our theories and themes in the case,

    2     and the case is going to focus on issues of obviousness.

    3                   There are five asserted patents and 18 asserted

    4     patent claims.     And it sounds like a lot, and it sounds

    5     complicated but it really isn't because all of the asserted

    6     claims fall within two categories.

    7                   The first category is, includes two asserted

    8     claims from the earliest patent which is the '938 patent,

    9     and this patent was assigned to Elan Corporation, so for

   10     convenience we're going to refer to it as the Elan patent.

   11                   Elan is now Alkermes so that is how Alkermes

   12     fits into the picture.

   13                   And there are two asserted claims from this

   14     patent, and the evidence will show that these claims are

   15     obvious because they merely cover a known drug called 4-AP,

   16     for a known use, treating multiple sclerosis or MS with a

   17     known formulation type.

   18                   It is a sustained release formulation.

   19                   The second category includes all the remaining

   20     patents.    There are four patents that are assigned to

   21     Acorda, so we're going to call those the Acorda patents.

   22     And those asserted claims are obvious as well because they

   23     simply narrow the scope of the Elan patent.

   24                   Now, the Elan patent issued in 1996.         The

   25     priority date for the Acorda patents is eight years later,
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    1     so that the Elan patent is actually prior art to the Acorda

    2     pant, and all the Acorda patents do is narrow the scope of

    3     the Elan patent down to a dose, a known dose in the art,

    4     10 milligrams twice daily for a known MS treatment, to

    5     improve walking.

    6                   The evidence will show that all claims of all

    7     asserted patents are invalid as obvious.

    8                   I'll note we also do have a 112 defense that is

    9     pleaded in the alternative that is directed solely to the

   10     Elan patent and depending on the positions that plaintiffs

   11     take, if appropriate, we'll address those in closing

   12     argument and post-trial briefing, but the trial will focus

   13     on issues of obviousness.

   14                   I'd like to give Your Honor a little bit of

   15     background on multiple sclerosis or MS.         You don't need to

   16     know too much about the disease to understand the issues of

   17     the case, so I'm just going to give you a high level

   18     overview.    MS, it's obviously a terrible disease.         It

   19     attacks the cover for the nerve fibers and that is called

   20     the myelin sheath.

   21                   So what the disease does is degrades this myelin

   22     sheath, and that in turn slows the nerve impulses from the

   23     brain to the body, and that is called demyelinization.

   24                   So when the brain is not communicating with the

   25     with the body, it causes all kinds of problems and most
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    1     relevant here it impairs the ability to walk.          There are

    2     other systems as well but the Acorda patents focus on MS

    3     patients' ability to walk.

    4                   The disease, as Your Honor probably knows, is a

    5     chronic disease and unfortunately there is no cure.

    6                   The drug at issue in this case is called Ampyra.

    7     And it's the embodiment of all patents in suit, all the

    8     patents are listed in the FDA Orange Book for Ampyra, and

    9     the defendants, of course, have filed applications with the

   10     FDA to market generic versions of this drug.

   11                   And this drug contains the active ingredient

   12     4-aminopyridine, or 4-AP.       It goes by other names like

   13     dalfampridine and fampridine, but the vast majority of the

   14     time we will refer to it as simply 4-AP.         And Ampyra has a

   15     specific dose.     It is 10 milligrams.      And you will see it is

   16     an extended release tablet.

   17                   Throughout the trial, you will hear terms like

   18     extended release, controlled release, sustained release, and

   19     there are some nuances among these terms, but for purposes

   20     of this case, they all mean the same thing.          It's the

   21     release of the drug into the body over a period of time as

   22     opposed to immediately.

   23                   According to the label, the drug should be taken

   24     twice daily, or BID.      So you will see bid.      Sometimes it's

   25     all caps, sometimes it's all lower case.         All that means is
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     1    twice a day.     And it's indicated to improve walking in MS

     2    patients.

     3                   So turning to the drug itself, you are not going

     4    to hear plaintiffs come in and say they invented 4-AP.              4-AP

     5    is a very old drug.      It's been known for more than a

     6    century.

     7                   In addition, it was known in the art that 4-AP

     8    could be used to treat MS.       That was a known use.

     9                   On this screen is the Davis reference, and as

   10     you can see from the very title of the reference, it is

   11     entitled:    orally administered 4-aminopyridine improves

   12     clinical science in multiple sclerosis.

   13                    And what Davis taught was the results

   14     demonstrate, the results of the clinical trial, demonstrate

   15     that orally administered 4-AP acutely improves both motor

   16     and visual abnormalities in MS patients.

   17                    So the use of 4-AP to treat MS was known in the

   18     art.    This was a known drug for a known use.

   19                    All of the patents that are asserted in this

   20     case have a common denominator.        They all claim variations

   21     of this known use for a known drug, and we'll talk about

   22     that.

   23                    But I want to focus first on the earliest

   24     patent, the Elan patent, it is of the '938 patent.            And

   25     although it is small, on the left, in the snapshot, it was
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     1    issued in 1996.     It's got a priority date of November 1990.

     2    So that is the date we're focused on for prior art.            It

     3    expires in July 2018.       There was a patent term extension

     4    that was applied to this patent, and there are two asserted

     5    claims, claims 3 and 8.

     6                   Looking at the claims, 3 and 8 are both

     7    depending on claim 1.       And for convenience, I'll look at

     8    them together.     And when you look at them together, they

     9    claim a method of treatment of a neurological disease -- and

   10     if you go to claim 3, that is MS -- which comprises

   11     administering to a patient in need thereof a medicament

   12     containing -- and then you go to claim 8 -- 4-AP.

   13                    So at this point, the patent is claiming 4-AP

   14     to treat MS that was known in the art.          So the key term in

   15     this patent is sustained release.         That is the focus of this

   16     patent, and that is why I highlighted it.

   17                    And the patent does not claim a particular

   18     formulation or recipe that achieves a sustained release.

   19     It covers any sustained release formulation that achieves

   20     therapeutically effective blood levels over 12 to 24 hour

   21     period when administered on a once or twice daily basis.

   22                    So this is the key question for the Elan patent:

   23     Was it obvious to formulate a known drug (4-AP ) for a known

   24     use (to treat MS) in a sustained release dosage form?

   25                    And the evidence will show that the answer is
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     1    yes.

     2                   For example, going back to the Davis reference,

     3    and here I inserted the month because to make it clear, it

     4    is before the priority date, the Davis reference is prior

     5    art.    And, again, it taught that 4-AP could be used to treat

     6    MS.    And, in particular, Davis taught that there was an

     7    effective therapeutic window for orally administered MS, but

     8    it also taught that there were severe side effects if you

     9    gave too much of the drug.       The patients could have seizures

   10     if you gave too much of the drug.

   11                    Combined with the fact that 4-AP has a short

   12     half-life, what this means and what was known in the art is

   13     that patients taking 4-AP to treat MS would have to take

   14     many pills a day, up to say, for example, four pills a day.

   15     And MS is a chronic disease.        So that, if you are taking

   16     four pills a day for a week, that might be okay, but for a

   17     chronic disease, it is not only inconvenient for patients,

   18     it causes very significant concerns as to patient

   19     compliance.

   20                    And this was known in the art and, in fact, the

   21     patent itself, the Elan, the '938 patent, conceives what the

   22     prior art taught.      In the heading, background and prior art,

   23     the patent itself says there is a need for an improved

   24     dosage form for 4-AP, and that improvement must result in a

   25     controlled release of the drug.
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     1                   So the patent, itself confirms motivation in the

     2    art to modify the known use, the known drug for the known

     3    use, 4-AP to treat MS, by making the 4-AP a controlled

     4    release dosage form.

     5                   The PhamaStem case from the Federal Circuit

     6    makes it clear that admissions in the specification

     7    regarding the prior art are binding on the patentee for

     8    purposes of a later inquiry into obviousness.

     9                   So motivation is conceded in the patent itself.

   10     And so all that is left for this patent is whether a skilled

   11     artisan would have had a reasonable expectation of success

   12     in taking the 4-AP, following what the prior art suggests

   13     and formulated in a sustained release dosage form.

   14                    And that was obvious.      There was a reasonable

   15     expectation of success.       Controlled release sustained

   16     release dosage forms have been known for a long time.

   17                    Again, the priority date is 1990.        And if you

   18     look at the Lee reference, that is going back more than a

   19     decade, to '78.     And that reference has been known over the

   20     years.    There have been available a variety of drug

   21     modifications and dosage forms to control the release of

   22     the drug, including sustained release:          Remington's, a very

   23     well known treatise five years before the priority date.

   24     Numerous products on the market that claim sustained or

   25     controlled drug delivery.
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     1                   So what happened here is Elan simply applied a

     2    routine research method to follow the prior art, take the

     3    4-AP which was known to treat MS and formulate it in a known

     4    formulation.     That analogous circumstance the federal

     5    circuit in PharmaStem held that the inventors merely used

     6    routine research methods to prove what was already believed

     7    to be the case.     Scientific confirmation of what was already

     8    believed to be true may be a valuable contribution, but it

     9    does not give rise to a patentable invention.

   10                    And that's all that happened here, the prior

   11     art, already believed that a proved dosage form was

   12     warranted for 4-AP when used to treat MS and that it should

   13     control the release of the drugs and all the inventors did

   14     here was use routine research methods to come up with a

   15     formulation that worked and that does not give rise to a

   16     patentable invention.

   17                    So the evidence will show that the Elan patent

   18     both claims, both asserted claims of the Elan patent are

   19     invalid as obvious.

   20                    Turning now to the Acorda patents, again, the

   21     Elan patent is prior art to Acorda.         And that's because the

   22     Elan patent issued in 1996 and the priority date for these

   23     four patents is eight years later, 2004.          In the meantime

   24     Acorda took an exclusive license to from Elan and used the

   25     Elan sustained release formulation to run some clinical
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     1    study.

     2                   There are sixteen asserted claims from these

     3    four patents and again that sounds like a lot, like a lot,

     4    sounds complicated.      It's not at all.     These claims overlap

     5    and there are common limitations.         And at the bottom all

     6    these patents do is limit the scope of the Elan patent to a

     7    known dose or a known MS treatment.

     8                   I'm not going to walk through all sixteen

     9    claims.    I chose a representative claim, claim 1 from the

   10     '826 claim.     I'm going to walk through the key limitations

   11     of this claim that apply through the four.          The first

   12     limitation requires a sustained release 4-AP to treat MS

   13     patients.

   14                    The second limitation, and this is really the

   15     heart of the patent, requires a specific dose, 10 milligrams

   16     BID, again BID, all that means is twice a day.           The patent

   17     further narrows down the type of MS therapy that's involved.

   18     The patents are directed to improving walking or increasing

   19     walking speed in patients with MS.         And then you'll see a

   20     number of limitations that have pharmacokinetic ranges,

   21     we'll call these the pK limitations and I'll address these

   22     later.    They're really not important to this case.

   23                    And then finally, the treatment has to last for

   24     at least two weeks without titration.         These are the five

   25     key limitations that cut across the asserted claims of the
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     1    Acorda patents.

     2                   Now to take these one at a time, if you look at

     3    the first limitation, sustained release 4-AP to treat MS

     4    patients, the Acorda plaintiffs can't come in and claim that

     5    they invented this because that is precisely what is claimed

     6    in the Elan patent that is prior art.         So all they did was

     7    build upon that and narrow the scope of the Elan patent.

     8                   In fact, after the Elan patent issued in 1996,

     9    Schwid reported on a study with the Elan formulation and

   10     found that a 17.5 milligram dose of sustained release 4-AP,

   11     BID, twice daily, improves motor function in MS patients.

   12     The conclusion of the article says 4-AP SR improved motor

   13     function in MS patients and there is a promise to be useful

   14     in future trials.      So sustained release 4-AP to treat MS,

   15     clearly well established in the prior art.

   16                    Turning to the dose, and as I said before, this

   17     is really the heart of the patent, and it's -- it also goes

   18     to the biggest problem that plaintiffs have, and that is

   19     there is a phase two, the results of a phase two clinical

   20     trial that supported FDA approval of Ampyra are reported in

   21     the prior art, and the reported three times in three

   22     references that are related and we will refer to them as the

   23     Goodman I and Goodman II references.

   24                    Goodman I is from 2002 and Goodman II is from

   25     2003.    They're essentially the same thing, but they are
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     1    abstracts that summarize the results of this phase two

     2    clinical trial and then there is a Goodman poster, which is

     3    the poster that Dr. Goodman presented in connection with

     4    those two abstracts.      Collectively we'll refer to these as

     5    the Goodman references.

     6                   And as you can imagine, given that this was a

     7    successful phase two trial, it discloses the specific dose

     8    that's claimed in the patent which is the dose that's used

     9    in the FDA approved Ampyra label, 10 milligrams, BID, twice

   10     daily, or 20 milligrams a day.        And I'll note that

   11     Dr. Goodman, the author of these references, he was a

   12     consultant for Elan and Acorda for many years and he's also

   13     plaintiff's expert in this case who you will actually hear

   14     from Dr. Goodman in this case.

   15                    Dr. Goodman not only identified the specific

   16     dose that's claimed in the patent, the 10 milligram BID

   17     dose, but he identified it as only one of three preferred

   18     doses.

   19                    In the Goodman poster, Dr. Goodman reports there

   20     was evidence of a dose response in the 20 to 40 milligram

   21     per day range.     20 to 40 milligrams per day translates to

   22     three doses, 10, 15, and 20 milligrams bid or twice daily.

   23     One of those three doses is the dose claimed in the Acorda

   24     patent.

   25                    So turning to the next limitation, improved
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     1    walking and increased walking speed.         Well, this limitation

     2    is disclosed in the Goodman references as well.           And I

     3    should note that the Goodman references also used sustained

     4    release 4-AP to treat MS patients, so they also address the

     5    first limitation.

     6                   So in the Goodman I and Goodman II references,

     7    Dr. Goodman references to the fampridine SR, that's

     8    sustained release 4-AP showed statistically significant

     9    improvement from baseline compared to placebo in functional

   10     measures of mobility, a timed 25 walking, 25 foot walking

   11     speed test with a P value of, that's statistically

   12     significant, and in the poster, Dr. Goodman got the point,

   13     said there was a statistically significant benefit on timed

   14     walking.

   15                    So the Goodman references disclose this

   16     limitation as well.

   17                    Now, turning to these pK limitations, there are

   18     a number of pK limitations in the asserted claims and you'll

   19     go through them and they look intimidating, they have ranges

   20     and they say max.      These limitations are practically

   21     irrelevant to the case.       That's because the pK release

   22     profiles that are claimed in the patent are satisfied with

   23     the 10 milligram bid dose, they are inherent with that dose,

   24     and we know that from the Hayes III reference from 2003,

   25     which tested Elan's 10 milligram bid dose and discloses all
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     1    the pK results and they're all within the claimed ranges.

     2                   In fact, Acorda did not modify the Elan

     3    formulation at all.      So they can't claim to have invented

     4    any type of pharmacokinetic invention.          And regardless, all

     5    they did, Your Honor, is the patients who were taking a 10

     6    milligram dose, they just took blood samples and reported

     7    the pK results.

     8                   And the Federal Circuit has addressed that type

     9    of situation and held that an obvious formulation cannot be

   10     nonobvious simply by administering it to a patient and

   11     claiming the resulting serum concentrations.           To hold

   12     otherwise would allow any formulation no matter how obvious

   13     to become patentable merely by testing and claiming an

   14     inherent property.      This is the Santarus case.       That makes

   15     sense if a 10 milligram dose is obvious, you can't get a

   16     patent just by taking blood samples and reporting the serum

   17     concentrations.

   18                    So I'll pause at this point for a moment, Your

   19     Honor, because you might be thinking we've gone through four

   20     of the limitations, these are all disclosed in each of the

   21     Goodman references, so you might be wondering why are we

   22     talking obviousness and not anticipation.          And the truth is

   23     but for this last limitation, we wouldn't be here, at least

   24     for the Acorda patents, because there would be no question,

   25     the Acorda patents would be anticipated by the Goodman
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     1    references.

     2                   The only reason, the only reason the Acorda

     3    patent claims are not anticipated is because the patents

     4    also require that the dose be used for at least two weeks

     5    without titration.      I have an asterisk in the slide because

     6    some of the asserted claims require 12 weeks, but there is a

     7    stipulation in the docket, 254, that if the two-week

     8    limitation is obvious, the twelve-week limitation is

     9    obvious, so the two-week limitation controls this issue.

   10                    And the reason both a two-week and a

   11     twelve-limitation would be obvious is because we're talking

   12     about a chronic disease.       It's multiple sclerosis.       And the

   13     reason that Goodman references don't anticipate is because

   14     the study, the phase two study reported in the Goodman

   15     references tested 10 milligrams BID for one week and then

   16     they increased the dose for the next week and they kept

   17     increasing the doses in subsequent weeks.

   18                    The test, they didn't simply test the 10

   19     milligrams for more than one week, it's obviously safe

   20     because they increased the dose and they still got good

   21     results, but they didn't actually practice that final

   22     limitation of keeping it, keeping the dose at two weeks

   23     without titration.      This is a chronic disease.       We're

   24     talking about drug development.        We're talking about a

   25     stable dose that's going to be given to patients for at
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     1    least two weeks.

     2                   So this leads to the key question for the Acorda

     3    patents, was it obvious to use a known and preferred dose,

     4    10 milligrams BID 4-AP, for a known MS treatment to improve

     5    walking for at least two weeks?        Was it obvious to take what

     6    was known to work for one week and use it for at least

     7    another week?     That is the question for the Acorda patents.

     8    The evidence will show the answer is yes.

     9                   In fact, plaintiff's own expert, Dr. Goodman,

   10     conceded that there was motivation to conduct further

   11     testing of the 10 milligram dose for more than two weeks.

   12     The study, the clinical study that's discussed in the

   13     Goodman references is called the 201 study, and you will

   14     hear that throughout the trial.

   15                    Because that trial was a success, there was

   16     another trial called a 202 study.         It was a second phase two

   17     study.     It's not in the prior art, but that study tested the

   18     10 milligram and the other two preferred doses for two

   19     weeks, and the results of that study supported the Acorda

   20     patents.

   21                    So I asked Dr. Goodman in his deposition, would

   22     a person of ordinary skill in the art in December 2003 be

   23     motivated based on the 201 study, which is in the prior art,

   24     to design a study along the lines of what became the 202

   25     study which supported the patent?         And the witness says
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     1    well, I mean, the historical truth is that we did so, yes.

     2    It was clearly motivation to take what worked for one week

     3    and test it for more than one week, and more than two weeks.

     4                   So the evidence in this case fits neatly within

     5    the KSR framework.      I know Your Honor has seen this

     6    paragraph many times, but here we submit it applies.             When

     7    there is a design need or market pressure to solve a problem

     8    to help MS patients, and there are a finite number of

     9    identified predictable solutions, the prior art taught that

   10     there were three preferred doses for further testing.            A

   11     person of ordinary skill in the art has good reason to

   12     pursue the known options within his or her technical grasp.

   13     We are talking about routine drug development.           If this

   14     leads to the anticipated success, which it can, it is likely

   15     the product is not of innovation, but of ordinary skill and

   16     common sense.

   17                    Ordinary skill and common sense is all it takes

   18     to go from a treatment that helped MS patients when used for

   19     one week, and use it for more than two weeks.           That's

   20     ordinary skill and common sense.        And we submit that's what

   21     this case is about.

   22                    So how do plaintiffs respond?       They say the

   23     Goodman reference did not demonstrate efficacy.           It didn't

   24     prove efficacy, because additional testing was required.

   25     There was a small sample, it was a preliminary study, so it
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     1    didn't demonstrate efficacy.        That's a theme you're going to

     2    hear from the plaintiffs.

     3                   The problem with that theme is time and again

     4    the Federal Circuit has rejected its holding that conclusive

     5    proof of efficacy is not necessary to show obviousness.            All

     6    that is required is a reasonable expectation of success,

     7    that's the Hoffmann-LaRoche case.

     8                   And, Your Honor, you will hear testimony about

     9    reasonable expectation of success and there will be a

   10     dispute about that at the trial, but at the end of the day,

   11     that dispute is academic and it's academic because as a

   12     matter of law, the Acorda patent claims are prima facie

   13     obvious.    Federal Circuit has held where there is a range

   14     disclosed in the prior art and the claimed invention falls

   15     within that range, the burden of production falls upon the

   16     patentee.    The plaintiffs must come forward and produce

   17     evidence of teaching away or secondary considerations of

   18     nonobviousness.

   19                    That is exactly what we have here.        The Elan,

   20     the '938 patent taught, disclosed, patented therapeutic

   21     doses of sustained release 4-AP to treat MS.           The Goodman

   22     references narrow that down to three preferred doses and the

   23     specific type of treatment that we're talking about here to

   24     improve walking in MS patients, all the Acorda patents did

   25     is take one of the preferred doses from the prior art.            The
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                                                                           24


     1    patent claims are prima facie obvious as a matter of law and

     2    so plaintiffs have, have to produce evidence of teaching

     3    away or secondary considerations of nonobviousness.

     4                   So let's take a look at what they produced.

     5                   They are arguing, teaching away.        And their

     6    argument is that the Goodman references we just talked

     7    about, the references that disclose a successful Phase II

     8    clinical study that supported FDA approval for Ampyra

     9    actually teach away from Ampyra and teach away from the

   10     patents that cover Ampyra.

   11                    This is exactly what they're saying.        It is in

   12     their statement of issues of fact, paragraph 79.           Goodman 2

   13     and the Goodman poster teach away from a stable dose regimen

   14     of 10 milligrams sustained release 4-AP twice daily.

   15                    This is the precise dose that Dr. Goodman

   16     said he found evidence of a dose response for, and a

   17     statistically significant benefit on timed walking.

   18                    Under no stretch of the imagination does the

   19     Goodman poster or the Goodman references teach away from

   20     using the claimed invention.        They teach the claimed

   21     invention except for that two-week limitation.

   22                    So to the extent plaintiffs proceed with this

   23     teaching away theory, we submit it is not credible.

   24                    Turning now to the evidence of unexpected

   25     results that we expect them to present.
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                                                                           25


     1                   So, again, in their statement of issues of fact,

     2    paragraphs 132 and 133, they offer two arguments for

     3    unexpected results.

     4                   The first argument they say is that it was

     5    surprising that the 10 milligram dose improves walking or

     6    increases walking speed in MS patients.

     7                   Your Honor, that wasn't surprising.        That is

     8    exactly, exactly what the Goodman references teach, so that

     9    was not surprising at all.

   10                    Second, they argue it was surprising that the

   11     10 milligram dose was as effective as the 20 milligram dose.

   12     Remember there are three preferred doses:          10, 15 and 20.

   13     And they're arguing, well, it was surprising that the 10 and

   14     20 had the same effect.

   15                    Well, the Phase II study report, reported by

   16     Dr. Goodman was not designed to test whether there are

   17     statistical differences between the 10, 15 and 20 milligram

   18     doses.    So you can't tell, one way or the other, whether

   19     they're going to be just as effective or not.

   20                    So it's not surprising, but let's accept for

   21     the sake of argument, for the sake of argument, that it

   22     was surprising that 10 milligrams was more effective than

   23     expected.

   24                    That doesn't get the plaintiffs anywhere.         It

   25     still leads to a dead end as a matter of law.
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     1                   Unexpected results that are probative of

     2    nonobviousness are those that are different in kind and not

     3    merely in degree from the results of the prior art.            Results

     4    which differ by percentages are differences in degree rather

     5    than kind.

     6                   So to say the 10 milligram dose had as a

     7    percentage better efficacy than expected is not an

     8    unexpected result.      Even if it were surprising, it is not an

     9    unexpected result for purposes of obviousness.

   10                    We expect plaintiffs to offer evidence of

   11     commercial success.      And if they offer that evidence, we

   12     will talk about the economics.        But at the end of the day,

   13     their entire theory of commercial success turns on the

   14     notion that there was a financial motive for pharmaceutical

   15     companies to develop a formulation of 4-AP to improve

   16     walking in accordance with the claims in the Acorda patents.

   17                    There is a significant legal problem with that

   18     theory.    The Acorda patents, the priority date is 2004.          The

   19     last two decades, the Elan patent has blocked anyone from

   20     practicing the invention that is claimed in the Acorda

   21     patents.    There is a blocking patent, and that patent was

   22     exclusively licensed to Acorda.        Others were not going to

   23     be able to take a license.       It was blocking others from

   24     practicing the invention.       And so even if there were a

   25     financial motive, there was a huge disincentive under the
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     1    patent laws for anyone else to practice the Acorda patents.

     2                   And the courts have recognized this:        Where

     3    market entry by others was precluded due to blocking

     4    patents, the inference of nonobviousness of the asserted

     5    claims from evidence of commercial success is weak.

     6                   So, once again, they hit another dead end,

     7    teaching away unexpected results, commercial success.

     8    They're either not credible or they fail as a matter of law.

     9                   Now, I expect them to offer evidence of some

   10     other secondary considerations, such as long felt and unmet

   11     need; and the evidence will show that Ampyra doesn't meet a

   12     long felt and unmet need but, regardless, the same problem

   13     that plaintiffs have with commercial success, they also have

   14     with long felt and unmet need because the theory of long

   15     felt unmet need is that if there was a need in the art to

   16     practice this, and it was so obvious, how come no one did

   17     it?

   18                    Well, the answer was there was a patent dating

   19     back to 1996 that prevented anyone from doing it.           So they

   20     have the same problem with long felt and unmet need.

   21                    They may offer evidence of failure of others,

   22     but I want Your Honor to pay careful attention to the dates

   23     of the alleged failures that they talk about.           They're old

   24     failures, long before the Goodman references that we're

   25     talking about.
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     1                   And we expect them to discuss a review, a

     2    literature review article by a gentleman named Solari.            And

     3    they'll rely on that reference, but that reference does not

     4    discuss any of the Goodman references as well as other prior

     5    art that we're relying on.       So as a practical matter,

     6    whatever that review article has to say isn't probative of

     7    obviousness in this case.

     8                   So hopefully from my presentation, Your Honor,

     9    we'll see that although there are lots of asserted claims,

   10     the issues are really straightforward, they're simple.            Our

   11     themes are simple and straightforward.          And we will proceed

   12     efficiently.     We obviously only have ten hours to do so.

   13                    We only have two live witnesses in our case in

   14     chief -- we'll have a couple videos -- two live witnesses.

   15     Our first witness will be Dr. Stephen Peroutka.           He is an MD

   16     and a Ph.D., an expert in neurology, pharmacology, and drug

   17     development.     And he will explain our theories of

   18     obviousness in much more depth than I have.

   19                    Next, you will hear from Dr. Arthur Kibbe who

   20     is a Ph.D.     He is an expert in formulation and

   21     pharmacokinetics.      So he will talk about in more depth about

   22     sustained release formulation and the PK limitations we

   23     talked about for the Acorda patents.         And,

   24                    Finally, if the plaintiffs offer evidence of

   25     commercial success, in our rebuttal case, we will call
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     1    Dr. Deforest McDuff who is an economist.

     2                   So to wrap up, all the asserted claims fall

     3    within two categories.

     4                   The first category, two asserted claims from the

     5    Elan patent, they're both obvious.         They just cover a known

     6    drug (4-AP) for a known use (treating multiple sclerosis)

     7    with a known formulation type (sustained release).

     8                   The prior art is conceded by the patent itself.

     9    Motivated skilled artisans could use sustained release of

   10     4-AP to treat MS.

   11                    And the prior art also provided skilled artisans

   12     with a reasonable expectation of success that they can take

   13     this active ingredient and through routine experimentation

   14     come up with a sustained release formulation.

   15                    The remaining claims are also obvious.         They

   16     merely narrow the prior art Elan patent to a known dose for

   17     a known MS treatment and, thus, are prima facie obvious.

   18                    Acorda's teaching away and secondary

   19     considerations theories fail both factually and legally.

   20                    Thank you, Your Honor.

   21                    THE COURT:    Thank you very much.      We'll hear

   22     from plaintiffs.

   23                    MR. KLEIN:    Before that, do you want copies,

   24     Your Honor?

   25                    THE COURT:    Sure.   That would be helpful.      Thank
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     1    you.

     2                   (Binders passed forward.)

     3                   THE COURT:    You may proceed.

     4                   MR. DiNAPOLI:    Thank you, Your Honor.       I am

     5    privileged to present the opening on behalf of plaintiffs

     6    Acorda Therapeutics and Alkermes in their assertion of the

     7    patents covering Acorda's flagship product, Ampyra.

     8                   Your Honor recently signed a stipulation whereby

     9    defendants admitted that their proposed generic products

   10     infringe all of the patents in this case.

   11                    So the only issue in this case is whether the

   12     defendants can meet their high burden of proof to show by

   13     clear and convincing evidence that the patents are invalid.

   14                    The defendants will try to do so by using

   15     hindsight to ignore failed studies and other evidence

   16     showing lack of clinical effect.

   17                    The defendants will also rely on small clinical

   18     studies designed solely for the purpose of exploring

   19     potential endpoints for use in future trials and then recast

   20     those as clinical studies showing efficacy.

   21                    But the evidence will show that the defendants

   22     cannot come anywhere close to meeting their high burden.

   23                    Ampyra is an extended or sustained release

   24     formulation of dalfampridine.        Dalfampridine is also called

   25     4-AP or 4-aminopyridine.
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     1                   4-AP is, in fact, a very old compound.         It is

     2    over 100 years old.      Nonetheless, Ampyra is the first and

     3    only FDA approved use of 4-AP in that 100 years.

     4                   Ampyra is also the first and only approved use

     5    treatment approved by the FDA to improve walking in MS

     6    patients.

     7                   Plaintiffs are asserting five patents in this

     8    case, and collectively we will be referring to those as the

     9    Ampyra patents.

   10                    The patents are from two different periods.          The

   11     earliest of the Ampyra patents is the Masterson patent, or

   12     the '938 patent.      And that patent dates back to 1991.

   13                    The '938 patent describes the same release

   14     formulation invented by Elan which is now plaintiff

   15     Alkermes.

   16                    Plaintiffs are asserted two claims from the '938

   17     patent; and shown here is one of those claims, claim 8 which

   18     depends from claim 1.

   19                    Claim 8 is directed not to the sustained release

   20     formulation itself but rather to what the sustained release

   21     provides to the patient and, namely, a therapeutically

   22     effective blood level of 4-AP over a 12 to 24 hour period.

   23                    The later of the Ampyra patents are the four

   24     Acorda patents, and they date back to 2004.

   25                    The inventors on the Acorda patents are Drs. Ron
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     1    Cohen and Andrew Blight.       And you will hear from Dr. Cohen

     2    who is also the founder and CEO of Acorda during this trial.

     3                   The Ampyra patents describe, among other things,

     4    what was then the largest clinical study with 4-AP in MS

     5    patients.    It was a 206 patient study.

     6                   And plaintiffs are asserting 16 claims from the

     7    Acorda patents.     As shown here is a representative claim

     8    from Acorda's '437 patent that contains several of the core

     9    claim elements that you will hear about.          And, as shown, the

   10     claim recites a method of increasing walking speed by

   11     administering 10 milligrams of 4-AP -- of a sustained

   12     release 4-AP twice a day.

   13                    I plan to address briefly four topics -- three

   14     topics actually.

   15                    I will provide general background information on

   16     the science of MS and 4-aminopyridine.

   17                    I will describe some key events along the path

   18     that Elan and Acorda followed in making the inventions

   19     claimed in the Ampyra patents.

   20                    And third I will discuss the references which

   21     demonstrates that the defendants cannot meet their high

   22     clear and convincing evidence burden.

   23                    Multiple sclerosis, MS, is an unpredictable,

   24     debilitating disease of the central nervous system.

   25                    The cause of MS remains unknown.        In people with
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     1    MS, the immune system attacks and damages the nerves of the

     2    central nervous system.       This damage interrupts, disrupts

     3    the conduction of information in the central nervous system.

     4                   The symptoms of MS vary widely and depend both

     5    on which of the body's nerves are damaged and the extent of

     6    the damage, and there is no cure for MS.

     7                   These are a few of the most common symptoms of

     8    MS that you will hear about during this trial.

     9                   Walking impairment is one of the most prevalent

   10     and disabling symptoms of MS.

   11                    Muscle weakness is another frequent symptom of

   12     MS, and it can occur in any part of the body including the

   13     arms and legs.

   14                    There are a variety of visual disorders are also

   15     common in MS.

   16                    One visual disorder that you will hear about

   17     involves a weakness of the pair of muscles that control the

   18     coordination of the eyes.       And in MS patients, when they

   19     have that weakness, they will get double vision.

   20                    And fatigue is yet another symptom of MS.

   21                    The nature of MS presents formidable challenges

   22     for those trying to develop treatments.

   23                    The central nervous system and the immune system

   24     are among the most complex systems in the body, and MS

   25     involves both.
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     1                   MS symptoms vary significantly from patient to

     2    patient, leaving researchers with the task of identifying

     3    which symptoms to target.

     4                   One of the principal difficulties facing

     5    researchers is the variability within a single patient.              The

     6    symptoms can vary day to day, and patients can have good

     7    days and bad days.      That makes it very difficult for

     8    clinical studies to distinguish the effect of a drug from

     9    the normal fluctuations of the symptoms in the patient.              And,

   10                    Finally, MS research is complicated by a strong

   11     placebo effect in clinical trials involving MS.

   12                    And you will hear about each of these challenges

   13     reflected in the clinical studies discussed during this trial.

   14                    I want to now briefly describe how 4-AP improves

   15     nerve conduction in MS patients.

   16                    Shown here is a healthy nerve.       The nerve fiber

   17     appears in blue.

   18                    Myelin surrounds the nerve fiber in orange, and

   19     the myelin acts as an electrical insulator.

   20                    The yellow depicts how information in the form

   21     of electrical signal travels down the nerve.           The electrical

   22     signal, in essence, hops along gaps in the myelin.

   23                    This slide shows a nerve damaged by MS.         The

   24     MS has demyelinated part of the nerve, creating that bigger

   25     gap.    And the electrical signal, as a result, travels more
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     1    slowly over that gap and may sometimes get blocked

     2    completely from proceeding down the nerve.

     3                   And a key reason the signal is slow or blocked

     4    along that gap is that the demyelinization exposes potassium

     5    channels, allowing potassium to leak out of the nerve cell.

     6                   4-AP is a potassium channel blocker, and 4-AP

     7    blocks the exposed potassium channels, thereby reducing the

     8    amount of potassium that leaks out of the nerve.           This in

     9    turn enhances the conduction of the electrical signal along

   10     the nerve.

   11                    I want to turn now to how Elan and Acorda made

   12     the inventions claimed in the Ampyra patents.

   13                    The hundred year history of 4-AP, includes use

   14     as a bird toxin.      And before 4-AP was tested in MS patients,

   15     it was tested clinically in other patients such as -- or

   16     other disorders such as myasthenia gravis.          In those tests,

   17     4-AP sometimes caused seizures.

   18                    The experimental work with 4-AP and MS began

   19     with some animal tests and would show that 4-AP could in

   20     fact improve nerve conduction in demyelinated nerves in

   21     those animals.     And since MS was known as a demyelinating

   22     disease, that kicked off, those animal tests kicked off

   23     experiments of 4-AP in people with MS.

   24                    Now, as I mentioned, potassium channel blocking

   25     is the mechanism by which 4-AP improves nerve conduction.
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                                                                           36


     1                   Potassium channel blocking is also the mechanism

     2    that causes seizure in some people.         Thus, from the outset,

     3    researchers recognized there was a risk, a major risk of

     4    using 4-AP in people.

     5                   This created the dilemma for researchers.         Too

     6    much 4-AP had serious adverse events such as seizures.             Too

     7    little was thought to have no effect.         That left an open

     8    question:    Would 4-AP have any question in MS patients

     9    without also causing serious adverse events such as

   10     seizures, and, if so, what dose would be safe and effective?

   11                    The risk of seizures also led researchers to

   12     adopt a dose titration regimen for 4-AP.          They felt that

   13     they needed to start with a very low dose of 4-AP such that

   14     the patient could tolerate it and then gradually raise that

   15     dose in the hope of seeing some benefit in the patient.

   16                    Now, the early history of 4-AP in some of the

   17     early clinical studies were in the late '70s and to the

   18     early '90s by researchers at Rush University.           And you will

   19     hear that those clinical studies were limited as far as the

   20     way that they were conducted so therefore the conclusions

   21     that could have been drawn from them were questionable.

   22                    Elan began working with 4-AP about over a decade

   23     later.    And at that time, Elan was a Pioneer in the

   24     development of sustained release technology, and Elan

   25     succeeded in making the first sustained release formulation
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     1    of 4-AP.    And Elan conducted clinical trials with this same

     2    release formulation, including a large clinical trial using

     3    as an endpoint the expanded disability status scale, or

     4    EDSS.    And clinicians frequently used the EDSS to assess the

     5    severity of symptoms in MS.        And that EDSS scale includes a

     6    walking component.      And Elan used that standard assessment

     7    method in its primary endpoint in its clinical trial.

     8    However, that trial failed.

     9                   In 1998, Acorda took over the development of

   10     4-AP for MS.     And you will hear from Dr. Cohen that because

   11     Acorda was a small biotech company, he felt he needed to

   12     take outsized risk with the few opportunities to develop

   13     drugs that came along.

   14                    The first clinical trial that Acorda did was

   15     testing whether 4-AP improved the coordination of muscles

   16     that controlled the eyes.       But that study failed.      After

   17     that, Acorda conducted a small clinical trial to test the

   18     safety and tolerability of 4-AP in MS, and in that study

   19     Acorda also explored several potential outcome measures for

   20     possible use in future trials.

   21                    And then in 2003, Acorda conducted what was at

   22     that time the largest clinical trial of 4-AP in MS patients

   23     and, again, that was a 206 patient trial.          That study is

   24     what is described in the Acorda patents and it shows that 10

   25     milligrams of sustained release 4-AP improved walking in MS
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     1    patients.    That study also showed that 10 milligrams was as

     2    effective as the 15 and 20 milligram dose, but that the 10

     3    milligram dose had fewer side effects and this was a big

     4    improvement, because as I said earlier, many years ago,

     5    scientists recognized or thought that they needed to start

     6    low dose and then titrate up and now that Acorda showed that

     7    the 10 milligram dose was as effective as 15 and 20, you no

     8    longer needed to titrate the dose, you could start with the

     9    10 milligram dose and stay with the 10 milligram dose.

   10                    Later Acorda performed confirmatory studies,

   11     they filed their NDA.       And then Ampyra was approved in 2010.

   12     I want to turn now to some of the evidence that you will

   13     hear about showing why defendants can't meet their clear and

   14     convincing evidence burden to show that the claims would

   15     have been obvious.

   16                    In 2003, Dr. Solari published a review article

   17     and what she intended to do was determine the efficacy and

   18     safety of 4-AP in neurological deficits and MS patients.

   19     And what she undertook was a systematic review of the

   20     literature reporting on the clinical studies of 4-AP in MS

   21     patients and what she concluded was that the currently

   22     available information allows no unbiased statement about

   23     safety and efficacy of 4-AP in treating MS symptoms, no

   24     evidence of efficacy.

   25                    Now the defendants are going to rely on a 1994
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     1    article by Dr. Bever which reports on a small eight patient

     2    study in MS.     And Dr. Bever in that same article commented

     3    on some of those earlier clinical studies that I had

     4    mentioned performed by Rush and others.          And what he

     5    concluded about those studies, he says these studies, that's

     6    what he's referring to, was that conclusions from those

     7    studies were limited by the questionable nature as to how

     8    the studies were performed.

     9                   Now, Dr. Bever also in 1994 commented about his

   10     own eight patient study and the fact that conclusions from

   11     those studies were limited because it was only an eight

   12     patient study.

   13                    Turning now to the '938 patent or the Masterson

   14     patent that is a patent that both Acorda has asserted and

   15     that the defendants are relying on as a reference against

   16     the Acorda patents, you will hear from Dr. Fassihi, that

   17     Elan was the one who first succeeded in making a sustained

   18     release formulation of 4-AP.        And that was after well over a

   19     decade of clinical testing of 4-AP, in MS and other

   20     diseases.    You will also hear from Dr. Fassihi that at the

   21     time that the Masterson patent was filed in 1991, sustained

   22     release technology was an emerging technology and that Elan

   23     was a Pioneer in that field and that what Elan did was not

   24     obvious.

   25                    With respect to the defendants use of the
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                                                                           40


     1    Masterson patent as a reference against the later Acorda

     2    patents, the Masterson patent, again, isn't about the

     3    sustained release formulation itself, but also about what it

     4    is that it provides to the body, and namely that's a

     5    therapeutically effective drug level of 4-AP.           And you'll

     6    hear what that meant at the time was that it improved nerve

     7    conduction and that scientists were still trying to

     8    determine whether improving nerve conduction would

     9    ultimately translate into some other benefit in MS patients.

   10     So in effect the Acorda patients didn't narrow the Masterson

   11     patent, quite the opposite, it expanded it greatly, the

   12     Acorda patents showed for the first time that improving

   13     nerve conduction in fact provided a clinical benefit to MS

   14     patients.

   15                    1997 was an important event in the history of

   16     4-AP in MS because that's when Dr. Schwid reported on the

   17     failed Elan study in EDSS.       And in his article, he commented

   18     that it was a 161 patient study, that was by far the largest

   19     clinical study in MS with 4-AP.        And it was a multicenter

   20     double-blind placebo-controlled parallel group study.            It

   21     had a primary outcome variable which was the EDSS and 22

   22     percent of the patients in the 4-AP group improved on the

   23     EDSS, but the same percentage improved on the placebo group.

   24     That's a common theme that one hears about in MS treatment,

   25     a very high placebo group and here it led to the failure of
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                                                                           41


     1    the EDSS.

     2                   Now, the Schwid article also reports on a small

     3    ten patient study in which they explored seven possible

     4    outcomes for potential use in later trials.          Now, go back to

     5    the slide before.

     6                   There, the defendants also rely on a 2002 poster

     7    by Dr. Goodman, and that was the poster which reports on a

     8    small 20 to 36 patient which, again, it was a preliminary

     9    study designed to assess safety and tolerability and explore

   10     potential outcome measures for use in later trials.            It was

   11     not designed to answer the question does 4-AP have efficacy,

   12     it was designed to see what do we do next.

   13                    And Your Honor will also hear some evidence from

   14     Acorda on secondary indicia of nonobviousness, such as the

   15     fact that Ampyra did in fact solve a very long-felt need by

   16     the patient and it helps improve walking which is one of the

   17     most debilitating symptoms of MS.

   18                    So the state of the art at the time that the

   19     Acorda patents were filed, and again, this is the art that a

   20     person of skill in the art would be using to judge whether

   21     or not there was a reasonable expectation of success of the

   22     claimed invention.

   23                    At that time it was recognized that MS involved

   24     both the central nervous system and the immune system and

   25     both of those were exceptionally complicated systems in the
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     1    body and lead to tremendous uncertainty as to what 4-AP or

     2    any drug would do in the treatment of MS.          And there is

     3    tremendous challenges in developing treatment, for example

     4    this inter patient variability, the good days and bad days

     5    that mask drug effects from natural fluctuations in the

     6    course of the disease.       And they would still know about in

     7    2004, the largest study, the 161 patient study that failed,

     8    and instead all they would have was a couple of small

     9    exploratory studies to see what to do next in light of that

   10     large 161 patient study.

   11                    And finally, there was an independent literature

   12     review done by Dr. Solari, and again, she concluded that

   13     there was no evidence of efficacy.         And that contrasts

   14     sharply with what we see in the Acorda patents, because the

   15     Acorda patents, describe, what was then the largest phase

   16     two study, a 206 patient study, double blind placebo

   17     controlled parallel group, the primary efficacy endpoint was

   18     increase in walking speed, and again that study showed that

   19     10 milligrams BID improved walking, that 10 milligrams was

   20     as good as the 15 and 20 in efficacy with fewer side effects

   21     so that you no longer had to titrate.

   22                    Thank you, Your Honor.

   23                    THE COURT:    Thank you.    The defendants may call

   24     their first witness.

   25                    MR. PARK:    Your Honor, Samuel Park on behalf of
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                                                                           43
                                   Peroutka - direct

     1    the defendants.      Defendants call Dr. Stephen J. Peroutka.

     2                     THE CLERK:    Please spell your full name for the

     3    record.

     4                     THE WITNESS:    Stephen J. Peroutka.

     5    S-T-E-P-H-E-N, Peroutka, P-E-R-O-U-T-K-A.

     6

     7                     STEPHEN J. PEROUTKA, M.D., PH.D.,

     8                      the witness herein, having first

     9                       been duly sworn on oath, was

   10                        examined and testified as follows:

   11

   12                      THE COURT:    Good morning, Dr. Peroutka.     Welcome.

   13                      MR. PARK:    Your Honor, may I approach with the

   14     binders?

   15                      THE COURT:    You may approach.

   16                                   DIRECT EXAMINATION

   17     BY MR. PARK:

   18     Q.        Dr. Peroutka, what is your full name?

   19     A.        Stephen Joseph Peroutka.

   20     Q.        Have defendants retained you to testify as an expert

   21     in the case?

   22     A.        Yes.

   23     Q.        What is your area of expertise?

   24     A.        I'm a neurologist and a pharmacologist.

   25     Q.        You also have an expertise in drug development?
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                                                                           44
                                   Peroutka - direct

     1    A.        Yes.

     2    Q.        What is neurology?

     3    A.        Neurology broadly is the study of the brain and

     4    nervous system, the nervous systems, the brain, spinal cord

     5    and the nerves ending in the spinal cord.

     6    Q.        You also mentioned pharmacology.       What is that?

     7    A.        Pharmacology is the study of drugs, how they work,

     8    mechanism of action and their effects.

     9    Q.        What is your expertise with drug development?

   10     A.        With drug development since the 1980's I have been

   11     involved with starting as an investigator moving toward

   12     designing and doing the studies in academics as well as in

   13     industry setting.       And then more recently as a therapeutic

   14     expert as a current position and former position where

   15     we act as advisors on drug development to small, medium

   16     large size companies on strategy endpoints, patients, et

   17     cetera.

   18     Q.        Let's go to DTX 139.     Dr. Peroutka, is this an

   19     accurate copy of your CV?

   20     A.        Yes, from last December.

   21     Q.        Did you prepare a slide presentation to summarize

   22     your qualification to give an opinion in this case as an

   23     expert?

   24     A.        Yes, I did.

   25     Q.        Dr. Peroutka, would you summarize for the Court your
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 45 of 330 PageID #: 7192
                                                                           45
                                   Peroutka - direct

     1    education and training?

     2    A.       Yes.   So I received a bachelor's degree from Cornell

     3    University in 1975.      I then went to medical school at Johns

     4    Hopkins, initially as a straight M.D. student, but

     5    eventually I entered the M.D./Ph.D. program, receiving my

     6    M.D. in '79 and my Ph.D. in pharmacology and experimental

     7    therapeutics in 1980.

     8                    I was then a medical intern at Stanford

     9    University in 1980 to '81, went back to Baltimore as a

   10     resident and fellow in the development of neurology at Johns

   11     Hopkins, then back to Stanford as an assistant professor in

   12     the development of neurology.

   13     Q.       Dr. Peroutka, are you a licensed doctor?

   14     A.       Yes, in California.

   15     Q.       And you still are?

   16     A.       Yes.

   17     Q.       After residency, did you also work as a practicing

   18     physician?

   19     A.       Yes.

   20     Q.       And during that time did you treat any MS patients?

   21     A.       Yes.

   22     Q.       Approximately how many MS patients have you treated

   23     over the course of your career?

   24     A.       Through the 1980's, it's hard to know the exact

   25     number, but I would estimate roughly 100, range.
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                                                                           46
                                   Peroutka - direct

     1    Q.       At some point did you leave Stanford to move into

     2    industry?

     3    A.       Yes.

     4    Q.       And when was that?

     5    A.       1990.

     6    Q.       Would you briefly describe for the Court your work

     7    history after leaving Stanford?

     8    A.       Sure.    The next slide, please.     So after Stanford I

     9    went to Genentech.      I was the first director of the

   10     department of neuroscience working in drug development for a

   11     couple of agents, TPA for stroke.         I then left and started a

   12     small migraine company, continued with migraine in terms of

   13     therapeutic agents at a company called Synergia.

   14                      I then became the development leader for pain at

   15     Johnson & Johnson.      I went back to California to do a couple

   16     chief medical officer jobs.

   17                      And then what's most relevant is the work at

   18     PRA.    PRA Health Sciences, I was the vice-president of

   19     neurosciences.      In 2008 to 2011, PRA Health Sciences was the

   20     leading clinical research organization working in multiple

   21     sclerosis and over that three year period I estimate I

   22     looked at approximately 30 multiple sclerosis proposals, so

   23     as a CRO we got RFPs, it's called request for proposal, we

   24     look at the study plans, we provide advice as to whether the

   25     study is designed properly, whether there is any issues that
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                                                                           47
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     1    should be considered in the protocol and then if they were

     2    to win, we didn't win, but at the time MS research was about

     3    20,000 people that we needed to be in trials and we were

     4    roughly doing about a third of that, about 8,000 of the

     5    25,000 were getting actively recruited by PRA Health Sciences.

     6                   After that chief medical officer, a couple of

     7    jobs, and then currently vice-president neuroscience and

     8    global therapeutic head inVentiv Health where we focus on

     9    neurosciences, we look at MS protocols routinely and other

   10     disorders.

   11     Q.       In what ways did your training as a neurologist and a

   12     pharmacologist help you in your work in developing drugs?

   13     A.       Well, I'm biased, but I think it's important but in

   14     terms of the neuroscience to understand the diseases, to

   15     treat the patients with the disease, to understand the

   16     clinical implications.       The end points we'll talk about in

   17     this case, it's important to understand what's to be

   18     measured, how you measure it, what's clinically significant,

   19     the pharmacology, understanding drug actions at the same

   20     time is important, being able to understand the significance

   21     of pharmacokinetics, pharmacology, mechanisms of action, et

   22     cetera, I think is a benefit when you compile all that

   23     information to drug development.

   24     Q.       Over the course of your career, have you served on

   25     any editorial boards or peer reviewed journals?
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                                                                           48
                                   Peroutka - direct

     1    A.       Yes.    Next slide, please.     So I have been a peer

     2    reviewer of a number of journals.         It's in my CV, but

     3    roughly 30.      Four of them were important journals if you

     4    will, or famous journals, the Journal of Science and

     5    Neurology.      And Lancet.    I have been on the editorial board

     6    of roughly ten to fifteen journals.         The potential relevance

     7    here would be Clinical Neuropharmacology and Drugs.

     8    Q.       Is it considered to be an honor to be a peer reviewer

     9    for a prestigious journal?

   10     A.       I would say in general yes, because that means you're

   11     a peer of a group that's submitting work for the journal, so

   12     the work is qualified for the New England Journal of

   13     Medicine.

   14     Q.       Would you summarize for the Court your other

   15     qualifications to testify as an expert today?

   16     A.       Sure.    The next slide.    So I published primary

   17     articles, roughly 200 plus, around 225, 60 plus book

   18     chapters in my career.        I have been involved in clinical

   19     trials, 50 plus.      I would sale five as an investigator, five

   20     to 15 as the primary investigator, and a larger study trial,

   21     and the rest as an advisor.        Invited speeches, over 40

   22     globally, and then companies consulted with, it lists nine

   23     on my CV but it's actually significantly more.

   24     Q.       Have you served as an expert in a patent case in the

   25     past?
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                                                                           49
                                   Peroutka - direct

     1    A.       Yes.

     2    Q.       Approximately how many?

     3    A.       In court like this, about three.

     4    Q.       Now in any of those cases, has a judge ever refused

     5    to qualify you as an expert?

     6    A.       No.

     7                    MR. PARK:    Your Honor, at this time, defendants

     8    tender Dr. Peroutka as an expert in neurology, pharmacology

     9    and drug development.

   10                     THE COURT:   Any objection?

   11                     MR. DiNAPOLI:   No objection.

   12                     THE COURT:   He is so recognized.

   13     BY MR. PARK:

   14     Q.       Dr. Peroutka, do you have a slide presentation to

   15     assist the Court with your testimony today?

   16     A.       Yes.

   17     Q.       Now, would you summarize for the Court the opinions

   18     you intend on giving today?

   19     A.       Yes.   Next slide, please.

   20                     So in summary, my conclusion based on my review

   21     of all of the relevant information is that all of the

   22     asserted patents are obvious.        And the reasons are starting

   23     with the '938 Elan patent, it describes a known drug,

   24     dalfampridine or 4-AP, 4-aminopyridine for a known use, at a

   25     priority date to treat MS patients using a known formulation
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                                                                           50
                                   Peroutka - direct

     1    type at the priority date that is sustained release.

     2                      In terms of the asserted claims of the four

     3    related Acorda parents, I believe they're obvious because

     4    all they really do is narrow the known dose, they take a

     5    range of the prior art and then just simply narrow or

     6    restrict it down to what falls well within the known prior

     7    art, with a known use, treating symptoms of MS patients for

     8    an obvious duration.       MS is a chronic disease and of course

     9    anything that's chronic needs to be treated chronically.

   10     Q.        What are the topics you intend to address during your

   11     direct examination today?

   12     A.        Can I have the next slide, please.

   13                       So this is just a little overview of the

   14     testimony which will be.

   15                       First, background information.

   16                       Two, the asserted claims of the Elan and Acorda

   17     patents.

   18                       Three, the invalidity opinions for the Elan

   19     patent.    And,

   20                       Four, invalidity opinions for the Acorda

   21     patents.

   22     Q.        Let's start with the background.

   23     A.        Okay.

   24     Q.        Dr. Peroutka, do you understand that this case

   25     involves patents related to a drug called Ampyra?
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                                                                           51
                                   Peroutka - direct

     1    A.       Yes.

     2    Q.       What is DTX-204?

     3    A.       So this slide shows the Orange Book, which is a

     4    listing of the approved drug products with therapeutic

     5    equivalence for dalfampridine, which is also called Ampyra,

     6    which is also 4-AP, or 4-aminopyridine, and what it shows is

     7    that there are five patents related to this product.

     8                     Shown in the top line, No. 5540938, that is the

     9    Elan patent, and then the other four are the Acorda patents

   10     in question.

   11     Q.       Are these the five patents that are asserted in this

   12     case?

   13     A.       Yes.

   14     Q.       And, in general, what do these patents cover?

   15     A.       They all cover the use of a known 4-AP to treat

   16     symptoms of MS for various periods of time.

   17     Q.       Okay.

   18     A.       For the sustained release formulation.

   19     Q.       Now, Dr. Peroutka, have you reviewed JTX-76, the

   20     prescription information for Ampyra?

   21     A.       Yes.    Next slide, please.

   22                      So this is taken from the package insert or the

   23     product label that the FDA has approved.          And it shows that

   24     the indication for Ampyra, dalfampridine, is to improve

   25     walking in patients with multiple sclerosis.
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                                                                           52
                                   Peroutka - direct

     1    Q.       Now, what is the dosage regimen of Ampyra?

     2    A.       As stated here -- oops, sorry -- product label, the

     3    maximum recommended dose is 10 milligrams twice daily,

     4    approximately 12 hours apart with or without food.

     5    Q.       Now, does the dosage and administration section of

     6    Ampyra say how long it should be taken?

     7    A.       No.

     8    Q.       And how long do you expect that Ampyra should be

     9    taken by patients?

   10     A.       Well, MS is a chronic disease.       The disability that

   11     you have once it is established and stable, for the rest of

   12     your life.     So chronically, meaning indefinitely.

   13     Q.       Okay.    Now, we saw that Ampyra is indicated for

   14     improving walking in MS patients.         Would you describe for

   15     the Court what MS is?

   16     A.       Sure.    Next slide, please.

   17                      So we have seen various versions of this, but

   18     basically multiple sclerosis is a disease of the nervous

   19     system, really the neuroimmunological system.           The immune

   20     system attacks the myelin that we already heard about, so in

   21     a normal nerve, which is in the middle.          I'll see if I can

   22     get my pointer to work here.

   23                      So the normal nerve is insulated, if you will,

   24     by a substance called myelin.        In MS, the immune system

   25     attacks that myelin and destroys it, demyelinates it such
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                                                                           53
                                   Peroutka - direct

     1    that there is patches of demyelinization causing a

     2    disruption in the nerve flow that we have already heard

     3    about.

     4                     There is a wide variety of symptoms that can

     5    occur because this demyelinization can occurring anywhere in

     6    the nervous system.      It can be in the spinal cord.        It can

     7    be in the optic nerve.       It can be in the back of the brain

     8    causing other problems; in the frontal lobe having very

     9    different symptoms.      The next slide sort of summarizes

   10     that.

   11     Q.       Okay.    Before we get to our next slide, let me ask

   12     you a few questions about that.

   13     A.       Sure.

   14     Q.       When was MS first identified as a disease?

   15     A.       In the 1800s.

   16     Q.       And how drugs are currently on the market to treat

   17     MS?

   18     A.       To treat the exacerbation, I think it's in the 8 to

   19     12 range, and there is a number of drugs that are potential

   20     to treat symptoms like spasticity.

   21     Q.       Is there currently a known cure for MS?

   22     A.       No.

   23     Q.       Okay.    And do you know what causes MS in patients?

   24     A.       No.     There is many, many theories having to do mostly

   25     with the immune system, but to date I don't believe there is
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                                                                           54
                                   Peroutka - direct

     1    a true 100 percent known cause.

     2    Q.        Okay.    And how does dalfampridine help patients with

     3    MS?

     4    A.        Well, I think we saw a good schematic in the video

     5    where the potassium channels are exposed in the demyelinated

     6    nerves.    By blocking them, you improve the transmission, so

     7    instead of it being slowed or altered, you are able to go

     8    and restore it to a more normal rate of transmission.

     9    Q.        Now let's get to the symptoms.

   10                       So when a patient has, MS what are the symptoms

   11     that that patient can experience?

   12     A.        Well, as shown on the next slide, honestly, it can be

   13     almost anything.

   14                       So multiple sclerosis, by the original

   15     definition, is multiple lesions in space and time.            And what

   16     that means is that, so if a person comes in and they're

   17     blind in one eye, a condition called optic neuritis, that

   18     is probably MS.       But because it's the first event, we

   19     were taught in the past you couldn't yet give the diagnosis

   20     even though it was probably multiple sclerosis.           You had to

   21     wait until there was a second lesion in the nervous system

   22     in a different part of the nervous system to be given

   23     multiple.    That is where the name multiple comes from.

   24                       Now, with MRI, when someone comes in with optic

   25     neuritis and you see a plaque in the brain, it is probably
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                                                                           55
                                   Peroutka - direct

     1    MS, and it is now considered and should be treated as MS.

     2                     Because these lesions can occur anywhere in the

     3    nervous system, myelin is pretty much ubiquitous, the

     4    symptoms can be almost anything controlled by the nervous

     5    system.

     6                     Cognitive issues.   There can be a frontal lobe

     7    lesion causing behavioral changes, vision, depression,

     8    fatigue, pain, bladder incontinence, et cetera.

     9                     Because the legs are basically -- the ability

   10     to walk is a complicated issue.        It's not just the

   11     strength in your legs, it's your balance system.           It is

   12     also your sensory system where you put your foot and all

   13     the coordination of the motors, abilities of muscles,

   14     coordination centers.       Weakness of the legs and/or

   15     alterations in walking are one of the more common symptoms

   16     in MS.

   17                      In fact, it has been estimated roughly 50 to

   18     75 percent of patients will have trouble walking with MS.

   19     Q.        That was actually my next question.       Is difficulty in

   20     walking one of the more common symptoms in MS?

   21     A.        Yes.   Again, the reason is because walking is not --

   22     you know, in vision, it is basically your optic nerve,

   23     whereas walking could be the motor nerves to the muscles, it

   24     could be the sensory nerves in your feet, it could be in the

   25     cerebellum, your coordination center.         It could be in your
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                                                                           56
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     1    vestibular system.

     2    Q.       Now, is walking, difficulty in walking as a symptom

     3    of MS, was that known in 1990?

     4    A.       Yes, it was well known and accepted.

     5    Q.       Doctor, what type of drug formulation is Ampyra?

     6    A.       Sustained release.

     7    Q.       Let's go to the next slide.

     8                     Is extended release another term for sustained

     9    release?

   10     A.       Yes.    I think I would consider them essentially

   11     synonymous.

   12     Q.       How is a sustained release different than an

   13     immediate release?

   14     A.       So a sustained release -- and I believe it is in

   15     the Court's construction, and I agree with it, is that a

   16     formulation designed to release a therapeutically effective

   17     amount of drug or other active agent such as polypeptide

   18     or synthetic compound over an extended period of time.

   19                      That is different than immediate release,

   20     because immediate release is a formulation that releases it

   21     upon administration, so there is no attempt to slow it.

   22     It's sort of, if you will, the natural state of the tablet

   23     as it goes into the stomach and it's released.           There is no

   24     attempt to modulate that.

   25     Q.       Okay.    So let's pause here and talk about what
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                                                                           57
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     1    happens to the formulation after it enters the body.

     2    A.       Okay.

     3    Q.       Now, after a patient takes the drug tablet, what

     4    happens to it?

     5    A.       It's, in general, they're dissolved in the stomach.

     6    Sometimes it can pass into the small intestine, but in

     7    general, it dissolves, meaning it goes into solution and

     8    into the acid of the stomach and then it is absorbed through

     9    the gastric wall into gastric system.

   10     Q.       Now, is there a relationship between the rate of

   11     release of the drug and the absorption of the drug into the

   12     body?

   13     A.       Yes, it is directly related, because the longer the

   14     pill stays as a solid, it can't be absorbed obviously.            It

   15     has got to be dissolved and then released into the stomach

   16     acid, which is then absorbed into the circulation.

   17     Q.       And how do scientists measure what happens to the

   18     drug after it enters the circulation?

   19     A.       So the science, the pharmacokinetics.         So there are

   20     various ways of measuring the concentration of the drug at

   21     different parts of the body, most commonly in the plasma of

   22     the blood.

   23     Q.       Did you prepare a slide on the basic concepts of

   24     pharmacokinetics?

   25     A.       Yes.    Next slide, please.
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                                                                           58
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     1                   So this is an example of the pharmacokinetics of

     2    an immediate release versus a sustained release.           And it is

     3    actually data taken from the patent '826, Figure 1, and

     4    specifically in this case, although this is meant to be a

     5    representative, 12 and-a-half milligrams of 4-AP.

     6                   So in this case, the red or orangey-looking

     7    thing -- the gentleman's head is right in the way.            Sorry.

     8                   (Gentleman's head moves out of way.)

     9    BY THE WITNESS:

   10     Q.        This one, the Cmax.    So what is Cmax?      Cmax is the

   11     concentration at the highest concentration that is measured

   12     in the pharmacokinetics study.

   13                    So in PK studies, pharmacokinetics studies, they

   14     look at different time points after administration.            So at

   15     time zero, subject swallows the pill.         And then they draw

   16     blood at one, three, five, whatever time periods they choose.

   17                    Immediate release you can see goes up quickly,

   18     within an hour roughly, and hits a level of about 68 here,

   19     nanograms per mil.

   20                    The blue is the sustained release, where the

   21     Cmax is much lower, only 28.        Same amount of drug.

   22                    And then they both decay or are eliminated from

   23     the body, through the metabolic pathways, or through the

   24     kidney.

   25     Q.        Now, for most drugs, is obtaining its pharmacokinetic
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                                                                           59
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     1    value a standard part of drug development?

     2    A.       Yes, it is very common.

     3    Q.       And was that true of 2003?

     4    A.       Yes.

     5    Q.       Does this comparison of an IR, immediate release

     6    drug formulation PK level and sustained release or SR

     7    formulation PK levels, does that tell you anything about

     8    the advantages of a sustained release versus an immediate

     9    release?

   10     A.       Yes.   There are two main advantages that you can see

   11     here, depending on what you want in your drug.           So there are

   12     drugs where you might need the high level, but if it's a

   13     drug where you don't want an extremely high level, the

   14     advantage of the sustained release is that the same amount

   15     of drug does not go above 30 whereas this one is up around

   16     68.

   17                     So a sustained release, number one, potential

   18     advantage, and again it is different for every drug, some

   19     drugs you want this AP, but for a drug where there is

   20     toxicity at certain levels, you want to stay below that,

   21     but given a dose, then the lower Cmax is advantageous.

   22                     The second way is in the duration of action.         So

   23     if you can extend the release, if you can slow it down, you

   24     also extend the time it is in the body.

   25                     So if we look at the red or orange, it goes
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                                                                           60
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     1    above 10 essentially at time zero, and then it drops below

     2    the minimal.     Let's just theoretically say 10 nanograms is

     3    what you would like to keep above.         So it's about eight

     4    hours before it drops below ten, whereas in the blue, it

     5    goes above ten in roughly an hour and it stays above ten for

     6    about 12-13 hours.      So you can lower the max and extend the

     7    duration in the therapeutic window.

     8    Q.       I think you just touched on this, but what is a

     9    therapeutic window of a drug?

   10     A.       The next slide shows it better.

   11                    So what it shows is that for most drugs, for

   12     many drugs, there is a level of the drug in the blood that

   13     is not tolerated.      What that means is that -- and it can

   14     mean various things.      It can mean seizures.      It can mean

   15     inducement of headache, lowering of blood pressure.            It

   16     doesn't matter what it is.       But the patient finds it not

   17     tolerable.     And that would be the level you do not want to

   18     have above.

   19                    There is also clearly a level near zero, for

   20     example, where it is not effective.         So there is a level

   21     where you have to get to a threshold of efficacy.           So that

   22     is what is defined as the therapeutic window which is a

   23     concentration of drug above which you see the clinical

   24     benefit but above this top part would be where you see lack

   25     of tolerability.
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                                                                           61
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     1                     So this is your effective dose therapeutic

     2    range.    It's both safe, it's tolerated, and it's effective

     3    in this example.

     4    Q.       Now, using this graph, would you also explain to the

     5    Court the concept of a half-life of a drug?

     6    A.       The half-life of a drug is the time that it takes to

     7    eliminate half of a specific dose from the body or half of

     8    the molecules from the body.

     9                     So as an example in this case, you see it peaks

   10     at about 68.      So when do you drop in the body from 68 to 34?

   11     And it's roughly about two to three hours.

   12     Q.       Okay.    What does the half-life of a drug tells you

   13     about a drug's duration of action in a body?

   14     A.       Well, in general, the half-life correlates with the

   15     duration of action.      What that means for drugs that have a

   16     three to four hour half-life, you have to dose every three

   17     to four hours.      With a drug with a 12 hours, you have to

   18     dose it every 12 hours.

   19                      And it is actually a pretty good correlation.

   20     If the drug's half-life is 24 hours, that is a once a day

   21     dose.

   22     Q.       Now, for a drug that has a short half-life, how can a

   23     sustained release drug formulation help?

   24     A.       The way it can help is that it can extend the time

   25     that it is in the body.       So even though it is the same dose,
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                                                                           62
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     1    even though the half-life technically of each molecule is

     2    the same, the release of the drug is extended.           So that it's

     3    essentially like a reservoir, if you will, that allows for

     4    the drug to maintain to be absorbed at a rate to extend its

     5    therapeutic concentration.

     6    Q.       Okay.    Now, the examples that we have seen are the

     7    pharmacokinetic parameters of a drug after a single dose.

     8    What happens to the pharmacokinetics of a drug after

     9    multiple doses?

   10     A.       Go to the next slide, please.

   11                      So multiple dosing, the goal of multiple dosing

   12     where there is a therapeutic range that you would like to

   13     achieve is to reach what is called a steady state.            So what

   14     is a steady state?      So it turns out that after five doses at

   15     the half-life, as an example shown here, you reach a state

   16     of steady concentrations.

   17                      So what it shows here is the first dose, of

   18     course, you are at zero.       You have no drug in your body.

   19     And it goes up, but then it starts to drop down because of

   20     metabolism.

   21                      If you then dose at time number one a second

   22     pill, obviously you are starting not at zero you are

   23     starting higher and you go up, and you can see it rachets

   24     up-up-up.

   25                      But after about five half-life doses, you reach
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                                                                           63
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     1    a state where -- let me get away from here.          Once you get

     2    up -- sorry -- you get to the point where the lowest use is,

     3    the lowest concentration, so we're going to call that the

     4    Cmin steady state.

     5                     At steady state, the lowest concentration is

     6    just before you take the next pill.

     7                     After you do that, you go up to a Cmax, a high

     8    concentration, which we're going to call here the Cmax at

     9    steady state.      And then it drops down.

   10                      But this is the key point of steady state.       This

   11     value should be the same as this, and the same as this.

   12     Because once you reach the equilibrium or steady state, the

   13     Cmin will be a certain level, your Cmax will be a certain

   14     level.     And there is obviously an average, the average

   15     concentration at steady state.        In other words, this green

   16     portion is going around the same value as opposed to once

   17     you build the levels up in your blood.

   18     Q.       Okay.    Now, Dr. Peroutka, the background science that

   19     you have described to the Court so far, were these concepts

   20     that were known by 1990?

   21     A.       Yes, well known.

   22     Q.       Thank you, Dr. Peroutka, for that scientific

   23     background.      Let's now switch gears and lay out for the

   24     Court the asserted claims of the Elan and the Acorda

   25     patents.
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                                                                           64
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     1    A.       Okay.

     2    Q.       Now, you understand that Acorda is asserting --

     3    Acorda and Alkermes are asserting 18 claims against the

     4    defendants from the five Orange Book patents that we saw

     5    earlier?

     6    A.       Yes.

     7    Q.       Let's walk through all of them.

     8    A.       Okay.

     9    Q.       Now, first of all, would you identify JTX-1?

   10     A.       Right.    This is a photograph of the first page of the

   11     '938 Elan patent.

   12     Q.       Okay.    Would you explain to the Court the background

   13     information for the '938 patent, the Elan patent?

   14     A.       Yes.    The inventors are Drs. Masterson and Myers, and

   15     the priority date is November 2nd, 1990.          I understand there

   16     is some variation, but the earliest possibility would be

   17     November 2nd.      That is what I based my opinion on.

   18     Q.       Now, what are the asserted claims of the Elan patent?

   19     A.       Can we go to the next slide, please.

   20                      So the Elan patent claims, the key ones are 3

   21     and 8.

   22     Q.       And what do claims 3 and 8 cover?

   23     A.       They're talking about the treatment of a neurological

   24     disease, and then claim 3 limits that to multiple sclerosis.

   25                      And to using a mono- and a di-aminopyridine
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                                                                           65
                                   Peroutka - direct

     1    activation sustained release, achieving a therapeutically

     2    effective blood level over a 12 to 24 hour period when

     3    administered on a once or twice daily basis.

     4                     Claim 8 limits that to 4-AP.

     5    Q.       Okay.    Now, do the Elan patent claims state what type

     6    of a sustained release formulation is necessary?

     7    A.       No.

     8    Q.       So can it be tablet or a capsule or some other form?

     9    A.       Presumably, yes.

   10     Q.       Okay.    Do the claims limit the duration of treatment?

   11     A.       No.

   12     Q.       And what would you expect that a treatment for a MS

   13     patient will last?

   14     A.       Well, again, it's a chronic disease, with

   15     stabilization, it's a lifelong disability.          So for as long

   16     as the disability lasts, which in general, the MS is the

   17     rest of your life.

   18     Q.       Did the claims say anything about titration?

   19     A.       No.

   20     Q.       Now, did you prepare a slide on the Elan patent

   21     claims' core limitations?

   22     A.       Yes.    Next slide, please.

   23                      So in reviewing it, it seems like there are

   24     three main core limitations.

   25                      That is, to treat multiple sclerosis with 4-AP,
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 66 of 330 PageID #: 7213
                                                                           66
                                   Peroutka - direct

     1    using a sustained release formulation dose, that results in

     2    the therapeutic blood level when given once or twice a day.

     3    Q.       Let's now move on to the asserted claims of the

     4    Acorda patents.     Did you prepare a summary slide of the

     5    Acorda patents?

     6    A.       Yes.    Next slide, please.     So these are the four

     7    patents shown visually on the left.         They were related

     8    patents.    All of them are directed to methods of using

     9    dalfampridine SR, 4-AP.       Dr. Blight and Dr. Cohen are the

   10     inventors.      Priority date is April of 2004, there are

   11     sixteen asserted claims.

   12     Q.       Now, Dr. Peroutka, do you understand that the

   13     plaintiffs are asserting an earlier priority date of the

   14     Acorda patents?

   15     A.       I know there has been discussion of that, but my

   16     current understanding is 2004.

   17     Q.       If the priority date were deemed to be earlier, for

   18     example December 2003, would that change your opinion?

   19     A.       No, because I based my analysis on the December 2003

   20     priority date.

   21     Q.       Did you prepare a slide -- there is lots of claims,

   22     sixteen of them.      Did you prepare a slide on the

   23     representative claim?

   24     A.       I did.    Next slide, please.

   25     Q.       What are the limitations of claim 1, the
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                                                                           67
                                   Peroutka - direct

     1    representative claim?

     2    A.       So we're going to go through a listing here.          So if

     3    we could go to the first one.        It's the patent limitation is

     4    sustained release 4-aminopyridine to treat multiple

     5    sclerosis patients.

     6                    Next is using a very specific dose, 10

     7    milligrams, BID, meaning twice a day.         Next is to improve

     8    walking in a human with a specific pK parameters as shown in

     9    the group for at least two weeks.

   10     Q.       Now are these the core limitations that are present

   11     in all of the Acorda patents?

   12     A.       Yes.

   13     Q.       Now, let's go to claim 7 of the '826 patent, JTX 2.

   14     What does claim 7 cover that's different than claim 1?

   15     A.       So basically claim 7 then limits it to an increase in

   16     walking speed as opposed to just walking.

   17     Q.       You see that claim 7 also incorporates the

   18     limitations of claim 6?

   19     A.       Yes.

   20     Q.       And what does claim 6 state that's different than

   21     claim 1?

   22     A.       They talk about in the yellow highlights without a

   23     prior period 4-aminopyridine titration and then maintaining

   24     administration without a subsequent period of titration.

   25     Q.       What is titration?
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                                                                           68
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     1    A.       Titration is a process where you start at whatever

     2    dose and go either up or down as needed based on patient

     3    response.     So if the patient has toxicity, you would drop

     4    down.    If the patient has no effect, you would go up, but

     5    it's safe, you could go up.

     6    Q.       We're still on the '826 patent.        What does claims 38

     7    and 39 cover that are different than claims 1 and 7?

     8    A.       So here as you can see 38 talks about the method of

     9    claim 37 where specific pK parameters are listed.           Claim 37,

   10     it refers to now has the T max, we haven't discussed T max.

   11     T max is the time it takes to reach C max.          So if the

   12     maximal concentration is at one hour, the T max, the time to

   13     reach that maximum is one hour.        The claim 39 refers back to

   14     37, but then it says the time period is twelve weeks as

   15     opposed to previously I believe it was two weeks.

   16     Q.       Dr. Peroutka, do you understand that the parties have

   17     stipulated that if the two week limitations are obvious,

   18     then the 12 week limitations are also obvious?

   19     A.       Yes.

   20     Q.       Let's move on to the '437 patent, JTX 3.         How are

   21     claims 1, 2, 5, and 22 of the asserted claims of the '437

   22     patent different from the claims that we have seen up to

   23     this point?

   24     A.       So now they're saying claim 1 here says 10 milligrams

   25     of 4-AP twice daily are the only doses of 4-AP administered
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                                                                           69
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     1    to said patient during said time period.

     2    Q.        Now, we're still on the '437 patent.       How are claims

     3    32, 36, 37, of the asserted claims of the '437 patent

     4    different than the claims that we have seen up to this

     5    point?

     6    A.        Well, now, you will see 36, 37 to go the twelve weeks

     7    as opposed to the previous two weeks.         I think that's the

     8    main difference, the two weeks to the twelve weeks.

     9    Q.        Now, let's move to the '703 patent, JTX 4.        How are

   10     claims 36, 38 and 45 of the asserted claims different than

   11     the claims that we have seen up to this point?

   12     A.        36 talks about lower extremity walking, slightly

   13     different wording, but again showing the same pK parameters.

   14     38 now extends the T max, so earlier it was at two hours to

   15     5.2 hours, now it says two hours to about six hours.

   16     Q.        Let's move on to the final Acorda patent, the '685

   17     patent.    How are claims 3 and 5 different than the claims we

   18     have seen up to this point?

   19     A.        Claim 1 adds in you could also have one or more

   20     pharmaceutically acceptable excipients in the formulation

   21     which would be common practice.        And number three it says

   22     that the release profile of 4-AP should extend over six

   23     hours.

   24     Q.        Dr. Peroutka, we have now gone over every single

   25     Acorda claim that's been asserted against defendants.            Would
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                                                                           70
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     1    you summarize for the Court, again, the core limitations of

     2    all of the claims of the Acorda patents?

     3    A.       Sure.    On this slide, you can see again, I have

     4    already mentioned all the patents here discuss a sustained

     5    release 4-AP to treat multiple sclerosis patients using 10

     6    milligrams twice a day doses to improve walking or increased

     7    walking speed or lower extremity strength with specific pK

     8    ranges for a period of at least two weeks without titration.

     9    Q.       Now, to recap, let's go over the core limitations of

   10     the Elan patent in comparison to the core limitations of the

   11     Acorda patents?

   12     A.       Sure.    Next slide, please.

   13                      So if you look at it this way, I summarize it,

   14     the Elan patent in red talks about the treatment of multiple

   15     sclerosis patients with 4-AP sustained release.           The Acorda

   16     patent restricts that as treatment of MS patients for

   17     walking with 4-AP.      The Elan patent says once or twice a day

   18     dosing is needed.      Acorda says 10 milligrams twice a day is

   19     needed to achieve a therapeutic effect.          The Elan patent

   20     discusses that the dosing and the dosing regimen should

   21     result in therapeutically effective blood levels.           The

   22     Acorda patent specifies more specifically the values of

   23     those therapeutically effective levels.          The Elan patent

   24     doesn't say anything about duration, but it says the

   25     treatment of MS, whereas the Acorda patent says at least two
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                                                                           71
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     1    weeks without titration.

     2    Q.       Dr. Peroutka thank you for that overview.         Let's now

     3    go through your opinions in this case, starting with the

     4    Elan patent first.

     5    A.       Sure.

     6    Q.       Dr. Peroutka, what is the legal standard you applied

     7    in your obviousness analysis?

     8    A.       So, the standard is shown here that a patent claim is

     9    obvious if the differences between the claims and the prior

   10     art are such that the claims as a whole would have been

   11     obvious to a person of ordinary skill in the art.

   12     Q.       And are these the four steps that are listed here,

   13     the steps that you followed in your obviousness analysis?

   14     A.       Yes.    So they are first, I tried to resolve a level

   15     of ordinary skill in the pertinent art.          Second to determine

   16     the scope and content of the prior art.          Three to ascertain

   17     the differences between the claimed invention and the prior

   18     art.    And then four, to address any secondary considerations

   19     if any that might exist.

   20     Q.       First, who is a person of ordinary skill in the art

   21     or a POSA for the Elan patent?

   22     A.       Next slide, please.     So I think for this case, I

   23     would say there are two main people who are of ordinary

   24     skill.    One would be for the treatment aspects and that

   25     person would need a masters, a Ph.D., or an M.D. in the
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                                                                           72
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     1    fields of pharmacology, neurology or medicine with

     2    experience in researching and treating neurological disease.

     3    And also a pharmaceutical requires somebody with a masters

     4    or Ph.D. in the field of pharmaceutics.          And a POSA in this

     5    specific case would be one or the other, but have an

     6    understanding and appreciation for the other aspects and the

     7    ability to collaborate with one another.

     8    Q.       Now, is your definition of a POSA different than

     9    plaintiffs'?

   10     A.       Very subtly show from my reading, basically we're in

   11     an agreement, they put an M.D. and a Ph.D. in on their POSA

   12     requirements.     I don't think you need both.       I think it's

   13     fine if you're both, but you need one or the other.

   14     Q.       If the Court were to adopt plaintiffs' definition of

   15     a POSA, would your opinion about the Elan patent change in

   16     any way?

   17     A.       No.

   18     Q.       Second step, did you also search for and review the

   19     relevant prior art?

   20     A.       Yes.

   21     Q.       What are the key prior art references that you intend

   22     to rely on for the Elan patent obviousness analysis?

   23     A.       So, I would say that the three key papers, and there

   24     is many more, but the three key papers were Stefoski, Davis

   25     and then Remington.
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                                                                           73
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     1    Q.       Do you have a timeline to place this, place these key

     2    pieces of prior art into context?

     3    A.       Yes, we'll discuss these in more detail shortly.           As

     4    we already heard, dalfampridine or 4-AP was first identified

     5    in 1902 in a German paper.

     6    Q.       Now, was dalfampridine being used in humans at this

     7    point?

     8    A.       1902, not to my knowledge.

     9    Q.       When was dalfampridine first used in humans?

   10     A.       Next slide, please.

   11                    So there were studies in the 1970's, a Swedish

   12     group used 4-AP to use on myasthenic syndrome, the first

   13     paper in 1977 looked at one person, in 1979 the same group

   14     of investigators looking at a group of six.

   15     Q.       What is myasthenic syndrome and myasthenia gravis?

   16     A.       They are neurological disease where the immune system

   17     has an impasse in transmission between the muscles so that

   18     people that have less strength, they get very weak.

   19     Q.       What do studies on these disorders teach a person of

   20     ordinary skill in the art looking to develop a treatment

   21     option for MS patients?

   22     A.       Well, first off, they show the safety profile of

   23     4-AP, and then it also suggests that strength could be

   24     increased with 4-AP.

   25     Q.       When was the first study of dalfampridine in animal
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     1    models of MS?

     2    A.       Next slide.    So 1980 there was a British study

     3    looking at a rat model of demyelination, a model in a rat if

     4    you will of multiple sclerosis and then they showed that

     5    4-AP would reverse and improve the deficit caused by the

     6    demyelination in animals.

     7    Q.       Was there a study that established the safety of a

     8    long-term use of 4-AP in humans?

     9    A.       Next slide, please.

   10                    Shortly after this, 1981, Dr. Murray and

   11     Newsom-Davis used oral 4-aminopyridine in the disorder of

   12     neuromuscular transmission, and they treated people for as

   13     long as ten months.

   14     Q.       Now, would you describe for the Court the Murray

   15     study, JTX 89?

   16     A.       So they used a dose of, starting dose of 10 milligrams

   17     twice a day, so this is back in 1980, probably, the paper was

   18     published in '81, a long time ago, then they went up depending

   19     on the response as I mentioned that the patient either had no

   20     effect, they would go higher to a maximum of 200 milligrams

   21     a day, and the results showed that 4-AP given orally from

   22     anywhere from two days, the shortest that they used it, to

   23     ten months could improve neuromuscular transmission.

   24     Q.       Did Dr. Murray make any conclusions about

   25     dalfampridine's serious adverse effects in humans?
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     1    A.       What they found was three of their patients had

     2    seizures, and all of these were receiving 80 milligrams or

     3    more of 4-AP a day, the doses were 80 milligrams a day, 120

     4    and 200.

     5    Q.       What did Murray teach to a person of ordinary skill

     6    in the art with respect to the long-term use of

     7    dalfampridine in humans?

     8    A.       Well, as shown there that you could use it, there was

     9    a dose, meaning under 80 milligrams per day that you could

   10     treat chronically without any serious seizure effects, up to

   11     ten months.

   12     Q.       Moving on in the timeline, when was dalfampridine

   13     first tested in MS patients?

   14     A.       1983.    A study by Dr. Jones and colleagues in England

   15     were the first ones to try it in MS patients.

   16     Q.       After that was there another study looking at the use

   17     of dalfampridine in MS patients?

   18     A.       Yes.    Next slide, please.     So this is the study I

   19     highlighted as one of our top three which is the

   20     Dr. Stefoski paper.      This is a study done in Chicago at Rush

   21     Medical School using 4-AP.       As you can see in the title,

   22     4-aminopyridine improves clinical signs in multiple

   23     sclerosis.

   24     Q.       Did you rely on Stefoski to form your opinion in this

   25     case?
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     1    A.       Yes.

     2    Q.       Would you describe for the Court the Stefoski study?

     3    A.       Stefoski and colleagues, they looked at 12

     4    temperature sensitive male patients.         Let me explain that

     5    because that's an odd statement.        Before MRIs in the 1980's

     6    and earlier, we would put people in hot bathtubs, and the

     7    reason is that our nerves conduct essentially electrical

     8    signals, but when your core temperature goes up, the

     9    transmission should speed up and that would actually expose,

   10     if you will, symptoms of MS.        People would get worse

   11     transiently, put them in a hot tub and their weakness would

   12     get worse.

   13                     The reason they did this in this study is

   14     because it's considered, it was considered in the 1980's a

   15     gold standard of diagnosis, so if you were a patient who had

   16     what symptoms, numbness, tingling, weakness and you got

   17     worse after a hot bath, you had MS.         Today, of course, we

   18     use MRI scans.     And this test may be done for academic

   19     reasons, but it's not standard neurology anymore, but these

   20     were MS patients.

   21                     And then they looked at five normal men and they

   22     monitored the men before, during and after the IV injection

   23     of seven to 35 milligrams of 4-AP starting at one milligram,

   24     they would start it at one, and they went up every ten to

   25     sixteen minutes up to a maximum of 35.
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     1    Q.       Now, what did Dr. Stefoski conclude as a result of

     2    this study?

     3    A.       You can see in the second yellow, if you go back one.

     4    Ten of the twelve patients showed mild to marked

     5    improvement.     They were looking here at vision.        Vision

     6    improved in seven patients.        They looked at occular motor

     7    function, meaning movement of the eyes and they looked at

     8    motor function as they defined as power, coordination and

     9    gait in five.     Improvements was seen in five subjects.

   10     Improvements gradually developed within minutes with doses

   11     as low as two milligrams.

   12                     I think that's an important point.       Doses as low

   13     as two milligrams would help a patient and gradually reverse

   14     two to four hours after peak drug effect.

   15     Q.       What did Dr. Stefoski suggest about the clinical

   16     usefulness of dalfampridine in MS patients?

   17     A.       So Stefoski and colleagues said that their data

   18     suggest a clinical usefulness for this agent, meaning 4-AP

   19     in MS patients.

   20     Q.       Now, did Dr. Stefoski also make an observation about

   21     4-AP's duration of action?

   22     A.       Yes.   And this I believe I can say was stimulated by

   23     the fact that they saw the symptom improvement reverse in

   24     two to four hours, clearly a disease that's chronic, a life

   25     long disability, if you have an agent that only works for
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     1    two to four hours after every pill it becomes impractical.

     2                   Based on the half life here, here they note in I

     3    think 1981 that half life meaning the plasma half life of

     4    4-AP in humans was 3.6 hours, so the clinical improvement

     5    was consistent with the half life reported by Dr. Uges and

     6    what that meant clinically to a neurologist, pharmacologist

     7    was that it would be a treatment for MS that worked all day

     8    long, they would have to be dosed every three to four hours.

     9    Q.       That dosing regimen that you described, three to four

   10     times a day for a MS patient, would that be a convenient

   11     dosing regimen?

   12     A.       Three to four hours which comes out to six times a

   13     day.    And the answer is no, it was well-known back in the

   14     '80's and before that patient compliance with a regimen was

   15     a very critical factor in determining if your drug is going

   16     to have benefit.      Drugs that are given once a day it's

   17     well-known are the best in the sense of most likely to be

   18     taken every day, it's easy to get up and remember to take a

   19     pill.    Twice a day dosing is pretty good, it's easy to

   20     remember to wake up and take it and then when you go to

   21     sleep.

   22                    Once you take it above two times a day, just

   23     from a practical viewpoint, you have to remember I have to

   24     take a tablet at ten o'clock is difficult at two o'clock or

   25     whatever, so once a day dosing I would say is ideal, twice a
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     1    day is acceptable, you lose compliance, it's been studied

     2    with medications that are more than twice a day dosing.

     3    Q.       Was there a follow-up study to the Stefoski

     4    publication by the same group of researchers at Rush

     5    University?

     6    A.       Yes.   Next slide, Dr. Davis.      This is a paper now

     7    from 1990 that states that orally administered 4-AP improves

     8    clinical signs in multiple sclerosis.         So Dr. Stefoski is

     9    actually the middle author on this paper, but this is the

   10     same group from Rush Medical School.

   11     Q.       Did you rely on the Davis publication, JTX 43, to

   12     form your opinion in this case?

   13     A.       Yes.

   14     Q.       Would you describe the Davis study to the Court?

   15     A.       Yes.   Next slide, please.      So, in this case, Dr.

   16     Davis and Stefoski and colleagues at Rush looked now at 20

   17     temperature sensitive male MS patients and they were given

   18     now orally, whereas the first study was IV, this is now

   19     oral.    Also starting at 10 milligrams going up to 25

   20     milligrams or placebo, so a placebo controlled study.

   21                     And what they found was all of the 15 MS

   22     patients given 4-AP had mild to marked improvements.            And

   23     then, motor function, which they define as power

   24     coordination and gait, gait being a synonym for walking

   25     improved in nine of 13 involved subjects.          Again, they saw
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     1    improvements that developed gradually at doses as well as

     2    low, they say that 10 milligram was efficacious, began

     3    within 16 minutes and lasted about four to seven hours, and

     4    also importantly here they found that no serious adverse

     5    events occurred, meaning no seizures in particular because

     6    that was the big concern about this product since seizure

     7    had been seen at 80, 120 and 200.

     8                    And they concluded that orally administered 4-AP

     9    produces clinically important improvements in multiple

   10     chronic deficits in MS.

   11     Q.       And just to be clear, that "no serious adverse

   12     events," that is at 10 to 25 milligrams?

   13     A.       Correct.

   14     Q.       What did the Davis publication -- did the Davis

   15     publication also make an observation about the therapeutic

   16     window of dalfampridine?

   17     A.       Yes.   And highlighting on the next slide is showing

   18     it in yellow.

   19                     So I'll read the whole sentence.

   20                     Since MS patients have an increased incidence of

   21     seizure, they might be expected to be at higher risk for

   22     seizures on exposure to 4-AP.

   23                     Again, it was already observed by Murray and

   24     Newsom-Davis in 1981 that seizures could be induced with

   25     this drug.
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     1                     So it says that, although it is important to

     2    recognize the potential, it is obviously very important,

     3    that their results suggest that they could define a safe and

     4    effective therapeutic dosage window.

     5    Q.       Now, in view of 4-AP's short half-life as described

     6    in Stefoski and the description of the therapeutic window by

     7    Davis, what would a person of ordinary skill in the art have

     8    concluded about using dalfampridine in humans?

     9    A.       That it would be good to have a sustained release

   10     formulation.

   11     Q.       Okay.    And was sustained release formulations known

   12     before 1990?

   13     A.       Yes.    Next slide, please.

   14                      So this is just an example from Remington's

   15     Chapter on Sustained Release Drug Delivery Systems from

   16     1985.    So this is like the Bible of pharmaceutical sciences

   17     where they talk about different formulations, et cetera.

   18                      I'm using this as an example, but it states, it

   19     highlights the point, numerous products were on the market.

   20                      So in 1990, so I was part of the drug industry

   21     when I joined officially, but I was well aware, for example,

   22     I was a neurologist, that numerous drugs were needed for

   23     sustained release.

   24                      Morphine is another three or four half-life.

   25     That MS Contin was the name of the product.
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     1                     Mestinon for myasthenia gravis, a short-acting

     2    cholinergic agent, was used.

     3                     Sinemet, which is a Parkinson's drug, using

     4    Carbidopa and Levodopa, was called Sinemet CR, Sinemet

     5    Controlled Release.

     6                     And there were numerous companies.      We already

     7    heard one company had expertise, a company called Calta

     8    (phonetic).      So there were small companies that were working

     9    on formulation technologies.

   10                      There were marketed products already by 1990

   11     that attacked this exact problem which is short-acting drugs

   12     for chronic conditions, that they would benefit from the

   13     sustained release formulation.

   14     Q.       Dr. Peroutka, did you rely on Remington's chapter on

   15     sustained release, JTX-82, to form your opinion?

   16     A.       Yes.

   17     Q.       Okay.    Now did you understand that defendants'

   18     pharmaceutical expert, Dr. Kibbe, is going to talk more

   19     about sustained release dalfampridine formulations during

   20     his testimony?

   21     A.       Yes, he is the expert in pharmaceutics.

   22     Q.       Now, relying on Dr. Kibbe's testimony, would a

   23     person of ordinary skill in the art have had a reasonable

   24     expectation of success that a pharmaceutical formulator

   25     would have been able to make a sustained release formulation
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     1    of dalfampridine?

     2    A.       Yes.   And so putting myself back at the priority

     3    date, when I was there, since I knew about all these other

     4    drugs that had similar challenges in terms of the dosing

     5    regimen, I would have assumed -- and actually I did find

     6    that a related article by Uges did an enteric coating, so

     7    people had tried to manipulate the product before.            So I

     8    would have expected a reasonable expectation of knowledge

     9    given the state of the knowledge and the priority date.

   10     Q.       And you are also relying on Dr. Kibbe's opinion?

   11     A.       Yes, of course.

   12     Q.       Now, did you have an opportunity to review Elan's

   13     patent specification?

   14     A.       Yes.   Next slide, please.

   15     Q.       And what did the Elan patent say about the existing

   16     motivation to make the sustained release formulation?

   17     A.       Well, in the patent itself, they say that, further,

   18     in view of the nature of neurological disorders, it can be

   19     appreciated that there is a need for an improved dosage

   20     form.

   21                     I think that would be considered correct by all

   22     POSAs at that time.

   23                     However, such a formulation must result in a

   24     controlled release of the drug to the systemic circulation

   25     and therapeutically effective blood levels throughout a
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     1    given treatment period.

     2    Q.       Okay.    Now, wrapping up your obviousness analysis for

     3    the Elan patent, would you summarize for the Court your

     4    takeaways from the primary prior art that you discussed so

     5    far?

     6    A.       So the next slide puts what was known based on my

     7    review at the time of the priority date.

     8                     So use of 4-AP to treat MS.     So there were

     9    multiple papers showing that 4-AP treats MS systems, visual

   10     systems, motor function, gait.

   11                      We relied on Stefoski and Davis.

   12                      I mentioned other papers, multiple other papers

   13     that looked at this issue.

   14                      The total daily oral doses of 10 to

   15     25 milligrams per day provided a safe and effective

   16     therapeutic window.      That was discussed in Davis.       So we had

   17     a range of doses that were both safe and effective.

   18                      The 4-AP efficacy was maintained with no

   19     evidence of loss and effect with treatment periods of two

   20     weeks through ten months.       That is Murray and use of the

   21     Davis paper.

   22                      So that was all that we knew in terms of using

   23     4-AP to treat MS.

   24                      To make and use a 4-AP sustained release once-

   25     or twice-a-day formulation, we knew that 4-AP efficacy in MS
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     1    was transient, lasting only a few hours after IV, four to

     2    seven hours after oral, and that was consistent with the

     3    half-life.      So that was factual information.       Sustained

     4    release formulations were well known and were suggested for

     5    drugs with short half life.

     6                    Uges paper, Stefoski, Remington's, POSA

     7    knowledge.      Dr. Kibbe will address in much greater detail

     8    the technology part, but the fact that sustained release

     9    formulations would be beneficial to short half-life drugs

   10     that were used to treat chronic diseases was well known at

   11     the time.

   12                     And my opinion is that it was reasonable to

   13     expect that a POSA, a pharmaceutics POSA could make an SR

   14     that achieves therapeutic blood levels for 12 to 24 hours

   15     when given once or twice a day.

   16     Q.       Based on your review of the prior art, did you come

   17     to a conclusion regarding the validity of the Elan patent?

   18     A.       Yes.    Next slide, please.

   19                     So my opinion would be it is invalid because of

   20     the following facts.

   21                     It covers a known drug at the time, 4-AP, for a

   22     known use, treating MS, literature data extending back seven

   23     years, with a known formulation type, sustained release that

   24     were commonly known and used at the time.

   25                     The prior art suggested and motivated a POSA to
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     1    make and use a 4-AP sustained release formulation because of

     2    the fact that's a short half-life and short therapeutic

     3    effect when given orally or IV.

     4                     And there would be a reasonable expectation that

     5    such POSA would be successful in making the 4-AP

     6    formulation.      And Dr. Kibbe will expand upon that.

     7    Q.       Dr. Peroutka, are you aware of any secondary

     8    considerations of nonobviousness related to the Elan patent?

     9    A.       Not at this time.

   10     Q.       Now, if plaintiffs do present such evidence, do you

   11     intend to address them during your rebuttal testimony?

   12     A.       Yes.

   13     Q.       Now, let's turn to your opinions about the validity

   14     of the Acorda patents.

   15     A.       Okay.

   16     Q.       Now, first, would you please remind the Court the

   17     core limitations of the Acorda patents?

   18     A.       Sure.    You have seen these before.      But basically the

   19     core limitations of the Acorda patents are, again, sustained

   20     release 4-AP to treat MS patients at a dose of 10 milligrams

   21     BID to improve walking and walking speed with specific PK

   22     ranges for a period of at least two weeks without titration.

   23     Q.       Now, did you apply the same obviousness analysis for

   24     the Acorda patents that you did for the Elan patent?

   25     A.       Yes.
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     1    Q.       And are the Acorda patents directed to the same POSA

     2    as the Elan patent?

     3    A.       Yes.

     4    Q.       Okay.    And do you consider yourself to be a POSA for

     5    the Acorda patents?

     6    A.       Yes, in therapeutics.

     7    Q.       And you also consider yourself to be a POSA for the

     8    Elan patent as well?

     9    A.       Yes.

   10     Q.       Did you have an opportunity to review the relevant

   11     prior art references related to the Acorda patents?

   12     A.       Yes.

   13     Q.       Now, first of all, all of the references that you

   14     discussed in connection with the Elan patent, are those also

   15     prior art for the Acorda patents?

   16     A.       Yes, of course.     They all predate the priority date.

   17     Q.       What are the key prior art references that you intend

   18     to rely on for the analysis for the Acorda patents?

   19     A.       Okay.    So in addition to the previous ones now, we

   20     have the Elan patent itself which was published in 1996.

   21                      We have Dr. Goodman's publications from

   22     2002-2003 time frame.

   23                      We have the Hayes and colleagues publications in

   24     the 2001 and 2003.

   25     Q.       Do any of these references report the results from
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     1    the actual Ampyra clinical trial studies?

     2    A.       Yes.   The Hayes is the phase I PK data, I believe,

     3    and the Goodman is a Phase II study.

     4    Q.       Let's pick up on the timeline where we left off in

     5    1990 with the priority date of the Elan patent.

     6                    What claim limitations of the Acorda patents are

     7    disclosed in the Elan patent?

     8    A.       Let me go to the next slide.

     9                    So this is again a schematic showing that the

   10     Elan patent, the Acorda patent both discuss a sustained

   11     release of form 4-AP.

   12                     The Elan patent uses the term "therapeutic dose

   13     once or twice a day."       Acorda specifies ten milligrams twice

   14     it a day.

   15                     Elan patent is to treat multiple sclerosis

   16     whereas the Acorda patent treats multiple sclerosis patients

   17     to improve walking and/or speed.

   18                     Elan talks about a dose that results in a

   19     therapeutic blood level whereas the Acorda patents give a

   20     numerical values to the PK levels.

   21                     Elan's patent doesn't discuss duration in any

   22     specific form other than to the treatment of a chronic

   23     disease, doesn't discuss titration in the claims in dispute

   24     whereas Acorda talks about for at least two weeks without

   25     titration.
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     1    Q.       Now, in terms of their relationship, do the Acorda

     2    patents claim a subset of the broader limitations of the

     3    Elan patent?

     4    A.       Yes.   And the next slide shows it similar to what was

     5    already shown earlier today.        But the Elan patent, if you

     6    will, is the big circle of all therapeutic doses that can be

     7    given once or twice a day.        And at the time of the priority

     8    date, a number of studies have been done which essentially

     9    describe that therapeutic dose.

   10                     The Acorda patents limit it to a subset of

   11     specifically 10 milligrams BID, which is a therapeutic dose.

   12     Q.       Did the Acorda patents use the pharmacokinetic

   13     parameters that were achieved using the Elan formulation?

   14     A.       Yes.

   15     Q.       Now, did you have an opportunity to review the

   16     deposition testimonies of the inventors in this case?

   17     A.       Yes.

   18     Q.       And what did Dr. Blight, the inventor of the Acorda

   19     patent, say about that subject?

   20     A.       So the next slide just shows Dr. Blight's testimony.

   21     He was asked:

   22                     "Question:    Did Acorda alter the sustained

   23     release formulation that Elan provided in any manner?"

   24                     And his answer was:

   25                     "Answer:     We did not do any formulation work,
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                                                                           90
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     1    no."

     2    Q.       And does the Elan patent teach a dosing regimen that

     3    lasts at least two weeks?

     4    A.       Well, again, it goes to the treatment of a chronic

     5    disease.    So it doesn't specifically say two weeks but it

     6    talks about administering it in a patient in need thereof.

     7    It says MS deficits are stable and chronic.          That is

     8    implicitly lifelong.

     9    Q.       Now, claim 1, upon which asserted claims 3 and 8

   10     depend, of the Elan patent, does it require a dosing regimen

   11     that has titration?

   12     A.       No.

   13     Q.       So let's go back to the timeline.        Did you find a

   14     continuing interest in research for using dalfampridine in

   15     MS patients in the 1990s?

   16     A.       Yes.

   17     Q.       Now, Dr. Peroutka, did you rely on Stefoski II and

   18     van Diemen II for your opinion in this case?

   19     A.       Yes.   Throughout the 1990s, as we will see, a number

   20     of the investigator groups, ones in the Netherlands,

   21     Chicago, Baltimore, at the University of Maryland, Dr.

   22     Rudmann at Rochester, and other investigators globally were

   23     researching 4-AP in patients.

   24                     MR. PARK:   And for the record, that is JTX-113

   25     and DTX-572.
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     1    BY MR. PARK:

     2    Q.       Let's go to 1994.     Did you rely on Bever III and

     3    Polman I, JTX-28 and 95 for your opinion?

     4    A.       Yes, these are all papers.

     5    Q.       And what did they teach?

     6    A.       In general, as you can see, it says:        4-AP in the

     7    treatment of payments with multiple sclerosis, a review

     8    article of Dr. Bever in 1994 showing the different ways of

     9    giving the drug orally.       Some had sustained release

   10     formulations as early as I think '95-96 could help improve

   11     symptoms of MS.

   12     Q.       Did you review the Schwid paper JTX-104 for your

   13     opinion?

   14     A.       Yes.

   15     Q.       Now, would you describe for the Court the Schwid

   16     study?

   17     A.       So the Schwid paper was 1997.       Dr. Goodman, I should

   18     point out, is the senior author, he was involved in the

   19     study, and probably the primary author was Schwid, which was

   20     a quantitative assessment of sustained release 4-AP for the

   21     symptomatic treatment of multiple sclerosis.

   22                     And what they did was shown in highlighted in

   23     the top right.     Pharmacokinetics have shown that these

   24     episodes, meaning seizures and bad toxicity, occur when

   25     serum 4-AP levels peak.       So they used a sustained release
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     1    preparation, 4-AP SR.       Fampridine EL 970 was therefore

     2    formulated.     So based on my review of what EL 970 was, I

     3    have good reason to think that that is actually Ampyra, the

     4    drug under discussion today.        The same formulation.

     5    Q.       Now, what did the Schwid paper conclude?

     6    A.       Well, first off, what they did was they measured the

     7    time to walk eight meters, it was about 25 feet, the time to

     8    climb four stairs, and various other things.           So what

     9    they're doing, you notice they said quantitative assessment.

   10                    So what they found was that timed gait was

   11     improved over 4-AP SR compared to placebo in nine out of ten

   12     subjects which was significant, peak value 0.2.

   13                    Their conclusion was 4-AP sustained release, a

   14     dose of 17 and-a-half milligrams twice a day, improved motor

   15     function in MS patients.

   16                    The quantitative outcomes used in the study

   17     permit more sensitive evaluation of the therapeutic effect

   18     and promise to be useful in future trials of the symptomatic

   19     treatments for MS.

   20                    MR. PARK:    Okay.   Now, Jeremy, would you pull up

   21     JTX-104.

   22     BY MR. PARK:

   23     Q.       During plaintiffs' opening, you heard that there was

   24     a mention of a failed study in the Schwid paper?

   25     A.       Correct.
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     1    Q.       Now, what was Schwid's ultimate conclusion with

     2    respect to that study in his paper?

     3    A.       Yes.   Can we go to -- so, first off, it is probably

     4    worth it if I'm able to explain more about this failed

     5    study, how it shows up here.        Can we highlight, I think it's

     6    the right column, right, in 19, starting at the bottom, the

     7    second row.

     8                    So in this paper, they talked about a 1994 study

     9    of 161 subjects which we heard about in a multicenter study

   10     where they looked at something called the EDSS scale.            So

   11     EDSS is Expanded Disability Status Scale.          It is a broad

   12     range of looking at the overall function of a patient with

   13     multiple sclerosis.

   14                     What Dr. Schwid notes -- if you can go to the

   15     next paragraph is I think a key point.          Yes.

   16                     So what they said was that the EDSS, this

   17     ability scale, however, may have been an inadequate outcome

   18     variable for this trial.

   19                     And it again is a very interesting and relevant

   20     I think example.      It says that the EDSS example is imprecise

   21     due to substantial intrarater and interrater variability.

   22                     That means if I were to assess a patient plus

   23     another neurologist, we might come up with different numbers

   24     for EDSS.     If I were to do it in the same patient every day

   25     for a week, I may come up with different numbers.
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     1                   So it's relative and it's relatively insensitive

     2    to change.

     3                   So, for example -- this is the key part.         For

     4    example, a patient who needed a cane to walk 100 meters

     5    would need to improve enough to walk without the cane for

     6    100 meters -- that is a football field -- before their EDSS

     7    score would change.

     8                   So having a drug that took you from needing a

     9    cane to not needing a cane, that is a pretty big jump in

   10     ability, and a pretty big improvement.

   11                    So that Schwid points out lesser improvements in

   12     gait, i.e., walking, would not be reflected in this case and

   13     notable changes in strength or other deficits could also be

   14     overlooked.

   15                    So this study of Schwid was meant look at,

   16     quote, "more sensitive measures."

   17                    So walking 100 meters or 25 feet, whatever the

   18     distance is, how quickly you could get there without a cane

   19     or even with a cane would be more sensitive whether or not

   20     you needed a cane.

   21     Q.       Now, let's go back to DDX-63.

   22                    What was Dr. Schwid's ultimate conclusion and

   23     suggestion to a POSA about dalfampridine SR?

   24     A.       Well, the conclusion was that there was an

   25     improvement in motor function, and that there were
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                                                                           95
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     1    quantitative measures that could be used that was more

     2    sensitive than the EDSS score.

     3    Q.       Okay.    Dr. Peroutka, did the Schwid study suggest

     4    that dalfampridine SR should only be used for one week,

     5    which was the study life of the study?

     6    A.       No, it was just the length of the specific trial.

     7    Q.       Did the Schwid study titrate the dalfampridine dosing?

     8    A.       No, they used a fix dose of 17.5 milligrams twice a

     9    day.

   10     Q.       Did you also review the prosecution history from the

   11     Acorda patents, JTX-7?

   12     A.       Yes.

   13     Q.       Did the patentee say anything about the Schwid study

   14     during the prosecution of the patents?

   15     A.       Yes.

   16                      Next slide, please.

   17                      So you can see here in the highlighted statement

   18     made that fixed dosages were also used, see, for example

   19     Schwid, the paper we just discussed.

   20     Q.       Subsequent to Schwid, was there another study

   21     involving Elan's SR formulation?

   22     A.       Yes.    Go to the next slide.

   23     Q.       Now, did you rely on Hayes 1, JTX 68 and Hayes 3, JTX

   24     69, to form your opinion in this case?

   25     A.       Yes.
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                                                                           96
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     1    Q.       Would you describe for the Court the Hayes 1 and 3

     2    studies?

     3    A.       Sure.    Next slide, please.     The Hayes study is

     4    essentially a phase one pharmacokinetic study on the

     5    formulation of dalfampridine.        What they did was based on

     6    the pharmacokinetics of orally administered dalfampridine,

     7    multiple daily doses would have been needed as we discussed.

     8    So they did two studies to determine the pharmacokinetic and

     9    safety profile of an oral sustained release formulation

   10     which again is 4-AP, administered as a single dose in one

   11     part of the study and then twice daily for one week in

   12     patients with chronic spinal cord injuries.

   13                      What they found was that the sustained release

   14     was absorbed slowly, the peak plasma concentration shortly

   15     after doses, 2.6 to 3.7 hours, and the plasma half life as

   16     you see from 5.6 to 6.7 and it reached steady state after

   17     four days of twice daily administration.          They found it was

   18     well tolerated and only mild to moderate adverse events were

   19     reported and no serious adverse events.

   20     Q.       What were the four pharmacokinetic parameters that

   21     were published in the Hayes study?

   22     A.       As you can see, three highlights at the 10 milligram

   23     BID dose, they measured Cmax in nanograms per mil, the

   24     Caverage for steady state and the Tmax.

   25     Q.       The Tmax, the Caverage at steady state and the ratio
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     1    of Cmax to Cmin at steady state, are these values that

     2    reported in Hayes study all within the claim limitation, the

     3    pharmacokinetic limitation of the Acorda patents?

     4    A.       Yes.

     5    Q.       Now, this is from the Hayes three study, JTX 69.           If

     6    you were to look at the Hayes one study, did Hayes 1 also

     7    report identical pharmacokinetic primaries?

     8    A.       Yes.

     9    Q.       Now, Hayes 1 was from 2001.       Was there another study

   10     involving Ampyra formulation in 2002?

   11     A.       Yes.

   12     Q.       Now, Dr. Peroutka, did you rely the Goodman

   13     references, JTX 80 and JTX 62 to form your opinion in this

   14     case?

   15     A.       Yes.

   16     Q.       What -- was this a dose ranging study?

   17     A.       Yes, the title is placebo controlled double blinded

   18     dose range study of dalfampridine SR in multiple sclerosis.

   19     Q.       What does it mean to be a dose ranging study?

   20     A.       Well, dose ranging studies are where you start at a

   21     given dose, usually the lowest dose that you're going to use

   22     in your trial and then you look at safety and tolerability

   23     and efficacy and if you have acceptable tolerability and

   24     whatever level of efficacy you then go up a dose level, and

   25     then study that for tolerability and efficacy.
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     1    Q.       Were the Goodman, the Goodman abstract and the

     2    Goodman poster presented at the same conference in 2002?

     3    A.       Yes.

     4    Q.       Now, did you also review an abstract from 2003, the

     5    JTX 61, which reported results from the same study?

     6    A.       Yes.

     7    Q.       Let's first talk about the abstract.        Would you

     8    describe for the Court the Goodman study as reported in its

     9    abstract?

   10     A.       Yes.   Next slide, please.

   11                     So I already read the title but basically what

   12     they did here was looked at a sustained release formulation

   13     given orally to patients with MS and they started at a dose

   14     of 10 milligrams twice a day, which is a total of 20

   15     milligrams a day.      And patients got either 10 milligrams of

   16     4-AP or placebo, or, ten got placebo for seven days and they

   17     did various measurements in that time frame.           After seven

   18     days, they did testing, and then if it was tolerable to the

   19     subjects, they increased the active study drug group by 10

   20     milligrams per week.

   21                     So, for example, they went 20 milligrams a day

   22     to 30.    They then went a week on that dose and if that was

   23     acceptable and tolerable, they increased to 40 to 50 to 60

   24     to 70 to 80, if tolerable.

   25     Q.       What did the Goodman abstract conclude?
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                                                                           99
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     1    A.       They said that dose response curves showed an

     2    increasing benefit in both measures in the 20 to 50

     3    milligram a day range, meaning timed walking or lower

     4    extremity strength.

     5    Q.       Was the purpose of the Goodman study to find the most

     6    efficacious dose without adverse events?

     7    A.       Yes.   I mean, that's the goal of almost all those

     8    ranging studies.

     9    Q.       So once an efficacious dose is found, is the general

   10     goal of drug development to provide a stable dosing regimen?

   11     A.       Yes.

   12     Q.       And at what dosages did the Goodman abstract conclude

   13     efficacy without a substantial increase in adverse events?

   14     A.       Below 50 milligrams a day, as it says doses above 50

   15     had little benefit and increased in adverse effects, I

   16     believe they had seizures in the patients on 60 and 80

   17     doses.

   18     Q.       Going back to the 2002 conference where this abstract

   19     was presented, did you also find a poster presentation that

   20     was associated with the Goodman abstract?

   21     A.       Yes.

   22     Q.       Before we talk about the actual substance of that, I

   23     want to talk about poster presentations in general.            In your

   24     decades in experience in attending scientific conferences,

   25     what is the purpose of the poster presentation?
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     1     A.      Posters are one way to communicate new knowledge.

     2     The other way is a platform presentation or a lecture where

     3     someone gets on the podium, shows slides and talks to the

     4     audience, and usually fifteen minutes.         The other way is the

     5     more common way would be a big lecture hall, much bigger

     6     than this with hundreds of posters side-by-side under

     7     certain themes.     So this row might be new treatments for

     8     multiple sclerosis.      Normally during the conference the

     9     author or authors would be assigned a time when they were to

    10     stand by their poster in order to answer any questions.

    11     Throughout the conference, you can go by, look at the

    12     poster, read it, think about it but then speak to the author

    13     who is involved or authors, you would know when to talk to

    14     them.

    15     Q.      Are poster presentations generally meant to be review

    16     by the participants at the conference?

    17     A.      Yes, that's the whole point of the conference,

    18     assimilation of information.

    19     Q.      Can attendees generally take notes?

    20     A.      Yes.

    21     Q.      Is there any indication in the Goodman poster that

    22     this was supposed to be confidential?

    23     A.      No.

    24     Q.      And is there any indication on the Goodman poster

    25     that observers were not supposed to take notes?
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                                                                           101
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     1     A.      No.

     2     Q.      So is there any reason for you to believe that

     3     the Goodman poster was not publicly available as of

     4     2002?

     5     A.      No.

     6     Q.      Now, did the Goodman poster provide a POSA with more

     7     detailed data than the abstract?

     8     A.      Yes.

     9     Q.      Let's start with the chart that's on the left here.

    10     What is the 25 foot walk change in speed show?

    11     A.      It's showing that at doses 20 to 50 milligrams a day,

    12     that you can see who got better and who got worse, and in

    13     that dose range, you can clearly see it's weighted toward

    14     the right side that it's getting better.

    15     Q.      This was compared to a placebo?

    16     A.      Right, down below placebo where you can see not quite

    17     as dramatic improvement.

    18     Q.      What is the dose response 25 foot walk here show?

    19     A.      My interpretation is as follows, what they did here

    20     is they had the screening values, so they had somebody come

    21     in and they had them walk 25 feet, and it took about 15, 16

    22     seconds for the patients.       They then call it phase one, two

    23     and three and run in, but all these are before the study

    24     gets going.    Everybody as I said gets placebo for seven

    25     days, as you came in the study they measure your walking and
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                                                                           102
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     1     measure it along first days of the week, and at the end of

     2     the run in right before you got your first drug.

     3                   You can see patients, this is common, they

     4     haven't done the walk, they don't really know what they're

     5     being asked to do, they got a little better, but it's pretty

     6     consistent, about 16 seconds to walk 25 feet.          They were

     7     given for the first week, 10 milligrams, and it dropped down

     8     to just under 14 seconds at the end of a week of 10

     9     milligrams twice a day, or 20 milligrams total.           Then after

    10     a week of 30 milligrams a day, it slightly got worse, but

    11     essentially the same.      But next increase it dropped down a

    12     bit, next one went up a bit, next one down a bit, next one

    13     up a bit, what it says to me in this range here, they're all

    14     the same, a dose response showing improvement in a range

    15     would go down continually.       They got the 10 milligrams to

    16     work at this level and that level of efficacy was maintained

    17     through the dosage ranges.

    18     Q.      In your testimony now just now when you're saying

    19     this level to that level, you're referring to the 20

    20     milligrams to 80 milligrams a day?

    21     A.      Over the range of 20 to 80 milligrams a day, the

    22     change in speed, the time it takes to walk was reduced to

    23     roughly the same amount, 13 to 14 seconds from roughly 16 to

    24     17 at the baseline.

    25     Q.      What did the Goodman poster conclude?
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     1     A.      Dr. Goodman concluded that the safety profile was

     2     consistent with previous experience, I agree with that, that

     3     in the ten and specifically less than 50 milligrams a day,

     4     all the prior art has shown that when a patient is taking

     5     less than 50, 50 milligrams I should point out is the lowest

     6     daily dose that anyone has ever had a seizure on 4-AP, below

     7     50 is safe.

     8                    Secondly they concluded significant benefit on

     9     timed walking that's shown on the right side, dose response

    10     25, significant benefit on lower extremity strength, also

    11     consistent with the prior literature, and then he states

    12     evidence of dose response in the 20 to 40 milligram range.

    13     I'm not quite sure how he made that conclusion, because

    14     although -- whenever 20 is, there are 13 something goes up a

    15     little bit at 30 and then drops down, so there is only three

    16     points, one is up and one is down, so I'm not sure that is

    17     evidence of a dose response, but it's certain stable

    18     clinical effect at 20 to 40.

    19     Q.      And when Dr. Goodman is talking about 20 to 40

    20     milligrams a day range, he's talking about 10 milligrams

    21     twice a day, 15 milligrams a day and 20 milligrams twice a

    22     day?

    23     A.      Yes.

    24     Q.      Would you have had a reasonable expectation of

    25     success that 10 milligrams of dalfampridine twice a day
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                                                                           104
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     1     would improve walking in MS patients?

     2     A.      Yes, in the totality of the prior art, it shows ten

     3     milligrams would, there is data, 25 people, and then on top

     4     of that you have got all the prior art, so yes.

     5     Q.      You heard this was described as a phase two study?

     6     A.      Correct.

     7     Q.      Based on the results of this study would you have

     8     included, for example, the 10 milligrams twice a day

     9     dalfampridine sustained release dose in a phase three study?

    10     A.      Yes, there are dose related increases, very serious

    11     ones above 50 you would take the lowest effective dose that

    12     was safe.

    13     Q.      And that's 10 milligrams twice a day?

    14     A.      In this study, right, they didn't do anything lower.

    15     It's possible it could go even lower, but based on the data,

    16     10 is the lowest effective dose.

    17     Q.      Based on this data would you expect that the 10

    18     milligram twice a day sustained release formulation of

    19     dalfampridine would work for more than two weeks?

    20     A.      Yes, the literature going back, I think some

    21     sustained release was used as long as 18 months, 10 months

    22     for a nonsustained release, so there is no evidence that I

    23     could find in the prior art that ever suggested that you

    24     couldn't use this drug chronically.

    25     Q.      We're going to wrap up in just a minute for the
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                                                                           105
                                   Peroutka - direct

     1     Acorda patents, but before we get there, you heard

     2     plaintiffs mention the Solari reference in their opening.

     3     So let's pull that up.      PTX 416.

     4                    Now, is this a reference that you considered in

     5     your opinion?

     6     A.      Yes.

     7     Q.      Did the Solari publication conduct any original

     8     studies of its own?

     9     A.      No.

    10     Q.      Did Solari publication consider the Elan patent in

    11     its review?

    12     A.      No.

    13     Q.      Did the Solari publication consider the Hayes

    14     publication that you discussed in its review?

    15     A.      No.

    16     Q.      Did the Solari publication consider the Goodman

    17     publications that you discussed in its review?

    18     A.      No.

    19     Q.      So what does the Solari publication actually suggest

    20     to a person of ordinary skill in the art about dalfampridine

    21     efficacy to improve motor function in MS patients?

    22     A.      Right.    So when they did this review, they looked at

    23     a number of things.      Can we go there first?      They looked at

    24     five different aspects based on seven studies that they

    25     pulled from the literature.       First off they didn't do the
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                                                                           106
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     1     entire literature, they only did randomized control clinical

     2     trials, which if you have to have high level efficacy, you

     3     would tend to do, but it's unfair to eliminate all the other

     4     literature.    But that was what they did.       If we look at five

     5     things -- that's not it.       Go up a little higher, I think.

     6     That's not it, either.      But they talk about fatigue, visual

     7     symptoms, and motor function is one of them.

     8     Q.       Let's go to page four, motor functions?

     9     A.       Motor functions.    When they looked at everything,

    10     fatigue, visual symptoms, they do make a conclusion that

    11     there is no definitive evidence of efficacy, but very

    12     interestingly if you read the paper in detail, when they

    13     just looked at motor function which we have been discussing

    14     here, they found three randomized control trials involving

    15     54 patients that considered motor function testing as a

    16     study outcome, Bever, 1996, and Schwid that we discussed.

    17     They did manual muscle testing in all the studies, 29

    18     patients improved, 54 percent improved when 4-AP, versus

    19     four, seven percent during placebo.        That's 14.5.     To a

    20     statistician that's a huge number.        You can see in this P

    21     value.    If you go to the last thing, P equals less than

    22     .001.    Dr. Solari didn't do the study, but what she did do

    23     was look at just the motor function of these studies, and

    24     she did observe.

    25                   As a POSA, I look at that, P OO1, one in a
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                                                                           107
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     1     thousand chance that this is random, that would have been

     2     significant motivation to me to explore if not fatigue, not

     3     the other things that they measured in this study, but

     4     specifically motor function which is I think where the prior

     5     art leads you.

     6     Q.      Now, wrapping up, would you summarize for the Court

     7     the relationship of the Elan patent, the Schwid and the

     8     Goodman publications and the Acorda patents?

     9     A.      Next slide, please.      So going back to these sort of

    10     diagrams, we have the Elan patent in the blue talking about

    11     a therapeutic dose of a sustained release 4-AP given once or

    12     twice a day to treat MS.

    13                    We have got the Goodman poster doing a range of

    14     study 10 to 20 milligrams twice a day.         We have Schwid

    15     saying 17-and-a-half twice a day, 35 milligrams, so Goodman

    16     and Schwid now limit the therapeutic dose down to 10 to 20

    17     milligrams a day.     And Acorda patent further restricts that

    18     within the Elan patent, within the prior art of Goodman and

    19     Schwid to 10 milligrams twice a day.

    20     Q.      Dr. Peroutka, this is an important point.          Did you

    21     prepare another demonstrative to show the Court what the

    22     prior art showed to be a safe and effective dose for 4-AP?

    23     A.      Yes.   Next slide.     So this shows the way I like to

    24     think of therapeutic dosing.       So the Elan patent on the top,

    25     it's just a therapeutic level so it's some range of doses.
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                                                                           108
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     1     It's highly unlikely that there is only one dose of the drug

     2     and only one dose that works.

     3                    So if you look at it this way, broad therapeutic

     4     level line, Stefoski 91 did a range of seven-and-a-half to

     5     52.5 that they said was safe and effective.          Davis said 10

     6     to 25 milligrams was safe and effective.         Hayes 20 to 50.

     7     Schwid used just 35.

     8                    My point of this, Your Honor, is it's right in

     9     the middle of all the other ranges.        In other words, it's

    10     not breaking any new grounds.       They're not building upon a

    11     new dose.     It's simply selecting within the range that's

    12     well established.     Goodman says 20 to 40 a day is safe and

    13     effective, and the Acorda patents put a stake down at 20

    14     which is again dead center of all the other publications

    15     talking about ranges of safe and effective doses.

    16     Q.      Let's now compare the claim limitations of the Acorda

    17     patents with the prior art references that you discussed.

    18     Does the prior art teach the use of 10 milligrams

    19     dalfampridine sustained release twice day daily?

    20     A.      Yes, next slide.     So we have Goodman 2002, that

    21     specifically has a data point of 10 milligrams twice a day,

    22     we have those publications that discuss efficacy at 10

    23     milligrams.

    24     Q.      Does the prior art teach the use of 10 milligrams

    25     dalfampridine sustained twice daily to improve walking and
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                                                                           109
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     1     increase walking speed?

     2     A.        Yes.   Goodman said that the sustained release groups

     3     statistically showed statistically significant improvement

     4     from baseline compared to placebo and functional measures of

     5     mobility timed 25 walking speed at a P value of .04.

     6     Q.        Dr. Peroutka, did you prepare a demonstrative on what

     7     the prior art teaches about the duration of action,

     8     treatment for dalfampridine?

     9     A.        Yes.   Next slide, please.

    10     Q.        So, again, using that same format where the Elan

    11     patent really doesn't discuss duration, but it discusses the

    12     treatment of a symptom and the chronic disease, chronic

    13     stable.    We have got 32 months Polman I, ten months Murray,

    14     three months van Diemen, there is numerous publications that

    15     talk about longer than two week treatment, none of those

    16     mention any loss of efficacy or any reason that it can't be

    17     given indefinitely.      So?

    18     A.        So Acorda just limits it down to two plus a week.

    19     Q.        So does the prior art in your view suggest the use of

    20     10 milligrams twice daily without titration for more than

    21     two weeks?

    22     A.        Yes.

    23     Q.        Now, for most drugs in general, once a

    24     therapeutically effective dose is found, during the clinical

    25     study or dose ranging study, are those doses titrated from
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 110 of 330 PageID #: 7257
                                                                           110
                                   Peroutka - direct

     1     week to week?

     2     A.        In general, no.    The vast majority of drugs, the dose

     3     is decided, you are give a prescription with that dose and

     4     you treat yourself.

     5     Q.        And is there a practical benefit to that?

     6     A.        Yes.    I mean the extreme example would be insulin

     7     for diabetics where people have to monitor their blood and

     8     constantly adjust the dose in order to fine tune a

     9     treatment.       That is titration.

    10                      Obviously, it's a lot easier simply to take one

    11     pill, the same pill twice a day than to have to figure out,

    12     well, this morning I need this much, that much.           But with

    13     pills, it is almost impossible to titrate easily.

    14     Q.        So does the prior art teach the specific

    15     pharmacokinetics of 10 milligrams of dalfampridine twice a

    16     day?

    17     A.        Yes.    Hayes has exactly the data that is in the

    18     patent.    Basically, it is showing that at 10 milligrams

    19     twice a day, you achieve a value that is right in the range

    20     claimed in the patent.

    21     Q.        Did the Hayes reference disclose all of the claimed

    22     pharmacokinetics in the Acorda patents?

    23     A.        Yes, either directly or indirectly.

    24     Q.        So we just addressed the core limitations of the

    25     Acorda patents.      Are there any remaining claim limitations
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 111 of 330 PageID #: 7258
                                                                           111
                                   Peroutka - direct

     1     of the Acorda patents that we have not specifically

     2     discussed?

     3     A.      There is a few.     If you go to the next slide.

     4                     For example, in the '437, they talk about that

     5     the composition should be a tablet.

     6     Q.      Okay.    Does the Elan patent, among others,

     7     specifically disclose a sustained release formulation that

     8     is a tablet?

     9     A.      Yes.

    10     Q.      Okay.    And does the Goodman study, among others,

    11     teach using dalfampridine without other doses of

    12     dalfampridine?

    13     A.      Yes.

    14     Q.      And that is in claim 1 of the '685 patent; right?

    15     A.      (Nodding yes.)

    16     Q.      Does the Elan patent, among others, teach a sustained

    17     release composition with one or more pharmaceutically

    18     acceptable excipients?

    19     A.      Yes.

    20     Q.      Does the Elan patent teach a sustained release

    21     profile that extends over six hours?

    22     A.      Yes.    It says therapeutically effective for once- or

    23     twice-a-day dosing, so it implies it, yes.

    24     Q.      Now, in view of the totality of the prior art

    25     references that you have discussed and the claimed
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 112 of 330 PageID #: 7259
                                                                           112
                                   Peroutka - direct

     1     invention, including prosecution history, what is your

     2     conclusion as to the validity of the Acorda patents?

     3     A.      Next slide, please.

     4                   So my opinion is that indeed they're all invalid

     5     because, as I have shown, they simply narrowed the Elan

     6     patent to a known dose for a known use for a period of two

     7     weeks or more.     All, I should say, within the range that has

     8     already been demonstrated in the prior art.

     9                   The prior art found that the claimed dose,

    10     10 milligrams BID was effective for that precise treatment

    11     and improvement.     The slide is shown there.       And I circled

    12     the 10 milligram dose.

    13                   I mean those data, that one graph, to me, leads

    14     to the extremely reasonable expectation of success when you

    15     put it in the context of the totality of all the prior art.

    16     Knowing the dose ranges, knowing the safety profile, knowing

    17     the measures that are being used here, 25 subjects showing a

    18     20 percent decrease in the time it takes them to walk would

    19     lead me to think that would be replicated in future studies.

    20     Q.      Thank you, Dr. Peroutka.       Are you aware of secondary

    21     indicia of nonobviousness relating to the Acorda patents?

    22     A.      Not at this point.

    23     Q.      In your review of the prior art, did you find any

    24     unexpected or surprising results about the claimed

    25     invention?
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                                                                           113
                                   Peroutka - direct

     1     A.      No.

     2     Q.      Did you find any evidence of long-felt need but

     3     failure of others?

     4     A.      No.

     5     Q.      Did you find any evidence of skepticism of others?

     6     A.      No.

     7     Q.      Now, if the patentees present such evidence, do you

     8     intend on addressing them during your rebuttal testimony?

     9     A.      Yes.

    10     Q.      Now, circling back to all of the asserted claims of

    11     the Ampyra patents, the Orange Book patents, what is your

    12     opinion with respect to the Elan and the Acorda patents?

    13     A.      So in my final slide, my conclusion is that all the

    14     asserted claims of all five patents are obvious.           That a

    15     person of ordinary skill of the art at the priority date

    16     1990-91 would have had a very reasonable expectation of

    17     success based on the totality of the prior art, that a

    18     sustained release formulation could be created and could be

    19     used to treat systems of MS once or twice a day.

    20                    MR. PARK:    Your Honor, at this time defendants

    21     move to entered into evidence all JTX and DTX relied upon by

    22     Dr. Peroutka for his opinion, including DTX-139, 204, 572,

    23     and JTX-1, 2, 3, 4, 5, 7, 28, 43, 61, 62, 68, 69, 76, 80,

    24     80A, as if the alphabet A, 82, 89, 95, 104, 112, and 113.

    25                    THE COURT:   Is there any objection?
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                                                                           114
                                    Peroutka - cross

     1                   MR. DiNAPOLI:     No objection, Your Honor.

     2                   THE COURT:    Okay.    Those that were specifically

     3     listed by number are admitted.

     4                   (Above-listed exhibits are admitted into

     5     evidence.)

     6                   MR. PARK:    Defendants reserve the right to have

     7     redirect and rebuttal testimony from Dr. Peroutka, but we

     8     don't have any further questions at this time.

     9                   THE COURT:    Okay.    Well, at this time, we will

    10     take a recess of about 15 minutes and then we'll have

    11     cross-examination.

    12                   (Brief recess taken.)

    13                   *      *      *

    14                   (Proceedings reconvened after recess.)

    15                   THE COURT:    We're ready for cross-examination.

    16                   MR. DiNAPOLI:     Yes, Your Honor.     May I approach?

    17                   THE COURT:    You may.

    18                   (Binders passed forward.)

    19                   THE COURT:    You may proceed when you are ready.

    20                   MR. DiNAPOLI:     Thank you, Your Honor.

    21                               CROSS-EXAMINATION

    22     BY MR. DiNAPOLI:

    23     Q.      Dr. Peroutka, you would agree with me before the

    24     Acorda patents, the largest clinical study testing 4-AP in

    25     MS patients had failed; is that correct?
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                                                                           115
                                    Peroutka - cross

     1     A.      No, I would not.

     2     Q.      Why don't we take a look at JTX-104.

     3                    If we go down to -- well, strike that.

     4                    You are familiar with this article, correct?

     5     A.      Yes.

     6     Q.      And it's the Schwid article that you testified about

     7     on direct?

     8     A.      Yes.

     9     Q.      And it is published in the Journal of Neurology?

    10     A.      Yes.

    11     Q.      All right.    And that is one of the very well

    12     respected journals in the field of neurology?

    13     A.      Yes.

    14     Q.      And it's peer reviewed?

    15     A.      Yes.

    16     Q.      And if you look at the bottom, it's a column on the

    17     left.   It starts:    In 1994, 161 subjects with stable

    18     deficits from MS participated in a multicenter double-blind

    19     placebo-controlled parallel group study, taking 4-AP SR over

    20     placebo for six weeks.

    21                    Do you see that?

    22     A.      Yes.

    23     Q.      Was that, the 161 patient study, the largest study of

    24     4-AP in MS patients at that time?

    25     A.      161 was the largest, yes.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 116 of 330 PageID #: 7263
                                                                           116
                                    Peroutka - cross

     1     Q.        And if you go up to the conclusions -- strike that.

     2     If you go up to, in the abstract, under background, the

     3     second sentence.       I'm sorry.   Second sentence.    A previous

     4     multicenter ...

     5                       A previous multicenter trial of 4-AP SR using

     6     the Expanded Disability Status Scale as the primary outcome

     7     was unable to establish clinical efficacy.

     8     A.        Yes.

     9     Q.        Do you agree with that statement?

    10     A.        Using the EDSS scale.     But the problem with this

    11     whole line here is that I have never seen this study.            I

    12     haven't seen the data.       I haven't seen a reference to it.

    13     There is no citation.       It is just the word of the first

    14     author.    To assess the study, you have to look at the data,

    15     what were the patients that got into it, how long were they

    16     treated, what dose did they use.

    17                       So this is like saying, you know, something is

    18     not good, but it doesn't tell you what the "something" is.

    19     Q.        I'm a little confused.     You relied on some Goodman

    20     abstracts, didn't you?

    21     A.        That has data.

    22     Q.        That has all the data that you just read off?

    23     A.        Yes.    It has dose.   It has the measures they did.       It

    24     has statistics.       It has the number of subjects.

    25     Q.        Okay.    Let's look at what the Schwid article has.        It
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 117 of 330 PageID #: 7264
                                                                           117
                                    Peroutka - cross

     1     does identify it as 161 subjects; correct?

     2     A.      Correct.

     3     Q.      And that it was a multicenter study; correct?

     4     A.      Correct.

     5     Q.      And that it was double blind study?

     6     A.      Correct.

     7     Q.      And it was a placebo control?

     8     A.      Right.

     9     Q.      And it was a parallel group study?

    10     A.      Correct.

    11     Q.      And people were on 4-AP for six weeks; correct?

    12     A.      What dose does it say?

    13     Q.      Sir, I'm asking the questions.

    14     A.      I'm sorry.

    15     Q.      The subjects were on 4-AP for six weeks; correct?

    16     A.      That's what it says.

    17     Q.      And they used EDSS as the primary outcome measure?

    18     A.      Yes.

    19     Q.      So they identified the primary outcome measure;

    20     correct?

    21     A.      Yes.

    22     Q.      And it says that the study was powered; right?

    23     80 percent detect a difference between the improvement rate

    24     of five percent in the placebo group and 20 percent in the

    25     4-AP SR group; is that correct?
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 118 of 330 PageID #: 7265
                                                                           118
                                    Peroutka - cross

     1     A.      That is what it says.

     2     Q.      And they also give results.       22 percent of patients

     3     in the 4-AP SR group improved on the EDSS; correct?

     4     A.      Yes.

     5     Q.      And that it also says that the same percentage

     6     improved in the placebo group; correct?

     7     A.      Yes.

     8     Q.      And that was are information presented in this well

     9     respect peer-reviewed neurology journal in 1997?

    10     A.      Yes.   It was information, not data.

    11     Q.      Now, the EDSS include a walking component, doesn't

    12     it?

    13     A.      One subset, yes.

    14     Q.      Now, it was also one of the most widely utilized

    15     assessment instruments in MS; is that correct?

    16     A.      Yes.

    17     Q.      And it's been used, the EDSS has been used in a lot

    18     of clinical trials; right?

    19     A.      Yes.

    20     Q.      At the time that the Schwid article was published,

    21     reporting on the 161 patients study, you weren't conducting

    22     MS research; is that correct?

    23     A.      Correct.

    24     Q.      And you weren't treating MS patients?

    25     A.      Correct.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 119 of 330 PageID #: 7266
                                                                           119
                                    Peroutka - cross

     1     Q.        And you weren't working or doing research with 4-AP;

     2     right?

     3     A.        Correct.

     4     Q.        And why don't we take a look at JTX-001.        Go to the

     5     next page.

     6                    It's the Masterson patent which I believe you

     7     testified about.

     8     A.        Right.

     9     Q.        And if you look at the related U.S. application date,

    10     right there, No. 62, you can see that it's the division of

    11     an application filed on November 1st, 1991.

    12     A.        Correct.

    13     Q.        And on November 1st, 1991, you were not conducting MS

    14     research; isn't that correct?

    15     A.        Correct.

    16     Q.        And you weren't treating MS patients at that time,

    17     either?

    18     A.        Correct.

    19     Q.        And you weren't working with 4-AP?

    20     A.        Correct.

    21     Q.        And you weren't conducting research with sustained

    22     release formulations at that time either; correct?

    23     A.        It's possible but not specifically.

    24     Q.        Why don't we look at JTX-002.

    25                    And you are familiar with this patent?
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                                                                           120
                                    Peroutka - cross

     1     A.      Yes.

     2     Q.      And you can see under the provisional application

     3     number there is a 2003 date and then there is also on the

     4     very last line, an April 9th, 2004 date.         Do you see that?

     5     A.      Correct.

     6     Q.      In April of 2004, at that time, you were not

     7     conducting MS research; isn't that true?

     8     A.      Yes.

     9     Q.      And you weren't treating MS patients at that time?

    10     A.      Correct.

    11     Q.      And you weren't conducting experiments with 4-AP;

    12     correct?

    13     A.      Correct.

    14     Q.      And you haven't treated MS patients since 1990?

    15     A.      Correct.

    16     Q.      And from 1990 through at least around 2007, you

    17     weren't involved in MS research?

    18     A.      Correct.

    19     Q.      I think you identified, and you had a slide of about

    20     200-plus articles that you published?

    21     A.      Correct.

    22     Q.      And none of those relate to MS; isn't that correct?

    23     A.      Correct.

    24     Q.      And none of those relate to 4-AP; correct?

    25     A.      Correct.
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                                                                           121
                                    Peroutka - cross

     1     Q.      And I believe you identified over 60 book chapters;

     2     correct?

     3     A.      Correct.

     4     Q.      And none of those relate to MS?

     5     A.      Correct.

     6     Q.      And none of those relate to 4-AP?

     7     A.      Correct.

     8     Q.      And your CV identifies 137 abstracts; correct?

     9     A.      Correct.

    10     Q.      And none of those relate to MS; right?

    11     A.      I don't believe so.

    12     Q.      And none of them relate to 4-AP?

    13     A.      Correct.

    14     Q.      You have never prescribed 4-AP; is that correct?

    15     A.      Correct.

    16     Q.      And you have never prescribed Ampyra?

    17     A.      Correct.

    18     Q.      I believe you talked about and had a picture diagram

    19     of the many different symptoms that MS can cause in

    20     patients.    Those symptoms can vary over time, can't they,

    21     within a single patient?

    22     A.      Yes.

    23     Q.      And that would include day-to-day variability; isn't

    24     that correct?

    25     A.      Sometimes, yes.
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                                                                           122
                                    Peroutka - cross

     1     Q.      And walking can vary day to day; correct?

     2     A.      Sometimes, yes.

     3     Q.      Walking speed can vary day to day?

     4     A.      Sometimes, yes.

     5     Q.      And I believe you had mentioned that 4-AP was a

     6     potassium channel blocker?

     7     A.      Correct.

     8     Q.      And that 4-AP improves nerve conduction by blocking

     9     potassium channels?

    10     A.      Correct.

    11     Q.      4-AP also causes seizures by blocking potassium

    12     channels, doesn't it?

    13     A.      In high doses, yes.

    14     Q.      And that is the same mechanism of action that one was

    15     hoping to use 4-AP in order to improve MS; correct?

    16     A.      Possibly.     It's not clear at high doses if you are

    17     getting other channel involvement or just one.          So it is

    18     possible that it is in other sites at higher doses.

    19     Q.      Can you take a look at JTX-89?        And this is an

    20     article that you testified about which is, relates to the

    21     use of 4-AP in some small patient studies with myasthenia

    22     gravis; is that correct?

    23     A.      Yes.   Yes.

    24     Q.      Do you have the article?

    25     A.      Yes.
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                                                                           123
                                    Peroutka - cross

     1     Q.      And this is one of the articles that you testified

     2     about, the Murray article?

     3     A.      Yes.

     4     Q.      And myasthenia gravis, that is a form of muscular

     5     disease; correct?

     6     A.      Yes.

     7     Q.      And MS is a central nervous disease?

     8     A.      It's a neuroimmunological disease, I would call it.

     9     Q.      But it is within the central nervous system, it is

    10     not at the neuromuscular junction.

    11     A.      Well, it effects the peripheral nervous system, too.

    12     Q.      Has there been any 4-AP approved by the FDA for

    13     treating myasthenia gravis?

    14     A.      No.

    15     Q.      And I believe you had testified that Murray had

    16     established the long term safety of 4-AP?

    17     A.      Well, he looked at patients out to ten months.

    18     Q.      And if you look at the very last page, page 270, in

    19     the conclusions.

    20     A.      Okay.

    21     Q.      At the very bottom, it says:        The central effects of

    22     4-AP, especially seizures, limit its use.

    23                     Do you see that?

    24     A.      Yes.

    25     Q.      So Murray agreed that seizures limited the use of
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 124 of 330 PageID #: 7271
                                                                           124
                                    Peroutka - cross

     1     4-AP?

     2     A.        Yes, at certain doses.

     3     Q.        And he wrote that?

     4     A.        Correct.

     5     Q.        If you turn to PDX-330.

     6     A.        I'm sorry.    What number?

     7     Q.        I'm sorry.    PTX-D-330?

     8     A.        I have a different number system.

     9     Q.        Just PTX-330.    Sorry.

    10                    THE COURT:    It's in the binder he handed you.

    11                    THE WITNESS:    The first one?

    12                    THE COURT:    No, the one that plaintiffs handed

    13     you.

    14                    THE WITNESS:    I have got JTX numbers and I got

    15     DTX, but I have 204 and 572.

    16                    MR. DiNAPOLI:    It's the second-to-last article,

    17     I believe.

    18                    THE COURT:    It's about three or four tabs in the

    19     back in my copy.

    20                    MR. DiNAPOLI:    Three tabs.    Excuse me.

    21                    THE WITNESS:    330?

    22                    MR. DiNAPOLI:    Are you looking at the cross

    23     binder?    I'm sorry.     The binder that I handed you.

    24                    THE WITNESS:    I thought so.

    25                    MR. DiNAPOLI:    It should say Peroutka cross on
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 125 of 330 PageID #: 7272
                                                                           125
                                    Peroutka - cross

     1     the front cover.

     2                       THE COURT:   Do you want to help him out?

     3                       MR. DiNAPOLI:    May I approach, Your Honor?

     4                       THE COURT:   You may.

     5                       MR. DiNAPOLI:    I may have handed you the wrong

     6     binder.

     7                       THE COURT:   PTX 330.

     8                       THE WITNESS:    I got it now.   Sorry about that.

     9     I had the wrong number.

    10     BY MR. DiNAPOLI:

    11     Q.        And is this one of the articles that you had

    12     reviewed?

    13     A.        Yes.

    14     Q.        And this is an article that relates to the use of

    15     4-AP in improving smooth muscle, the gain of the eyes,

    16     smooth muscle pursuit of the eyes?

    17     A.        I believe so, yes.

    18     Q.        So it doesn't relate to walking; isn't that correct?

    19     A.        I believe so, yes.

    20     Q.        Do you want to go to the Polman article which is JTX

    21     95.

    22     A.        Okay.

    23     Q.        This is one of the articles that you had testified

    24     about?

    25     A.        Yes.
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                                                                           126
                                    Peroutka - cross

     1     Q.      If you look at the conclusion that Dr. Polman reached

     2     on the front cover it says although a substantial portion of

     3     patients with multiple sclerosis seemed to benefit from

     4     long-term administration of 4-aminopyridine, additional

     5     studies are needed to clarify the exact value of the drug.

     6     Do you see that?

     7     A.      Yes.

     8     Q.      Dr. Polman was recognizing that there was a need for

     9     some additional studies?

    10     A.      In order to clarify the exact value of the drug, yes.

    11     Q.      I believe you had testified about doses at which the

    12     art had seen seizures in people with MS?

    13     A.      Yes.

    14     Q.      Why don't you take a look at page 294.         If you look

    15     under side effects.      And in particular, the first paragraph,

    16     it says in one patient, a 54 year old woman who was treated

    17     with 4-aminopyridine for the first time, a period of speech

    18     arrest was followed by a generalized tonic-clonic epileptic

    19     seizure on the second day of the 4-aminopyridine treatment.

    20     Do you see that?

    21     A.      Yes.

    22     Q.      At that moment she had taken only two five milligram

    23     capsules of 54 a-aminopyridine?

    24     A.      Yes.

    25     Q.      Here is a report of a woman after taking two five
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 127 of 330 PageID #: 7274
                                                                           127
                                    Peroutka - cross

     1     milligram capsules of 4-AP had a seizure?

     2     A.      Yes.

     3     Q.      And then if we turned to the page 295, on the third

     4     patient, it says in a third patient, a 51 year old man who

     5     had tolerated 4-AP well for three months during a previous

     6     trial, a generalized tonic-clonic convulsion occurred after

     7     18 months of 4-aminopyridine and 20 milligrams per day, do

     8     you see that?

     9     A.      Yes.

    10     Q.      So 10 milligrams per day, but BID would be 20

    11     milligrams a day; correct?

    12     A.      Yes.

    13     Q.      And here this 51 year old man had a seizure; correct?

    14     A.      Correct.

    15     Q.      If you turn to JTX 0028.

    16     A.      Okay.

    17     Q.      This is an article by Dr. Bever, I believe you

    18     testified about?

    19     A.      Yes.

    20     Q.      And this article, there were eight patients tested in

    21     this study; isn't that correct?

    22     A.      Yes.

    23     Q.      And Dr. Bever attempted to measure changes in

    24     ambulation index; isn't that correct?

    25     A.      I believe so, amongst other things.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 128 of 330 PageID #: 7275
                                                                           128
                                    Peroutka - cross

     1     Q.      And ambulation index includes the timed 25-foot walk?

     2     A.      I believe so.     I should double-check, but I believe

     3     so.

     4     Q.      And Dr. Bever saw no changes in the ambulation index;

     5     is that correct?

     6     A.      In the eight patient study, can we know the results

     7     so I can refresh my mind?

     8     Q.      If you turn to page, it has the lower 453 on the

     9     lower right, and just above discussion.         It says no changes

    10     were seen in AI or EDSS scores.        Data not given.

    11     A.      I would like to see the data.        What did they use to

    12     generate the data.      This is another example where a

    13     statement can be made but I don't feel comfortable

    14     concurring with it until I see the data.

    15     Q.      Dr. Bever said he was going to test for it in the

    16     ambulation index?

    17     A.      Did he use .001 milligrams or a thousand milligrams?

    18     Did he do it once a day or twice a day?         There is not enough

    19     data to assess the statement.

    20     Q.      Dr. Bever assessed his own results and reported there

    21     were no changes seen in AI; right?

    22     A.      That's correct.

    23     Q.      That's his conclusion of his own data; right?

    24     A.      Right.

    25     Q.      And then if you turn to the last page of the
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                                                                           129
                                    Peroutka - cross

     1     document, 454, and in the upper left, there is a reference

     2     to these studies suggest, do you see that?

     3     A.      Not yet, but just a second.       Yes.

     4     Q.      And if you look in the previous part of that

     5     paragraph, you can see that these studies referring to the

     6     Stefoski and Davis articles and the Jones article that you

     7     had referred to; is that correct?

     8     A.      Yes.

     9     Q.      And what Dr. Bever concluded about the Stefoski,

    10     Davis and Jones articles was that while the studies suggest

    11     that 4-AP may induce improvements in specific neurological

    12     deficits in MS, the studies were limited by questions about

    13     blinding, failure to randomize treatment and failure to

    14     either use prospectively defined neurological deficits or

    15     adjust significance levels to compensate for multiple

    16     comparisons, do you see that?

    17     A.      Yes.

    18     Q.      Those are criticisms that Dr. Bever had with the way

    19     the Stefoski and Davis studies were run?

    20     A.      I wouldn't use the word criticism, I would note that

    21     they were limitations.

    22     Q.      He commented on them?

    23     A.      Yes.

    24     Q.      And that's something that a person of skill in the

    25     art would have been aware of?
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                                                                           130
                                    Peroutka - cross

     1     A.      Yes.

     2     Q.      And I believe you had testified about table three and

     3     how table three provides the pK data, pharmacokinetic data

     4     for the 10 milligrams BID dose?

     5     A.      Correct.

     6     Q.      That is the information that appears in the patent

     7     specification?

     8     A.      It falls in the range of the patent specification.

     9     Q.      So if I can understand this correctly, there is a

    10     Caverage, steady state that says 20.8 for the 10 milligram

    11     dose, Caverage steady state, the 10 milligram dose provided

    12     an average of 20.8 plus or minus 5.7; is that correct?

    13     A.      Correct.

    14     Q.      If one wanted to give a higher average concentration

    15     to the blood, for example, if one wanted a 31 nanogram per

    16     milliliter average concentration in the blood, you would

    17     need to give the 15 milligram dose; correct?

    18     A.      Correct.

    19     Q.      That's what's shown here in the next column?

    20     A.      Correct.

    21     Q.      And similarly if one wanted to give a 60 nanogram per

    22     milliliter average per concentration, one would need to give

    23     something bigger than 25 milligrams per dose; correct?

    24     A.      Yes.

    25     Q.      And that's what's shown in the right column?
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                                                                           131
                                    Peroutka - cross

     1     A.      No, it shows that at 25 you get 53.

     2     Q.      53.

     3                     Let's go back to the Schwid article, which was

     4     JTX 139.    If you go back to page 820 in the discussion

     5     section.

     6                     THE COURT:   Is it not PTX 139?

     7                     MR. DiNAPOLI:   JTX 104.

     8                     THE COURT:   JTX 104.   Thank you.

     9     BY MR. DiNAPOLI:

    10     Q.      And if you go to the last page of the article under

    11     discussion.

    12     A.      Okay.

    13     Q.      In the very bottom it says treatment appeared

    14     particularly efficacious in subjects who achieved serum 4-AP

    15     levels above 16 nanograms per milliliter with everyone

    16     improving in time and gait testing, grip strength and five

    17     of six improving by MVICT and their own subjective

    18     assessment, do you see that?

    19     A.      Yes.

    20     Q.      If someone wanted to have a plasma concentration that

    21     averaged 60 nanograms per milliliter, the Hayes article

    22     would tell you you needed something bigger than 25

    23     milligrams a day?

    24     A.      We are going to have to spend more time on that if

    25     you would like me to answer that.        Let me refresh myself.
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                                                                           132
                                    Peroutka - cross

     1     This is Schwid 97.      Can we go to the table to find where the

     2     blood levels are in this.       Are they referring in this study

     3     to blood levels that were drawn?        I'm trying to find the

     4     actual data.

     5     Q.      In which?

     6     A.      Where does the 60 nanogram come from?

     7     Q.      I want to know about the statement.         If your counsel

     8     wants you to analyze the data, that's something they can do,

     9     I'm on the clock.     I just want to ask you about the

    10     statement that's in the discussion session which says it was

    11     above 60 nanograms per milliliter that they appeared

    12     particularly efficacious?

    13     A.      It says that.

    14     Q.      That's what it says.      As we already went through on

    15     your analysis of the Hayes article, if you wanted to have an

    16     average steady state concentration of greater -- of 60

    17     nanograms per milliliter you would need 25 milligrams

    18     tablets BID; right?

    19     A.      No, because this paper used 17-and-a-half BID.           So in

    20     this paper, 17-and-a-half gave them these levels.

    21     Q.      Well, it doesn't necessarily say it gave those

    22     levels, it said that it was particularly efficacious in

    23     subjects who achieved those levels?

    24     A.      Right, but they were using 17-and-a-half twice a day.

    25     Q.      And some subjects could achieve above 60 and some
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                                                                           133
                                    Peroutka - cross

     1     subjects would have achieved below 60; isn't that correct?

     2     A.        Yes.

     3     Q.        Not everybody gets the same level; right?

     4     A.        It depends on the time you measure it, whether it's

     5     at peak dose, there is variations.

     6     Q.        If someone wanted to maintain an average state

     7     concentration above 60, the Hayes article told you you

     8     needed something above 25 milligrams?

     9     A.        Correct.

    10     Q.        Now, the Hayes articles that you had referred to,

    11     they were two pK articles?

    12     A.        Uh-huh.

    13     Q.        Neither of those were testing MS patients; isn't that

    14     correct?

    15     A.        Correct, spinal cord injury, I think it was.

    16     Q.        And they were not efficacy studies; is that correct?

    17     A.        Not to my knowledge.

    18     Q.        They were pharmacokinetic studies in spinal cord

    19     injury patients?

    20     A.        Correct.

    21     Q.        Let's go to JTX 80A.    And if you look at the method

    22     section.

    23     A.        Okay.

    24     Q.        Which I think on the second page is a little easier

    25     to see.    On the first line it says the study was designed as
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 134 of 330 PageID #: 7281
                                                                           134
                                    Peroutka - cross

     1     a preliminary dose ranging study to assess safety and to

     2     explore potential outcome measures for use in later trials.

     3     Do you see that?

     4     A.      Yes.

     5     Q.      So the purpose of this study, one purpose was to

     6     explore potential outcome measures for use in later trials?

     7     A.      Correct.

     8     Q.      If you look at the result summary down at the bottom.

     9     Under fatigue, it says substantial improvements in fatigue

    10     were seen in both dalfampridine and placebo treated groups,

    11     it says overall there was a trend toward greater improvement

    12     in the placebo treated group, do you see that?

    13     A.      Correct.

    14     Q.      What's that's saying is for AP, improved fatigue in

    15     patients but that placebo in fact improved it better?

    16     A.      A trend.

    17     Q.      Greater improvement in placebo than on 4-AP?

    18     A.      Yes.   Trend.

    19     Q.      Now this study, the study reported on in the poster,

    20     you understand that was a study conducted by Acorda?

    21     A.      Well, in collaboration with academics.

    22     Q.      Do you know that all of the data that Acorda

    23     collected appears in this report?

    24     A.      No.

    25     Q.      I would assume that it doesn't appear in all the
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                                                                           135
                                    Peroutka - cross

     1     abstracts, all the data that Acorda collected; correct?

     2                    MR. PARK:    Objection, Your Honor.     Calls for

     3     speculation.

     4                    THE COURT:   There is an objection.      Do you have

     5     a response?

     6                    MR. DiNAPOLI:    I will ask a different question.

     7     BY MR. DiNAPOLI:

     8     Q.      You have 36 patients in this study; isn't that

     9     correct?

    10     A.      Yes.

    11     Q.      And there were 25 patients on active, 4-AP, and there

    12     were 11 patients on placebo; is that correct?

    13     A.      Yes.

    14     Q.      If we look at the dose response 25 foot walk, let me

    15     pull it up on your -- why don't we stick with JTX 80A.            Pull

    16     up the dose response, 25 foot walk.        You see what's reported

    17     here along the left-hand side column is time in seconds.

    18     And then along the bottom are visit periods, doses; is that

    19     correct?    And then there is two lines recorded; correct?

    20     A.      Correct.

    21     Q.      One says all subjects and equals 25; correct?

    22     A.      Correct.

    23     Q.      And the other says completers and equals 20; isn't

    24     that correct?

    25     A.      Correct.
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                                                                           136
                                    Peroutka - cross

     1     Q.      And what's missing there are the 11 people who were

     2     on placebo; is that correct?

     3     A.      Correct.

     4     Q.      And somebody looking at this chart wouldn't know how

     5     the people on placebo responded to them?

     6     A.      No.

     7     Q.      In fact, we had already seen that in some instances,

     8     placebo can respond better than the active ingredient

     9     itself; correct?

    10     A.      Correct.

    11     Q.      The missing data could be that the placebo responded

    12     better than what's depicted on this graph?

    13                   MR. PARK:    Same objection.

    14                   THE COURT:    Do you have a response?

    15                   MR. DiNAPOLI:     I'll withdraw the question.

    16     BY MR. DiNAPOLI:

    17     Q.      Without the placebo data you couldn't draw any

    18     conclusions as to whether, in fact, the placebo responded

    19     better than 4-AP in this dose response 25 foot walk;

    20     correct?

    21     A.      There is no placebo data to assess here.

    22     Q.      It's absent?

    23     A.      It's absent.

    24     Q.      Sticking with that figure, if you look at the 20

    25     milligram dose, I think you said roughly a little bit below
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                                                                           137
                                    Peroutka - cross

     1     14.   But if you look at the 40 milligram dose, it's closer

     2     to 12, between 12 and 13; isn't that correct?

     3     A.       Yes.

     4     Q.       So it had, the 20 milligram dose was, in fact, to the

     5     extent we could tell anything from this picture, showing a

     6     bigger improvement; isn't that correct?

     7     A.       Correct.

     8     Q.       And there was also some conclusions that 20 to 40 was

     9     safe, and that was one of the endpoints here, there was

    10     safety and tolerability, and 20 and 40 were both considered

    11     safe and tolerable in this study; is that correct?

    12     A.       Correct.

    13     Q.       So this study, this graph, if it was going to lead

    14     you anywhere, was going to lead you to the 20 milligram

    15     dose, correct?      Not the 10 milligram?

    16     A.       No, because we know that side effects are dose

    17     related, and I think they observe the seizure at 60 in this

    18     study as well as 80.      So what is missing on this graph are

    19     the error bars.      There is no mention of statistical

    20     significance.      If 40 was truly significantly better than 20

    21     a day, there is no mention of that.        And since the numbers

    22     are bouncing around, it's not a consistent dose response by

    23     any means.      This is the flat part of the dose response

    24     curve.   So I would take the lowest effective dose.

    25     Q.       And you mentioned that there is no evidence that 20
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                                                                           138
                                    Peroutka - cross

     1     is statistically significant better than 10; is that what

     2     you are saying?

     3     A.       Correct.

     4     Q.       There is no evidence that any of these doses is

     5     statistically significantly; isn't that correct?

     6     A.       Their analysis was based on my understanding on a

     7     composite of all the treated groups versus the baselines.

     8     Q.       And was that analysis done on walking speed or on

     9     timed 25 foot walk?

    10     A.       Well, they're derivative values, meaning if you know

    11     the time, you know the distance.        You can calculate the

    12     speed.

    13                   So they measured the time.       They knew 25 feet.

    14     Speed equals distance divided by time, right?          Miles per

    15     hour.    So feet per second is speed, but the actual values

    16     that calculate speed are shown in the graph.          So the graph

    17     doesn't say speed but it's a calculable value from the data.

    18     Q.       Is it hypothetically possible that there could have

    19     been statistical significance on speed, but not on time?

    20                   MR. PARK:    Objection, Your Honor.      Speculation.

    21                   THE COURT:    Do you want to respond?

    22                   MR. DiNAPOLI:     I'm asking an expert a

    23     hypothetical.

    24                   THE COURT:    I'll allow the answer.      The

    25     objection is overruled.      Go ahead.
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                                                                           139
                                    Peroutka - cross

     1     BY THE WITNESS:

     2     A.      I would have to answer as a biostatistician.          It

     3     would seem not because you are dividing by a variable.             It

     4     depends on the standard deviations of the statistical test

     5     you would use perhaps.

     6     Q.      So you would be surprised by that result, right?

     7     A.      Again, I'd have to look at all the data and see what

     8     the data are.

     9     Q.      Why don't you take a look at JTX-001, which is the

    10     Masterson patent that you testified about.

    11     A.      Okay.

    12     Q.      And if we look at column 13, down at the very bottom.

    13     It says "in one embodiment."       There you go.

    14                     In one embodiment, the medicament is

    15     administered to a subject at a dose and for a period

    16     sufficient to allow said subject to tolerate said dose

    17     without showing any adverse effects and thereafter

    18     increasing the dose of said active agent at selected

    19     intervals of time until a therapeutic dose is reached.

    20                     Do you see that?

    21     A.      Yes.

    22     Q.      And that is talking about a dose titration that we

    23     had mentioned before; is that correct?

    24     A.      Yes.

    25     Q.      And some drugs are, in fact, titrated; isn't that
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                                                                           140
                                    Peroutka - cross

     1     true?

     2     A.      Correct.

     3     Q.      Some pain medications that I think have you worked on

     4     have been titrated; is that correct?

     5     A.      Correct.

     6     Q.      And those are commercially available drugs?

     7     A.      Correct.

     8     Q.      Why don't you go to PTX-0003.

     9     A.      (Witness complies.)

    10     Q.      And, in particular, column 17, which shows Example 5.

    11     And just for the record, JTX-0003 is the '437 patent that

    12     you testified about.

    13     A.      Okay.

    14     Q.      And if you look at Example 5, it says that, this

    15     example provides an embodiment of a method of treating

    16     subjects with a substantial -- a sustained release

    17     fampridine formulation and a responder analysis of the

    18     present invention.

    19                     And then it describes the study, doesn't it?

    20     A.      It describes a study we haven't discussed.

    21     Q.      Correct.    And it describes that study as a Phase II

    22     double-blind placebo-controlled parallel group 20 week

    23     study; is that correct?

    24     A.      Correct.

    25     Q.      It was in 206 subjects?
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                                                                           141
                                    Peroutka - cross

     1     A.      That's what it says.

     2     Q.      And in April of 2004, that would have been the

     3     largest clinical study of 4-AP in MS patients; isn't that

     4     true?

     5     A.      I believe so.

     6     Q.      And if you continue reading, it says that the study

     7     was designed to investigate the safety and efficacy of three

     8     dose levels of fampridine, 10 milligrams BID, 15 milligrams

     9     BID and 20 milligrams BID.

    10                    Do you see that?

    11     A.      Yes.

    12     Q.      So this study was specifically designed to

    13     investigate the efficacy of 10 milligrams BID; isn't that

    14     correct?    And other doses?

    15     A.      And other doses, yes.

    16     Q.      It also defines the primary endpoint that was tested,

    17     doesn't it?

    18     A.      Correct.

    19     Q.      And that the primary efficacy endpoint was an

    20     increase relative to baseline in walking speed on the timed

    21     25 foot walk.     So the primary efficacy endpoint was

    22     expressly designed in this study.

    23     A.      Correct.

    24     Q.      I think you said that 4-AP is a molecule that has

    25     been around for over 100 years.
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                                                                           142
                                  Peroutka - redirect

     1     A.       Correct.

     2     Q.       But you would agree with me Ampyra is the first FDA

     3     approved use of 4-AP; isn't that correct?

     4     A.       Correct.

     5     Q.       And it's the only approved use by the FDA of 4-AP,

     6     correct?

     7     A.       Correct.

     8     Q.       And Ampyra is also the first and only FDA approved

     9     drug to improve walking in people with MS; isn't that

    10     correct?

    11     A.       For that specific indication.       You could say

    12     anti-spasticity helps people, too, but that isn't specific

    13     to walking.

    14                    MR. DiNAPOLI:    I have nothing further, Your

    15     Honor.

    16                    THE COURT:   Is there any redirect?

    17                             REDIRECT EXAMINATION

    18     BY MR. PARK:

    19     Q.       Dr. Peroutka, you were shown the specification of

    20     certain Ampyra patents.      In your understanding, do the

    21     claims control the scope of the patent or certain

    22     embodiments in the specification?

    23     A.       The claims.

    24     Q.       Now, you were also shown a number of studies.         And

    25     there were some comments or I believe opposing counsel said
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                                                                           143
                                  Peroutka - redirect

     1     criticisms of those studies.       Now, in your view, are there

     2     limits on all studies?

     3     A.        Yes.   I mean I don't like the term "criticisms"

     4     because in a sense, there is no such thing as a perfect

     5     study.    You know, studies are all subject to investigator

     6     bias, number of subjects, statistical analyses, statistical

     7     issues.    And as time has gone on, it has become common in

     8     the paper to always quote what you feel as the author as the

     9     limitation.      So it has become sort of a common practice in

    10     journal articles.

    11     Q.        And just because there are certain limitations within

    12     the study, does that limit the teachings or suggestions that

    13     a POSA could take away from the reference?

    14     A.        No, it is taken into consideration.       And depending

    15     on what you want, in terms of clinical medicine, there is a

    16     concept called class A evidence of, this is considered a

    17     randomized controlled study.       It has been replicated twice,

    18     similar to FDA approval requirements.

    19                      And yet there is additional evidence:      Single

    20     case reports can teach you things, uncontrolled studies,

    21     non-blinded studies.      So you can learn from all studies.

    22     It's just a question of relative value.

    23     Q.        Now, you were asked a few questions about an

    24     unpublished study from 1994 that was referenced in the

    25     Schwid paper.
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                                                                           144
                                  Peroutka - redirect

     1     A.      Yes.

     2     Q.      Now, was that a study that Schwid was reporting on

     3     primarily on his paper?

     4     A.      Well, first off, you said reference.         I would change

     5     the word, it wasn't reference.        There was no actual

     6     reference in the reference section to it.

     7                    I have to tell you my experience, 30 some years,

     8     I have never seen anything like it.        I don't know who did

     9     this study.    He doesn't even make clear who were the authors

    10     of this study, where was this study done.          It was just

    11     something in the introduction.        It was sort of an

    12     introductory comment.      And, quite honestly, I'm surprised it

    13     got in there because most reviewers would not have allowed

    14     that.

    15                    But as I mentioned to Mr. DiNapoli, I don't know

    16     the dose that was used.      I don't know the severity of the

    17     patients.     Were these bed-ridden severe MS patients that

    18     they were trying to dramatically improve, or were these very

    19     mild cases?    Were these people that had MS for the last

    20     3 months, or was it 20 years of symptoms?

    21                    So I really can't assess it.      So it is an

    22     outlier, quite frankly.      That reference in that paper, I

    23     have never seen anything like that before.          And I can't

    24     assess it given the fact that there is not enough

    25     information to assess.
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                                                                           145
                                  Peroutka - redirect

     1     Q.      Now, that, quote-unquote, "published study," that was

     2     from 1994; right?

     3     A.      That's what it says.      We can't confirm that.

     4     Q.      From 1994 to 2004, were there other studies that you

     5     relied on to make your conclusion about the Acorda patents?

     6     A.      Yes, multiple.

     7                     MR. PARK:   Now, Jeremy, let's pull up JTX-62.

     8     The Goodman study.

     9                     THE WITNESS:   That's not it.

    10                     MR. PARK:   The lower right-hand corner.

    11                     THE WITNESS:   Lower right.

    12                     MR. PARK:   Then going on to the next page.

    13                     Okay.   Let's go to the next page.

    14     BY MR. PARK:

    15     Q.      Okay.    Dr. Peroutka, you were asked a few questions

    16     about the placebo effect of the Goodman study; correct?

    17     A.      Yes.

    18     Q.      Okay.    Now, did the Goodman abstract say anything

    19     about the statistical significance of the actual results

    20     that they saw compared to the placebo effect?

    21     A.      Yes.    They had the P values in there.       If we can blow

    22     up and highlight that?      That is sort of the middle.

    23                     The fampridine SR group showed statistically

    24     significant improvement from baseline compared to placebo in

    25     functional measures of mobility, timed 25 walking speed, and
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                                                                           146
                                  Peroutka - redirect

     1     lower extremity strength.

     2     Q.        And the Goodman poster that counsel asked you about,

     3     that was the poster that was associated with this abstract;

     4     correct?

     5     A.        Yes, right.

     6     Q.        So did you evaluate the data from the abstract and

     7     poster in making your conclusion?

     8     A.        Yes.

     9     Q.        Lastly, I believe you were asked about the Hayes

    10     study, the pharmacokinetic values?

    11     A.        Yes.

    12     Q.        So that was a study done on spinal cord injury

    13     patients; correct?

    14     A.        Correct.

    15     Q.        If they had been done on multiple sclerosis patients,

    16     would you have expected that the pharmacokinetic values

    17     would change?

    18     A.        Yes.   There is no reason to suspect that spinal cord

    19     injury would alter drug pharmacokinetics.

    20     Q.        Did you mean to say, no, that it wouldn't change the

    21     values?

    22     A.        Yes, and there is no reason to expect a difference.

    23     Q.        And --

    24     A.        I'm sorry.    I may have answered your question but

    25     there should not be a difference between patient subgroups
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                                                                           147


     1     because as far as we know, spinal cord injury and MS would

     2     not effect, having those diseases should not affect

     3     pharmacokinetic parameters.

     4                    MR. PARK:    Thank you, Your Honor.

     5                    Thank you.

     6                    THE COURT:   Thank you.

     7                    Doctor, you may step down.      Thank you very much.

     8                    THE WITNESS:    Thank you.

     9                    THE COURT:   Defendants may call their next

    10     witness.

    11                    MR. KLEIN:   Before we do anything else, what

    12     does Your Honor want to do about --

    13                    THE COURT:   I'm sorry.

    14                    MR. KLEIN:   What does Your Honor want to do

    15     about lunch?

    16                    THE COURT:   I would intend to go about another

    17     hour and take a lunch break.

    18                    MR. SMITH:   Good afternoon, Your Honor.

    19                    THE COURT:   Good afternoon.

    20                    MR. SMITH:   My name is Reid Smith.      I'm from

    21     Winston & Strawn representing Apotex, Roxane and Teva.            And

    22     on behalf all defendants, we'd like to introduce testimony

    23     by deposition designation at this time.

    24                    The parties have agreed, pursuant to the

    25     provisions of the pretrial order, on designations and
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     1     counterdesignations which we will show by video.

     2                   The first video is in the deposition of

     3     Dr. Michael Myers which took place on December 9th, 2015.

     4                   Michael Myers, as you may have seen today, was

     5     one of the two listed inventors on the Elan patent.           He was

     6     also designated as Alkermes's 30(b)(6) witness on numerous

     7     topics.

     8                   The total time will be 11 minutes, eight seconds

     9     with eight minutes, 16 seconds allocated to defendants and

    10     two minutes, 52 seconds allocated to plaintiffs.

    11                   For the convenience of the court and the

    12     parties, I will note that Myers Deposition Exhibit 3

    13     corresponds to Exhibit JTX-001, which has already been

    14     introduced, and is mentioned in the designated portion of

    15     Mr. Meyers's deposition designation.

    16                   For the Court's convenience, we have binders

    17     with the designated testimony.        May I approach?

    18                   THE COURT:    You may.    And do you have one for

    19     the court reporter as well?

    20                   You do.

    21                   (Binders passed forward.)

    22                   THE COURT:    All right.

    23                   MR. SMITH:    We have one for the clerk, too.

    24                   THE COURT:    Great.     Thank you.

    25                   And when you are ready, you may start the video.
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                                  Myers - designations

     1                   (Michael Myers designations placed in record.)

     2                   "Question:    What's your full name?

     3                   "Answer:     Michael Myers.

     4                   "Question:    Okay.    Let's take them one at a

     5     time.   So you were at Elan Pharmaceuticals from '87 to '95?

     6                   "Answer:     Yes.

     7                   "Question:    Let's take a look at the '938

     8     patent.

     9                   "I trust you're familiar with this document?

    10                   "Answer:     Yes.

    11                   "Question:    Okay.    You are one of the listed

    12     inventors; is that right?

    13                   "Answer:     Yes, I am.

    14                   "Question:    So, generally speaking, can you

    15     explain your role in connection with this patent?

    16                   "Answer:     Yes.   So I developed the formulations

    17     using Elan's technologies.        The idea was to come up with a

    18     long-acting dosage form for 4-aminopyridine.

    19                   "Question:    And Dr. Masterson, what was his role

    20     generally?

    21                   "Answer:     Well, he dealt with the medical

    22     aspects primarily, the rationale for using the drug in that

    23     clinical setting, et cetera.

    24                   "Question:    And what do you recall about first

    25     getting involved in this project?
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                                                                           150
                                  Myers - designations

     1                   "Answer:     I recall being told by my boss that we

     2     had a new project and that we were to work to develop

     3     twice-a-day formulation of this, of this drug.

     4                   "Question:    Who was your boss?

     5                   "Answer:     At that time when it came in, I

     6     believe it was John Devane.

     7                   "Question:    And to the best of your

     8     recollection, what were you asked to do?

     9                   "Answer:     I was asked to develop twice-daily

    10     formulation of 4-aminopyridine that will give the

    11     flexibility to tailor the dose to individual patients in

    12     each case.

    13                   "Question:    Did you have any prior experience

    14     with 4-AP?

    15                   "Answer:     No.

    16                   "Question:    And so what did you do to

    17     familiarize yourself with 4-AP?

    18                   "Answer:     Well, I studied the drug's physical

    19     chemical properties, familiarized myself with the extent of

    20     the challenge.

    21                   "Question:    Did you look at the literature?

    22                   "Answer:     I looked at some, some literature.

    23     There wasn't much available that was relevant to what I was

    24     attempting to do.

    25                   "Question:    Roughly what time period is this?
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                                                                           151
                                  Myers - designations

     1                    "Answer:     This was sometime in 1991, I believe.

     2                    "Question:    Were you given any materials about

     3     4-AP?

     4                    "Answer:     There was some basic information but

     5     not that much.

     6                    "Question:    Like the chemical information?

     7                    "Answer:     Yes.

     8                    "Question:    Okay.    Did you study controlled

     9     release in school?

    10                    "Answer:     No.

    11                    "Question:    So it's an on-the-job training type

    12     of thing?

    13                    "Answer:     Yes.   Controlled release at that point

    14     in time was very much in its infancy.         It was a very new

    15     concept, and there were just a couple of companies working

    16     in that space at the time.         And I happened to be one of

    17     them.    So there wasn't any database established that I could

    18     study.

    19                    "Question:    Did you take any courses in -- after

    20     your Ph.D. in controlled release to get familiar with the

    21     technology?

    22                    "Answer:     Elan sent me to a number of courses

    23     and conferences, yes.

    24                    "Question:    What types of courses and

    25     conferences?
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 152 of 330 PageID #: 7299
                                                                           152
                                  Myers - designations

     1                   "Answer:     It was mainly on the new materials

     2     being developed to help facilitate the development of

     3     controlled release products, new polymer systems, new

     4     equipment that was being developed.        It was a period of very

     5     rapid innovation.

     6                   "Question:    Was there an organization that

     7     sponsored these courses and conferences?

     8                   "Answer:     There was an organization called

     9     Controlled Release Society.

    10                   "Question:    Did you review any publications to

    11     get familiar with the technology?

    12                   "Well, I'm talking about, just to clarify,

    13     before you started getting involved with 4-AP?

    14                   "Answer:     Yes.

    15                   "Question:    Okay.    Do you recall anything else

    16     you did to get familiar with the controlled release

    17     technology before getting involved with the 4-AP project?

    18                   "Answer:     Yeah.   I spent a lot of time

    19     familiarizing myself with the materials that were being

    20     developed and new polymer systems and also new equipment.            I

    21     visited a lot of equipment manufacturers to see if there

    22     were more efficient ways of developing the formulations and

    23     coming up with faster methodology, et cetera.

    24                   "Question:    Did you look at any patents,

    25     controlled release patents?
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                                                                           153
                                  Myers - designations

     1                   "Answer:     Yes.   There were a number of patents

     2     that I reviewed.

     3                   "Question:    Okay.    So basically when you learned

     4     on the job, there wasn't someone who was teaching you how to

     5     do it?    You were learning it through outside sources; is

     6     that fair?

     7                   "Answer:     Well, through my own resources and

     8     throughout outside sources.       As I said, this was all very

     9     new, and it was changing very rapidly.         So I was trying to

    10     stay ahead of it.

    11                   "Question:    Okay.    So Dr. Devane came to you

    12     about the 4-AP project, and how did you start the project?

    13     What did you did?

    14                   "Answer:     So as I said, I looked at the drug's

    15     physical chemical properties, how soluble it was, were there

    16     any other issues that I needed to take into consideration.

    17     Decided on the technology approach.        Elan had a number of

    18     drug-delivery technology platforms.        I decided on the one

    19     that I felt was most appropriate for that drug and the

    20     targets that we were trying achieve and initiated the

    21     formulation activities.

    22                   "Question:    All right.    And did you -- you said

    23     you looked for issues with the properties.          Were there any

    24     issues?

    25                   "Answer:     Well, the drug was very soluble, which
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 154 of 330 PageID #: 7301
                                                                           154
                                  Myers - designations

     1     increases the extent of the challenge for the formulator.

     2                    "Question:    So did you then test it, test the

     3     formulation?

     4                    "Answer:     Yes.    So the process was we would

     5     develop a number of formulations, test them in the

     6     laboratory, assess the results.         Based on the results, make

     7     some decisions about changing the ratio of the polymers or

     8     the type of polymer or whatever under the changes I felt

     9     would benefit the product.

    10                    "Question:    Can you give me a ballpark?

    11                    "Answer:     25, 30.

    12                    "Question:    I got you.    Initially, before you

    13     tested anything, how many formulations did you study?

    14                    "Answer:     Three or four.

    15                    "Question:    And how long did it come -- did it

    16     take to come up with the ingredients for the formulation,

    17     you know, come up with the paper formulation, if you will?

    18                    "Answer:     I guess that took me a few weeks

    19     initially.

    20                    "Question:    For the three or four or for each

    21     one?

    22                    "Answer:     No.    Combined.

    23                    "Question:    So it took about three or four weeks

    24     to put on paper about three or four formulations, and then

    25     about a day to actually physically make it; is that right?
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                                                                           155
                                  Myers - designations

     1                   "Answer:     Yes.

     2                   "Question:    And then the next step is to test

     3     them?

     4                   "Answer:     So it went to the lab for primarily

     5     for dissolution testing where we would assess the release

     6     characteristics of the formulations.

     7                   "Question:    Now, initially why is it that Elan

     8     was interested in a sustained release product for the 4-AP

     9     project?

    10                   "Answer:     I don't know.

    11                   "Question:    So you were just asked to come up

    12     with a sustained -- twice-daily sustained release, you don't

    13     know why?

    14                   "Answer:     I don't know why Elan was initially

    15     interested in it.     I don't know what the target was but --

    16     yeah.

    17                   "Question:    So -- and I'm blanking.       Did

    18     Dr. Devane, that was your boss?

    19                   "Answer:     Uh-huh.

    20                   "Question:    Did he ever explain to you why Elan

    21     was looking into twice-a -- twice-daily tablet for capsule,

    22     tablet?

    23                   "Answer:     He explained that the four times a day

    24     formulation or the immediate release formulation caused some

    25     side effects for patients; and that if we developed
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 156 of 330 PageID #: 7303
                                                                           156
                                  Myers - designations

     1     controlled release formulation, that we could potentially

     2     reduce or eliminate some of those side effects.

     3                    "Question:    Okay.    You certainly didn't invent

     4     4-AP; right?

     5                    "Answer:     The molecule itself?

     6                    "Question:    Correct.

     7                    "Answer:     No.

     8                    And you did not invent the use of 4-AP to treat

     9     neurological diseases; is that fair?

    10                    "Answer:     I did not.

    11                    "Question:    Okay.    And Dr. Masterson didn't

    12     invent that either; correct?

    13                    "Answer:     I don't know for sure.    I suspect not,

    14     but I don't know for sure.

    15                    "Question:    Let me ask you, so if you take a

    16     look at the first page of Exhibit 3, this is the '938

    17     patent.

    18                    "Answer:     Yes.

    19                    "Question:    So if you go to column two, line

    20     eight, so you see there are line numbers going down the

    21     columns?

    22                    "Answer:     Uh-huh.

    23                    "Question:    Okay.    Here there's a paragraph that

    24     says, "In the use of."       Do you see that?

    25                    "Answer:     I do.
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                                                                           157
                                  Myers - designations

     1                    "Question:    So the patent here says, "In the use

     2     of a drug for long-term therapy, it is desirable that the

     3     drug be formulated so that it is suitable for once or twice

     4     daily administration to aid patient compliance."

     5                    "Was that your understanding when you began

     6     working on the 4-AP project?

     7                    "Answer:     That was the general understanding

     8     that we had in Elan that we could improve patient compliance

     9     by reducing the frequency of medications that have to be

    10     taken from four times a day, three times a day, to once or

    11     twice a day.    It wasn't specific to 4-AP.

    12                    "Question:    Okay.   And how does that aid patient

    13     compliance?

    14                    "Answer:     Well, the belief is that by reducing

    15     the number of doses, you reduce the chance of a patient is

    16     going to skip a dose.

    17                    "Question:    And with regard to the 4-AP project,

    18     you mentioned issues with regard to solubility and

    19     stability.    Were there any other issues that you recall

    20     addressing during that project?

    21                    "Answer:     Well, the does was quite low; and that

    22     also did increase the challenge, particularly from a tablet

    23     standpoint.

    24                    "Question:    What does did you use?

    25                    "Answer:     We tested a number of doses.     We made
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                                                                           158
                                 Fogarty - designations

     1     7.5, 10, 12-and-a-half.      We tested a whole range of

     2     different doses.

     3                   (End of designations. )

     4                   MR. SMITH:    Your Honor, the next deposition clip

     5     we will show is from the deposition of Mairead Fogarty.

     6     Ms. Fogarty was designated by Alkermes.         The total time was

     7     five minutes and 26 seconds of which five minutes and 12

     8     seconds will be allocated to defendants and the remaining 13

     9     seconds will be allocated to plaintiffs.

    10                   I will note that Exhibit JTX 0054 is mentioned

    11     in the designated portion of Ms. Fogarty's deposition and is

    12     provided in the binders.

    13                   THE COURT:    Okay.    Thank you.

    14                   (Videotape designations of Mairead Fogarty.)

    15                   "Question:    May I ask you to please say and

    16     spell your name for the record?

    17                   "Answer:     Mairead Fogarty, M-a-i-r-e-a-d,

    18     F-o-g-a-r-t-y.

    19                   "Question:    Okay.    And you are currently

    20     employed by Alkermes; is that correct?

    21                   "Answer:     That's correct.

    22                   "Question:    You reside in Ireland?

    23                   "Answer:     In Ireland, yes.

    24                   "Question:    So the question I really want to

    25     know is, do you recall what the date of the Rush Elan
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 159 of 330 PageID #: 7306
                                                                           159
                                 Fogarty - designations

     1     agreement was?     And I'm not talking about the specific date,

     2     but just a year.     Was it 1990?

     3                   "Answer:     I believe so.

     4                   "Question:    And was part of the reason that Elan

     5     entered into this agreement with Rush Presbyterian for the

     6     development of drug formulations with 4-aminopyridine as the

     7     active pharmaceutical ingredient?

     8                   "Answer:     It's my understanding that there was a

     9     molecule that had shown promise and that Rush Pharmaceutical

    10     hadn't done anything in terms of formulating, and there were

    11     some issues that perhaps could be resolved by some of the

    12     formulation expertise that Elan brought to the table.            I'm

    13     assuming here, but I'm assuming it was both the compound and

    14     its uses and the fact that we could bring the formulation

    15     expertise to make a better product or product.

    16                   "Question:    And in terms of the expertise that

    17     Elan was bringing, that was the experience as you've

    18     discussed with formulating sustained release versions of

    19     several different drugs; right?

    20                   "Answer:     Yes.   Sustained release or, you know,

    21     various types of dosage forms or whatever technology the

    22     product needed in terms of giving the required performance

    23     in people.

    24                   "Question:    By 1990, Elan was one of the leading

    25     companies in terms of sustained release formulations; is
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                                                                           160
                                 Fogarty - designations

     1     that correct?

     2                   "Answer:     It was up there in terms of sustained

     3     release formulations, yes.

     4                   "Question:    Let me ask you now -- you can set

     5     the prescribing information aside.        And please take a look

     6     at the document that's been marked as Exhibit 16, which is a

     7     document apparently entitled, "formulation development", and

     8     it bears the Bates raining ALK_00033057 through 33078.

     9                   Is this a document that you've seen before?

    10                   "Answer:     Yes, I've seen the content before.

    11                   "Question:    And so just to summarize, this

    12     document provides a summary of the history of the

    13     development of fampridine or 4-aminopyridine at Elan and

    14     Alkermes; right?

    15                   "Answer:     It's a summary of information.       I'm

    16     not sure if it's a complete summary, but it is -- it is a

    17     summary of.

    18                   "Question:    So just going through some sections

    19     of the formulation development summary 2.1, on the front

    20     page, it indicates that there were two variations of an

    21     immediate release IR capsule formulation in the second

    22     paragraph.

    23                   "Do you see that?

    24                   "Answer:     Yes.

    25                   "Question:    Do you recall what those two
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                                                                           161
                                 Fogarty - designations

     1     variations of an IR formulation -- capsule formulation for

     2     4-aminopyridine were?

     3                   "Answer:     This is based on my own recollection,

     4     and I think it was powder in a capsule, you know, mostly

     5     drug, maybe some other excipients, but powder in a capsule.

     6     And I think the second formulation was IR beads in a

     7     capsule.

     8                   "Question:    Okay.

     9                   "Answer:     That's the recollection I have.

    10                   "Question:    Yes.    And the second sentence in

    11     that second paragraph states, "Due to the potential for

    12     plasma peek related adverse events associated with

    13     fampridine, Elan subsequently embarked upon developing a

    14     sustained release (SR)formulation."

    15                   "Does that kind of summarize the reason why Elan

    16     decided to develop a sustained release formulation of

    17     4-aminopyridine?

    18                   "Answer:     Yes.

    19                   (End of designations.)

    20                   MR. SMITH:    Your Honor, the next deposition clip

    21     we will show is from a deposition of Dr. Andrew Blight which

    22     took place on December 3rd and 4th of 2015.          Dr. Blight as

    23     you may have seen today was one of the two listed inventors

    24     on the Acorda patent.      He was also designated as Acorda's

    25     30(b)(6) witness on numerous topics.
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                                 Blight - designations

     1                   The total time is 10 minutes and 46 seconds with

     2     8 minutes and 23 seconds allocated to the defendants, and

     3     the remaining 2 minutes, 23 seconds allocated to plaintiffs.

     4                   I will note that two exhibits are mentioned in

     5     the designated testimony, JTX 002 which has already been

     6     admitted and DTX 020.

     7                   THE COURT:    Thank you.

     8                   (Videotape designations of Andrew Blight.)

     9                   "Question:    Good morning, Dr. Blight.       Could you

    10     please state your name for the record?

    11                   "Answer:     Andrew Blight.

    12                   "Question:    Why did -- why did Acorda start

    13     focusing on MS as well as spinal cord injury?

    14                   "Answer:     We studied spinal cord injury

    15     originally.    We eventually took on the development in MS

    16     that Elan had been pursuing, and we investigated both of

    17     those in parallel; and it wasn't really until 2004, that the

    18     spinal cord injury trials were not successful and the MS

    19     studies appeared more promising that that really our focus

    20     then was primarily on MS.       And it had been on spinal cord

    21     injury up to that point because that was really the founding

    22     interest of the company.

    23                   "Question:    So let's go back to the 1998 time

    24     frame.   At what point did Acorda decide to look at the

    25     sustained release formulation for 4-aminopyridine?
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                                                                           163
                                 Blight - designations

     1                   "Answer:     I don't recall what time that was.

     2                   "Question:    Do you know if they had decided to

     3     do a sustained release prior to 1998?

     4                   "Answer:     The interactions with Elan were before

     5     1998.

     6                   "Question:    And at that time, was it your

     7     understanding that Elan had been working on a sustained

     8     release formulation?

     9                   "Answer:     Yes.

    10                   "Question:    Did Acorda do any separate work on

    11     the sustained release formulations separate from the work

    12     that Elan was doing?

    13                   "Answer:     No.

    14                   "Question:    Did Acorda do any work on the

    15     sustained release formulation?

    16                   "Answer:     I'm not clear what you mean by "work."

    17                   "Question:    Did Acorda alter the sustained lease

    18     formulation that Elan provided in any manner?

    19                   "Answer:     We did not do any formulation work;

    20     no.

    21                   "Question:    So Acorda's work was focused on the

    22     in vivo and in vitro in clinical trials?

    23                   "Answer:     Yes.

    24                   "Question:    Did Acorda have any -- any input

    25     with respect to the development of the dalfampridine product
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 164 of 330 PageID #: 7311
                                                                           164
                                 Blight - designations

     1     at Elan?

     2                   "Answer:     Ultimately, yes.    We worked with their

     3     team on the final qualification of the drug for approval.

     4                   "Question:    Did Acorda ask for a specific

     5     dalfampridine product from Elan, or did they just take what

     6     Elan had?

     7                   "Answer:     That's, again, very difficult to

     8     answer in the sense that there was interaction back and

     9     forth between the two companies on the formulation.

    10                   "Question:    Was there a reason Acorda looked at

    11     sustained release formulations for dalfampridine?

    12                   "Answer:     It was -- it's not unusual to be

    13     interested in sustained release for a drug which has a short

    14     half life, which dalfampridine does.         It wasn't particularly

    15     mysterious.

    16                   "Question:    I'm sorry, could you repeat that

    17     last, it wasn't particularly...

    18     A.      Mysterious.     It's a fairly standard approach to drug

    19     development to have a sustained release form.          When you have

    20     a short half life, there's a need for.

    21                   "Question:    And in the, in the 1990s, was this a

    22     common approach for drugs that had a short half life?

    23                   "Answer:     I don't know.

    24                   "Question:    But you had heard of it?

    25                   "Answer:     Yes.
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                                                                           165
                                 Blight - designations

     1                   "Question:    Stepping back from claim 1, with

     2     respect to work done on 4-aminopyridine in MS patients, what

     3     work did Dr. Cohen do in that development?

     4                   "Answer:     We worked together on the program from

     5     the beginning.     So we worked as a team on this.

     6                   "Question:    Did either of you have any --

     7     Withdraw that.

     8                   "Did either of you do any work on the sustained

     9     release composition?

    10                   "Answer:     Do you mean formulation?

    11                   "Question:    Yes.

    12                   "Answer:     We are not formulation scientists.

    13     No, we haven't.

    14                   "Question:    So the formulation of the sustained

    15     release composition had already been done by someone else?

    16                   "Answer:     The formulation work was done outside,

    17     yes.

    18                   "Question:    None of the formulators are named as

    19     inventors on this patent; correct?

    20                   "Answer:     Correct.

    21                   "Question:    In deciding to go to the sustained

    22     release formulation, did you ever consider how many doses

    23     would be needed for an immediate release formulation as

    24     opposed to a sustained release formulation?

    25                   "Answer:     It's not -- no.
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                                                                           166
                                 Blight - designations

     1                   "Question:    And why not?

     2                   "Answer:     It's not something we considered.

     3                   "Question:    You didn't consider an immediate

     4     release formulation?

     5                   "Answer:     Not that I recall.

     6                   "Question:    Are you aware of any reasons to go

     7     with an immediate release formulation?

     8                   "Answer:     There are advantages that I know of.

     9                   "Question:    Before the break, we were looking

    10     at, I believe, the '826 patent.

    11                   "Answer:     Yes.

    12                   "Question:    And the sustained release

    13     formulation, that was obtained from Elan; correct?

    14                   "Answer:     Yes.

    15                   "Question:    And the studies related to the

    16     plasma concentration in MS patients, that study was

    17     performed by Elan?

    18                   "Answer:     The ones that are in these examples,

    19     yes.

    20                   "Question:    Was there prior studies that had

    21     used 10 milligrams twice a day in patients as the initial

    22     dose?

    23                   "Answer:     Yes.

    24                   "Question:    And did you consider those studies

    25     in determining to start with 10 milligrams twice a day?
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                                                                           167
                                 Blight - designations

     1                   "Answer:     At the time that these studies were

     2     designed, all previous work would have been taken into

     3     account, yes.

     4                   "Question:    And were you --

     5                   "Answer:     By Acorda.   By Acorda.

     6                   "Question:    And were you the person responsible

     7     at Acorda for taking into consideration previous studies?

     8                   "Answer:     I would have been involved in that

     9     decision, yes.

    10                   "Question:    And who else would have been

    11     involved in consideration of those prior studies?

    12                   "Answer:     Primarily Ron.

    13                   "Question:    And when you say 'prior studies,'

    14     are you referring to prior studies done by Acorda or prior

    15     studies known in the field?

    16                   "Answer:     Both essentially.

    17                   "Question:    And underneath that with the dates

    18     1987 to 1991, it refers to a series of studies in MS by

    19     Stefoski and Davis relating to the effects of motor

    20     function?

    21                   "Answer:     Yes.

    22                   "Question:    Were you aware of those studies?

    23                   "Answer:     Yes.

    24                   "Question:    And in your work with SCI in the

    25     late 1980s and early 1990s, did you consider the work done
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                                                                           168
                                 Blight - designations

     1     by Stefoski and Davis?

     2                   "Answer:     Yes.

     3                   "Question:    And did you consider the work done

     4     by them in your work on dalfampridine with respect to

     5     multiple sclerosis after you joined Acorda?

     6                   "Answer:     Yes.   They were part of the history of

     7     examining this molecule and demyelinating conditions.

     8                   "Question:    3273, yes.    This relates to a 1996

     9     Schwid study.

    10                   "Are you aware of that study?

    11                   "Answer:     Yes.

    12                   "Question:    At the time you were working at

    13     Acorda, were you aware of that study?

    14                   "Answer:     Yes.

    15                   "Question:    And that study included a

    16     17.5 milligram twice-a-day dose?

    17                   "Answer:     That's the dose they used, yes.

    18                   "Question:    And in designing the clinical

    19     studies at Acorda for dalfampridine in MS patients, did you

    20     consider the Schwid 1996 reference?

    21                   "Answer:     The reference was useful in the sense

    22     that it's sort of qualified that the timed walk as a way

    23     to potentially measure very quantitatively the effects of

    24     treatment on walking ability.       So it was useful in that

    25     regard.
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                                                                           169
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     1                    "In the meantime, the 25-foot walk had already

     2     been introduced and had superseded the methodology they

     3     used, which I think was the 8 meter.         I'm not entirely sure.

     4     Yes, 8 meter is what they had used.         But the principle of

     5     methods are similar, so it was a useful guide to methodology

     6     that could be used in a larger study.

     7                    "Question:    Did you -- have you ever attended

     8     the ANA or the American Neurological Association

     9     conferences?

    10                    "Answer:     Yes, frequently.   So I may have been

    11     there, but I don't actually recall it.

    12                    "Question:    Are those conferences that are held

    13     yearly?

    14                    "Answer:     Yes.

    15                    "Question:    And who goes to those conferences?

    16                    "Answer:     Neurologists.   So neurologists

    17     throughout the country.       They have two major meetings a

    18     year, the AN academy and the association, and many of them

    19     go to both, but it's very well attended by neurologists.

    20                    "Question:    When you refer to neurologists, does

    21     that include clinicians?

    22                    "Answer:     That is clinicians, yes.    It's

    23     primarily a clinicians meeting.

    24                    "Question:    Would researchers specializing in

    25     neurology go to this as well?
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                                                                           170
                                 Blight - designations

     1                   "Answer:     Yes.

     2                   "Question:    Is the poster just on a wall, or is

     3     there a specific time where people will present their

     4     poster?

     5                   "Answer:     In scientific meetings, generally,

     6     posters are displayed on boards.        They're out in the hall

     7     somewhere.    And there's usually a set time at which posters

     8     are available.

     9                   "Question:    And are they generally -- you said

    10     that they are displayed on the wall.         Are they displayed on

    11     the wall throughout the meeting?

    12                   "Answer:     Generally speaking, in scientific

    13     meetings, posters are only displayed for part of a meeting

    14     and there may be sequences that display different things.

    15                   "Question:    What is the purpose for displaying

    16     them on a wall, to your understanding?

    17                   "Answer:     Posters are open for reading,

    18     obviously.    They have to be somewhere.

    19                   "Question:    So they are available for the

    20     neurologists to read them?

    21                   "Answer:     I mean, posters, generally speaking,

    22     are available to be read.         There's no guarantee that anyone

    23     will look at them.

    24                   "Question:    Were there any limitations on taking

    25     notes at these type of conferences in your experience?
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                                                                           171


     1                   "Answer:     It's highly unlikely that anyone would

     2     be prevented from taking notes at that scientific meeting.

     3                   (Designations end.)

     4                   MR. SMITH:    Your Honor, at this time, defendants

     5     would like to enter into evidence the following exhibits

     6     that were referenced in the designated testimony.

     7                   JTX-001, JTX-002, JTX-054, and DTX-020, all of

     8     which are contained in your binder.

     9                   THE COURT:    Are there any objections?

    10                   MR. STIEFEL:     No objection, Your Honor.

    11                   THE COURT:    Those are all admitted.

    12                   (Above-listed exhibits are admitted into

    13     evidence.)

    14                   MR. SMITH:    Thank you, Your Honor.

    15                   THE COURT:    Thank you.    You may call your next

    16     witness.

    17                   MR. FLORENCE:     Good afternoon, Your Honor,

    18     Robert Florence with the law firm of Parker Poe Adams

    19     Bernstein.    I represent the Mylan defendant, Mylan

    20     Pharmaceuticals Inc. in this case, and I will be handling

    21     the direct examination of our next witness.

    22                   If I may, Your Honor, I expect our next witness

    23     will be Dr. Arthur Kibbe.       I expect that his direct

    24     examination will go somewhere north of an hour at least and

    25     we need to do a counsel change here at the table.           I don't
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                                                                           172


     1     know if Your Honor wants to break for lunch now rather than

     2     truncate part of his direct, but we'll do whatever Your

     3     Honor wants.

     4                    THE COURT:   Sure.    Let's do about a half hour of

     5     it, and then I will interrupt you and we'll take it a lunch

     6     break.

     7                    ... ARTHUR HAMILTON KIBBE, having been first

     8     duly sworn, was examined and testified as follows ...

     9                    THE COURT:   Good afternoon.      Welcome, Dr. Kibbe.

    10                    THE WITNESS:    Good afternoon.     How are you?

    11                    THE COURT:   Good.    Thank you.

    12                    You may approach with binders, if you have them,

    13     when ready.

    14                    MR. FLORENCE:    Thank you, Your Honor.

    15                    (Pause.)

    16                    MR. FLORENCE:    I apologize, Your Honor.      Bear

    17     with us.

    18                    THE COURT:   It's your time.      That's fine.

    19                    MR. FLORENCE:    I have copies for the Court.

    20                    THE COURT:   Yes.    Thank you.

    21                    MR. FLORENCE:    What is the best side for me?

    22                    (Binders passed forward.)

    23                    (Witness hits microphone.)

    24                    THE WITNESS:    I hate this thing.

    25                    THE COURT:   Are you okay?
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                                                                           173
                                    Kibbe - direct

     1                     THE WITNESS:   Yes I'm fine.

     2                     THE COURT:   We can proceed whenever you are

     3     ready.

     4                              DIRECT EXAMINATION

     5     BY MR. FLORENCE:

     6     Q.       Dr. Kibbe, will you please state your full name for

     7     the record.

     8     A.       Yes.   My name is Arthur Hamilton Kibbe.       K-i-b-b-e.

     9     Q.       And, Dr. Kibbe, you have been handed some witness

    10     binders that we may refer to from time to time.           If you can

    11     please turn to DTX-129 in your witness binder.

    12     A.       Yes, I have it.

    13     Q.       And what do you understand that document to be?

    14     A.       It's my CV.

    15     Q.       And have you prepared some demonstrative slides for

    16     the Court today that pertain to information contained on

    17     your CV?

    18     A.       Yes, I have.

    19     Q.       And, Dr. Kibbe, please explain for the Court what

    20     degrees you hold?

    21     A.       Yes.   I have a Bachelor's Degree in Pharmacy from

    22     Columbia University which I obtained in 1966.

    23                     While I was matriculating there, I took elective

    24     courses in pharmaceutical manufacturing because that was an

    25     area of interest.
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                                                                           174
                                    Kibbe - direct

     1                   I then went to the University of Florida and I

     2     received a Master's Degree in Pharmaceutics, focusing on a

     3     formulation development and pharmacokinetics having studied

     4     with Ed Garrett about pharmacokinetics and with a gentlemen

     5     named Reed Blythe who invented the spansules which is the

     6     first sustained release product in 1955.

     7                   I got a small sabbatical.       The Government

     8     thought I could be of service during Vietnam.

     9                   And I came back and finished up my

    10     pharmacokinetics and pharmaceutics studies at the University

    11     of Florida in 1973.      We worked on different dosage forms and

    12     the science behind those dosage forms and pharmacokinetics

    13     evaluation of dosing forms.

    14                   Then I went on and took my first position at the

    15     University of Mississippi, Ol' Miss in Oxford, Mississippi.

    16                   There, there we go.      There, I was responsible

    17     for training both undergraduate pharmacy students and

    18     graduate students in pharmaceutics who all went on to become

    19     formulators in industry, some of them rising to positions of

    20     quite importance within the industry.         One of them owns a

    21     pharmaceutical company that he started right outside of

    22     Baltimore.

    23                   We trained them by teaching them how to do

    24     formulation work, making either an immediate release or

    25     controlled or delayed release formulation and then doing
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 175 of 330 PageID #: 7322
                                                                           175
                                    Kibbe - direct

     1     pharmacokinetics testing of those dosage forms.

     2                   I went from there -- and we're going to skip to

     3     the next slide so we can keep it relatively chronological.

     4                   I was asked to take over the Development

     5     Services at the National Institutes of Health.          We provided

     6     services for all 13 institutes that were doing intramural

     7     studies at the Bethesda facility.

     8                   And so we would develop dosage forms that

     9     would be used for the first time in men or first time in

    10     patients that they were testing.        So we did a lot of mostly

    11     immediate release dosage forms, tablets and injectables but

    12     occasionally we had to mimic sustained release dosage forms

    13     for comparisons.

    14                   I went from there to a bioresearch laboratory.

    15     Now, this is a contract research organization.          As such, it

    16     did research for the entire pharmaceutical industry, both

    17     United States, Canada, and Europe.        And we did work for

    18     innovative companies, and we also did bioequivalency testing

    19     for generic companies.

    20                   We did first time in man, which is what is

    21     sometimes called ascending dose tolerance studies.           We give

    22     another dose and another dose and another dose, and you look

    23     at the side effect profiles.

    24                   At one point, we were doing ten human studies

    25     a month.    And my responsibility was, indirect with our
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                                                                           176
                                    Kibbe - direct

     1     clients, to determine what protocols would best fit their

     2     needs, establish the timeline for the studies, and then

     3     review the results of those protocols.

     4                    Occasionally, I was able to give them advice

     5     with dosage forms that they were developing.

     6                    I then took a position as Senior Director of

     7     Professional and Scientific Affairs at the American

     8     Pharmaceutical Association.

     9                    While there, I was introduced to a staff member

    10     for Congressman Dingle who asked me to help the congressman.

    11     They were investigating the FDA and its process for

    12     approving drugs, and I served as a consultant to Congressman

    13     Dingle while he was doing that investigation.

    14                    And then the Commissioner of the FDA asked me to

    15     head up a three-man team to evaluate how they went about

    16     their approval process.      And I did that and ended up with a

    17     report that became called "the Kibbe report" for lack of a

    18     better name.

    19                    I also went and taught at, I took a position

    20     with another contract research organization after that.

    21     While I was at ApHA, I got deeply involved with the Handbook

    22     of Pharmaceutical Excipients.       That is a joint publication

    23     of the ApHA and the Royal Society of Great Britain.

    24                    And I was on staff and part of the steering

    25     committee for the second edition.        And when I left ApHA and
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                                                                           177
                                    Kibbe - direct

     1     took my current position at Wilkes, they asked me to do the

     2     third edition, and I was Editor of Chief in that.

     3                    It's an internationally recognized reference

     4     text, and it has information about excipients which are the

     5     ingredients you use to make a dosage form other than the

     6     active ingredient.

     7                    You could go to that and look at a monograph of

     8     any one excipient, and it would tell you what it is

     9     generally used for, how much of it is generally in a given

    10     dosage form.    So it really represents a robust reference

    11     text.

    12                    I have had a chance to be on editorial review

    13     boards and peer review boards and I have been honored as a

    14     fellow of the Academy of Pharmaceutical Research and

    15     Science.    I currently am an emeritus professor which means I

    16     got promoted to be retired, but I managed to keep an office

    17     at Wilkes where I worked and I still teach pharmacokinetics

    18     in the fall.

    19                    While I was at Wilkes I was the founding

    20     faculty.    We started a pharmacy program there and it gave me

    21     a chance to teach undergraduate pharmacy students.           And we

    22     started a program on teaching BS and formulation and those

    23     individuals ended up then working for the pharmaceutical

    24     industry.

    25                    That gives you a thumbnail sketch of who I am.
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                                                                           178
                                    Kibbe - direct

     1     Q.      Dr. Kibbe, when did you start having involvement with

     2     the Handbook of Pharmaceutical Excipients?

     3     A.      The second year that I was at APHA, we started to

     4     develop the second edition.       The first edition had been

     5     published before I came there.

     6     Q.      Do you recall what year that was?

     7     A.      I can give you an estimate.       So that was '89.

     8     Q.      And I apologize, Dr. Kibbe, if I missed it, but do

     9     you still have involvement with the Handbook of

    10     Pharmaceutical Excipients?

    11     A.      Yes, I have been fortunate enough to keep current.           I

    12     am on the steering committee and I authored 20 to 25

    13     monographs within the book.

    14     Q.      Dr. Kibbe, collectively how long have you been

    15     involved with the development and formulation with

    16     pharmaceutical dosage forms?

    17     A.      I began my training on that almost 50 years ago, and

    18     I have been using it as a teaching tool and involved in

    19     doing exemplary sustained release products to teach people

    20     how to do it and those people go off and work in industry

    21     doing that, so 50 years.

    22     Q.      How long have you been involved in the

    23     pharmacokinetic evaluation of dosage forms?

    24     A.      Those go hand in hand.      If you make a dosage form and

    25     test it, you have to test it in vitro, most commonly at the
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                                                                           179
                                    Kibbe - direct

     1     dissolution study.      You also have to verify that it will

     2     work as you expect it to work in your patient population.

     3     You have to understand the pharmacokinetics, which describes

     4     what happens when you administer the drug.

     5                   It's a system we call LADMER that covers what

     6     happens to a dosage form when you administer it, the first

     7     being the L, liberation, the drug comes out of the dosage

     8     form.   Then it can be absorbed.       A drug stuck in a dosage

     9     form can't be absorbed into the body, so it gets liberated

    10     from the dosage form.

    11                   Then it gets absorbed across the membrane or

    12     from the site of administration.        Then it gets into the

    13     blood supply and gets distributed throughout the body, so

    14     liberation, absorption, distribution, of the body acts on

    15     drugs and sometimes it's metabolizing them, hence M,

    16     sometimes it excretes them, E, but we also are expecting it

    17     to have a response and that's R, and that's where LADMER

    18     describes that whole process.

    19                   And we, my formulators in pharmacokinetic don't

    20     care what the response is, we care about all the other

    21     aspects.    And we care about them because we can control the

    22     speed with which they happen.       And that's what our role is

    23     in the process.

    24     Q.      Thank you, Dr. Kibbe.

    25                   MR. FLORENCE:     At this time, the defendants
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 180 of 330 PageID #: 7327
                                                                           180
                                    Kibbe - direct

     1     tender Dr. Kibbe to the Court as an expert in the

     2     development and evaluation of pharmaceutical dosage form

     3     formulations including both immediate and sustained release

     4     formulations and also an expert in pharmacokinetics.

     5                   THE COURT:    Any objection?

     6                   MR. STIEFEL:     No objection, Your Honor.

     7                   THE COURT:    So recognized.

     8     BY MR. FLORENCE:

     9     Q.       Dr. Kibbe, do you have an understanding of why you're

    10     here today?

    11     A.       I'm here to give my professional opinion about the

    12     patents at issue in this case.

    13     Q.       Do you have an understanding of which parents are at

    14     issue?

    15     A.       I have a demonstrative that lays out all the patients

    16     at issue plus the claims that are asserted in this case.            So

    17     they're all listed on this one chart.         The first patent, the

    18     '938 patent happened well in advance of the others, and

    19     we'll look at it independently.        But then we'll lump

    20     together the other patents under the general Acorda patent

    21     name because they have such similar essential

    22     pharmacokinetic elements that we can deal with them all more

    23     or less at the same time.

    24     Q.       And Dr. Kibbe, were you present today earlier when

    25     Dr. Peroutka testified?
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                                                                           181
                                    Kibbe - direct

     1     A.       Yes, I was.

     2     Q.       And do you recall Dr. Peroutka referring to the '938

     3     patent as the Elan patent?

     4     A.       Yes.

     5     Q.       So do you have an understanding that they're the same

     6     thing?

     7     A.       That is exactly the same patent that he was talking

     8     about.

     9     Q.       And Dr. Kibbe, you stated that you're here to opine

    10     regarding the claims that have been asserted from the

    11     patents in this case.      Do you have a demonstrative regarding

    12     which claims of the '938 patent are at issue and your

    13     understanding of those claims?

    14     A.       Yes.   It's fairly similar to the one that

    15     Dr. Peroutka used earlier.       So these are the claims of the

    16     '938 that are asserted.      And that is claims 3 and 8, and

    17     they both are dependent claims which means that to

    18     understand what they really contain you have to understand

    19     the independent claim from which they are asserted.

    20                     And so if you look at the statements, it's very

    21     clear that claim 1 is a method for treating a neurological

    22     disease.    And claim 3, which depends from 1, reduces the

    23     breath of neurological diseases to multiple sclerosis.            That

    24     is a dependent claim.

    25                     Then we also see that they are giving, a mono or
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                                                                           182
                                    Kibbe - direct

     1     di-aminopyridine as an active agent.         There, right in here,

     2     it says.    Which claim 4, again, deduces the total number of

     3     compounds that would fit in that to one, 4-aminopyridine, or

     4     4-AP, and that's what we have been talking about all

     5     morning, 4-AP.

     6                    Then it says to be administered as a sustained

     7     release, to permit sustained release of said, there is no

     8     restriction on what kind of sustained release and there are

     9     lots of different platforms or ways of forming a sustained

    10     release.    And that it can be therapeutically effective blood

    11     levels over a 12 to 24 hour period.        Those are the elements

    12     that we see in claim 1.      And claim 2, 3, and 8 as dependent

    13     claims, and that's the asserted claims.

    14     Q.      Dr. Kibbe, do you have an understanding that claim 8

    15     where it says wherein the active agent is 4-aminopyridine,

    16     that's also known as 4-AP?

    17     A.      Yes.

    18     Q.      Dr. Kibbe, have you provided an expert opinion in

    19     this case related to the claims of the '938 patent that have

    20     been asserted?

    21     A.      Yes.   I believe they're obvious and based on the

    22     literature and the prior art.

    23     Q.      And do you have a chart to demonstrate that?

    24     A.      Yes, I do.    So basically the '938 patent is obvious

    25     to a person of skill in the art over the prior art because
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                                                                           183
                                    Kibbe - direct

     1     4-AP was an obvious drug to make and use as a sustained

     2     release dosage form.      We're going to talk about references

     3     that talk about the nature of 4-AP and the nature of the

     4     condition you're treating and why it would be obvious to

     5     someone to think that the best dosage form for that would be

     6     sustained dose release dosage form.

     7     Q.      And your opinion refers to a person of ordinary skill

     8     in the art.    Have you provided an opinion as to the

     9     qualifications as to who that individual would be?

    10     A.      Yes, I have.     I put one in my declaration.       Basically

    11     from my perspective as a formulator, you have to have

    12     training in formulation and years of experience doing

    13     formulation especially sustained release formulation, and an

    14     understanding and appreciation of how to do pharmacokinetic

    15     evaluations.

    16     Q.      And Dr. Kibbe, are you aware of whether or not

    17     plaintiff's experts in this case have also offered a

    18     definition or qualification that they believe are

    19     appropriate for a person of ordinary skill in the art?

    20     A.      Yes, Dr. Fassihi has done that in his declaration.           I

    21     disagree with Dr. Fassihi because he tried to incorporate

    22     what I think are two distinct individuals, one a physician

    23     who understands the therapeutic effectiveness of the active

    24     pharmaceutical ingredient and a formulator who knows how to

    25     take any active pharmaceutical ingredient and turning it
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                                                                           184
                                    Kibbe - direct

     1     into an effective dosage form or delivery system.

     2     Q.        But Dr. Kibbe, would your opinions change if the

     3     Court were to adopt plaintiff's?

     4     A.        No, I agree with Dr. Peroutka that those two are

     5     compatible with our understanding of what's going on.

     6     Q.        Dr. Kibbe, you mentioned that the claims of the '938

     7     patent are directed to methods of treatment with a sustained

     8     release formulation of 4-AP; correct?

     9     A.        That's correct.

    10     Q.        What exactly -- we have heard a little bit about it

    11     from Dr. Peroutka.       What do you understand a sustained

    12     release formulation to be?

    13     A.        Okay.    The oral solid dosage forms can be categorized

    14     into three general types.       Immediate release which means

    15     once it's ingested it releases the drug as rapid as possible

    16     so you get an immediate absorption of drugs and an immediate

    17     effect.    It's really important for drugs that are treating

    18     an acute condition.       You have a migraine headache, you don't

    19     want to wait around for results, you want quick results.

    20                       There is sustained release, which releases the

    21     drug continuously over a long period of time to give you

    22     have a more -- a broader level of drug over a longer period

    23     of time.    This is especially useful for chronic medication.

    24     We try to do this whenever possible when we're treating

    25     chronic medication because we know they're going to be
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                                                                           185
                                    Kibbe - direct

     1     taking the drug multiple times and we don't want the effect

     2     of the drug to wear off before they take the next dose.

     3                   The third type is a delayed release, and this

     4     applies to drugs that are either irritating to the stomach

     5     or acted on negatively by stomach acid.         What we do is we

     6     use a coating, an enteric coating.        We have been making

     7     enteric coated products since the 1800s and its job is to

     8     get the drug to migrate throughout the stomach without being

     9     released and then release the drug immediately.

    10                   The sustained release product, true sustained

    11     release started to be developed in the '50s with Rudy Blythe

    12     and his spansule which some of you, if you're old enough to

    13     remember Contac, it was the first product on the market like

    14     that.

    15     Q.      Dr. Kibbe, have you prepared some demonstrative

    16     slides that discuss sustained and immediate release

    17     formulations?

    18     A.      Yes, because Dr. Peroutka did this, we'll go through

    19     it as quickly as possible.       It's a reinforcement.      If there

    20     are questions that the Court has, we can answer them.            This

    21     is just a stylized idea of what happens with an immediate

    22     release.    You'll notice the upscale there are two doses on

    23     this slide, the upscale is relatively fast, very vertical,

    24     it reaches a maximum concentration in a very short period of

    25     time.   This is really good if you have got a pain, you got a
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 186 of 330 PageID #: 7333
                                                                           186
                                    Kibbe - direct

     1     headache, you want relief.       But because it gets that high,

     2     it starts to dissipate sooner, and it will drop down

     3     rapidly.

     4                   Now, the next slide shows you what might look

     5     like a sustained release.       Because the dosage form itself

     6     now controls the first step in the LADMER system which is

     7     the liberation of the drug from the dosage form, the drug is

     8     being released from the dosage form gradually over a longer

     9     period of time.     Hence the absorption is slower, it reaches

    10     peek later, and then it dissipates slower.          And if we look

    11     at the two together, you can see the dramatic difference.

    12                   Now, why is all this important?        Because we know

    13     that practically every drug has a minimum effective

    14     concentration and a level at which it might cause side

    15     effects.    And if you'll note that the minimum concentration

    16     here, with the immediate release, you would get onset quite

    17     soon, but the duration of effect would not be long, and

    18     because it only goes to where the levels drop, so this is

    19     where it drops, and that would be the duration of effect.

    20                   With a sustained release, it starts off and

    21     maybe it doesn't hit effective levels quite as quickly, but

    22     because it's a sustained release, it has a much longer

    23     duration of effect.      That makes it more convenient for the

    24     patient to be able to take the drug twice a day and maintain

    25     effectiveness, not having to take one sooner.
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                                                                           187
                                    Kibbe - direct

     1                   The side effect profile can sometimes get into

     2     the levels of drug after an immediate or rapid release.            So

     3     we have drawn here, it says toxic, but it could be something

     4     as simple as making you drowsy.        And we try to avoid side

     5     effects if we can.      And there is a distinct advantage to

     6     sustained release that it avoids side effects.          And we're

     7     going to talk about the advantages and issues associated

     8     with making sustained release in a second.

     9     Q.      I have a couple of quick questions for you,

    10     Dr. Kibbe.    Does the difference between the minimum

    11     effective concentration and the toxic or side effect level

    12     of a drug, does that vary by drug?

    13     A.      Absolutely.     There are drugs which are almost

    14     universally safe, in which case the toxic level would never

    15     been reached.     And there are drugs that have toxicities that

    16     are mild and those that have severe toxicity.          So for

    17     instance, blood thinners, you have to dose very, very

    18     carefully, because too low and you're not controlling the

    19     clotting time; too high and you cause spontaneous bleeding.

    20     That would be called a narrow therapeutic index drug.

    21                   Any drugs where the levels, the ratio of the

    22     minimum effective concentration and the onset of side

    23     effects of toxicity is close is a narrow therapeutic index

    24     drug and we have to be more careful about how we dose those.

    25     Q.      Are there other formulations of drugs that are more
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 188 of 330 PageID #: 7335
                                                                           188
                                    Kibbe - direct

     1     suitable for drugs that have a narrow index?

     2     A.      Because of the nature of the sustained release, they

     3     cause the drug to be absorbed gradually and they by

     4     definition cause the peek levels of the drug to be lower

     5     than an immediate release using the same amount of drug.

     6     Q.      Thank you, Dr. Kibbe.      I believe you mentioned a

     7     moment ago that there are some advantages that are unique to

     8     sustained release formulations.        Can you elaborate on that?

     9     A.      Well, we can go to some reference texts for sustained

    10     release.    I have Remington which was this particular one was

    11     published in 1985.      Remington has been with us a long time.

    12     It was published by the Philadelphia College of Pharmacy,

    13     and it was named after the gentleman who first published it,

    14     Remington.    And it has -- it's kind of like the bible for

    15     pharmaceutical manufacturing.       It has and describes all of

    16     the various dosage forms, how they're made, examples and so

    17     on.

    18                   Within this particular issue there is a chapter

    19     on sustained release formulations, and it gives a table of

    20     the advantages of sustained release formulations.           And there

    21     are numerous ones.      There is another text that we referred

    22     to which was Joe Robinson's text on sustained and controlled

    23     release drug delivery system, that was published in 1978,

    24     which means that there was sufficient information back in

    25     '78 to justify a main treatise on just controlled release
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 189 of 330 PageID #: 7336
                                                                           189
                                    Kibbe - direct

     1     products.

     2                   So I want to go back to the table from Remington

     3     now --

     4     Q.       Before we discuss that table Dr. Kibbe, if we could

     5     go back to the two reference slides.         So the Robinson text,

     6     JTX 0079, is this a reference that you reviewed and relied

     7     on for your opinions in this case?

     8     A.       Yes, it's a great text.      I have it on the shelf on my

     9     library at home.     You can't remember everything, I believe

    10     Mark Twain said that the weakest ink is stronger than the

    11     strongest memory.      If you want a reference you can go to,

    12     you can always refresh your memory and get it right.

    13     Q.       What about the Remington reference, JTX 82, is that a

    14     reference you have relied upon to give your opinion?

    15     A.       Yes, it is.    It's been the bible for us for years.

    16     Q.       Let's go back to the advantages of sustained release.

    17     A.       I think we talked a little bit about patient

    18     compliance.    Imagine yourself being asked to take a tablet

    19     four times a day at uniform time intervals, every six hours.

    20     That means that you have to wake up in the middle of the

    21     night to get the next dose, to get it because most people

    22     sleep eight hours.      Now, if you're in the hospital that's

    23     not a problem because the nurse will come by and wake you up

    24     and give it to you.      If you want a patient to do that,

    25     you're whistling in the wind.       That's not going to happen.
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                                                                           190
                                    Kibbe - direct

     1                   So we know that the more consistent the patient

     2     is in following the recommended dose and regimen, the better

     3     the therapy will be.

     4                   We'll talk later about steady state, but if you

     5     start changing the dose interval in a steady state, you

     6     start getting much more fluctuation.         So the advantage of a

     7     sustained release is you can have them take it twelve hours

     8     apart.   And that's easy for patient.        If they get up in the

     9     morning and they take it with breakfast at 7:30 and they

    10     take it right after dinner at 7:30 and it doesn't interfere

    11     with the rest of their working day.

    12                   That's really important.

    13     Q.       Let's turn to the second advantage listed, employ

    14     less total drug.     What do you understand that to be,

    15     Dr. Kibbe?

    16     A.       It's a mathematical certainty that if you go to

    17     higher levels, you will lose drug quicker because the drug

    18     is lost from the body as a fraction of the dose that's in

    19     the body per unit time.      It's a first order process.

    20                   And so by having sustained release that go up

    21     lower, they'll lose less drug over the course of therapy.

    22     So you can maintain them with slightly lower dosages, so you

    23     might be able to go from a 12 milligram four times a day to

    24     a 20 milligram twice a day.

    25                   All right.    A couple of other items underneath
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 191 of 330 PageID #: 7338
                                                                           191
                                    Kibbe - direct

     1     that are equally important.

     2                    Side effects.    We're always trying to control

     3     side effects.

     4                    If the drug is released all it once in the

     5     stomach or the intestinal tract, it has a higher probability

     6     of irritating the mucous membrane and causing local

     7     irritation.

     8                    If, however, it's released slowly like you have

     9     with a sustained release, then less of it is presented to

    10     the lumen, the mucous membrane at any one time, and you have

    11     less irritation.

    12                    Systemic side effects are a function of the

    13     total amount that gets in and the highest concentration.

    14     As we saw in that graph, the immediate release can sometimes

    15     go above the side effects level.        So by using a sustained

    16     release, you can reduce that.

    17                    So those are real positives for the sustained

    18     release.

    19                    We improve efficiency in treatment.        That is all

    20     a matter of getting the levels of the drug between the

    21     minimum effective concentration and the toxic concentration

    22     and keeping them there for the entire course of therapy.

    23                    Now, remember that sustained release are only

    24     useful for chronic medications, not immediate release

    25     medications.
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                                                                           192
                                    Kibbe - direct

     1                     You can improve the bioavailability.       If the

     2     drug is poorly absorbed and you use a sustained release, you

     3     spread the drug out over a longer section of the intestine.

     4     That gives it a better chance of being absorbed because

     5     diffusion from the lumen of the intestine to the blood

     6     supply is a function of the surface area exposed to the

     7     drug.   Okay?

     8                     And then there is some economic benefits that

     9     can accrue to the manufacturer or the patent, depending on

    10     how they work out.

    11     Q.      I have one question.      When you were talking about

    12     employing less total drug, if you end up needing less drug

    13     over time with the sustained release formulation, how does

    14     that effect the amount of drug and the dosage form that the

    15     patient would have been taking versus immediate release?

    16     A.      Okay.    Your real goal is to have the same amount of

    17     drug in the body over a 24 hour period each day.           So if you

    18     give immediate release 10 milligrams four times a day, that

    19     is 40 milligrams.     If you give two 20 milligram tablets that

    20     are sustained release, it's the same 40 milligrams.

    21                     And so invariably a dose, sustained release

    22     dosage form will contain more active ingredient than its

    23     immediate release counterpart, but the total exposure of the

    24     patient will be the same or less with the sustained release

    25     product.
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                                                                           193
                                    Kibbe - direct

     1     Q.      Besides the advantages that you have discussed here,

     2     Dr. Kibbe, are there any additional considerations related

     3     to the manufacture and use of sustained release formulations

     4     that a person of ordinary skill in the art would take under

     5     consideration?

     6     A.      Yes.

     7                    THE COURT:   Let me interrupt you there.       I

     8     suspected the answer is yes.

     9                    We'll hear the rest of that answer and the rest

    10     of the presentation after we take a lunch break.           Let's aim

    11     to start up a little after 2:00 o'clock.

    12                    We will be in recess.

    13                    MS. NOREIKA:     Your Honor, one question.     What

    14     is your thinking about later in the day?         We just want to

    15     make sure we have witnesses available for as long as need

    16     be.

    17                    THE COURT:   Subject to anything that may be

    18     waiting for me when I get back into my office, I was

    19     planning to go to 6:00 o'clock today.         But if I hear that

    20     there is something that will take me away, I'll let you know

    21     as soon as I can.

    22                    MS. NOREIKA:     Thank you.

    23                    AFTERNOON SESSION, 2:05 p.m.

    24                    *     *      *

    25                    (Proceedings reconvened after recess.)
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                                                                           194
                                    Kibbe - direct

     1                    THE COURT:   I think we're ready to continue.

     2     BY MR. FLORENCE:

     3     Q.      Dr. Kibbe, welcome back.

     4     A.      Thank you.

     5     Q.      I believe before we broke for lunch we were, I asked

     6     you whether or not there were any additional considerations

     7     related to the manufacture and use of sustained release

     8     formulations, and you said yes, correct?

     9     A.      Yes, there are.     There is a lot of standard testing

    10     that is done in any dosage form development, compatibility

    11     and stability testing, but there are some that I have

    12     highlighted that might apply to sustained release in

    13     products.    So we can go to that.

    14     Q.      Do you have a demonstrative on that?

    15     A.      Yes.

    16     Q.      I see here you listed potential dose dumping as the

    17     first consideration.      Can you explain to the Court what that

    18     is, Dr. Kibbe?

    19     A.      Because the sustained release dosage form would

    20     contain approximately a double dose of the active

    21     ingredient, if it fails to behave the way it is intended to

    22     behave, we call that dose dumping, so if something goes

    23     wrong with your product.

    24                    Now, during the development phase, you know that

    25     is a concern, so you have to make sure that the formulation
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 195 of 330 PageID #: 7342
                                                                           195
                                    Kibbe - direct

     1     you design and manufacture is indeed capable of behaving the

     2     way it is supposed to behave when you first make it and at

     3     the end of its expiration date.

     4     Q.      And how does that relate to sustained release

     5     formulations in general?

     6     A.      Well, every one of them has this potential, and

     7     every one of them then was designed to avoid this potential

     8     problem.

     9     Q.      Next, you have potential patient misuse.          What is

    10     that and how does it relate to your opinions?

    11     A.      This usually is related to sustained release drugs

    12     that are potentially abused or abused by patients.

    13                   So, for instance, when we made a sustained

    14     release morphine, we had to consider what would happen if

    15     the patient decided to chew it, grind it up, or could they

    16     take it as an injectable when it was intended to be an oral

    17     dose or something else.

    18                   This drug, although it has a reasonable amount

    19     of potency, is for a patient who is well motivated to stick

    20     to the dosage regimen designed.        They know they have serious

    21     side effects that they condition.        And if they follow the

    22     recommended dosage, they will get relief from those

    23     conditions, and so they are really well motivated to use it

    24     appropriately and not misuse it.

    25     Q.      And what about in vitro and in vivo correlation, Dr.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 196 of 330 PageID #: 7343
                                                                           196
                                    Kibbe - direct

     1     Kibbe?     What is that?

     2     A.       When you make a drug for the first time, and then it

     3     goes into clinical testing, you're going to test the drug in

     4     the dosage form you are ultimately going to market.           But you

     5     are not going to be able to market that whole batch for the

     6     rest of the life expectancy for the tablet.          You have to

     7     make additional batches, and you are not going to test each

     8     batch in people.      You have to have an in vitro test that you

     9     can use that is correlated with the in vivo test.           And so,

    10     normally, we use a dissolution test and correlate it to the

    11     blood level study that we do after we have designed the

    12     product.

    13                      And so as you design the product, you come up

    14     with what you think is a good dissolution platform rate of

    15     release of the drug, liberation of the drug from the dosage

    16     form in the in vitro test, and then you see if it correlates

    17     with an in vivo bioequivalency or bioavailability test.

    18                      So that is something that is developed so that

    19     you can, subsequent batches use the in vitro dissolution

    20     test as a quality control test to make sure that each batch

    21     that you made is behaving the same way.

    22     Q.       Okay.    And you had testified that you will take your

    23     dissolution test and match it up to a blood level study

    24     after you designed your drug.       What if it doesn't match up?

    25     A.       Well, then it usually is, the FDA has three ways of
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 197 of 330 PageID #: 7344
                                                                           197
                                    Kibbe - direct

     1     calculating an in vitro/in vivo correlation.          There is the

     2     most rigorous and then there is lesser ones.

     3                     The issue is that it doesn't have to be

     4     identical, it just has to be predictive.         And that usually

     5     comes from if you have made a dissolution that you predict

     6     will give you these blood levels, and, in fact, they do,

     7     you have established that connection.         And now you can use

     8     that dissolution apparatus, dissolution test to approve

     9     subsequent batches.

    10     Q.      Okay.    And, next, finally, you have listed on here,

    11     possible first pass effect.

    12                     What is that, Dr. Kibbe?

    13     A.      If a drug is highly metabolized by the liver, when

    14     you take it orally, it gets absorbed into the blood, and the

    15     blood from the GI tract goes directly to the liver before it

    16     goes to the systemic circulation.

    17                     And if the liver is active, then the amount

    18     that gets absorbed will be reduced by the amount the liver

    19     metabolizes, and that is called first pass effect.           So, in

    20     fact, the bioavailability of the drug would appear lower

    21     than it normally would because of that.

    22                     If the drug itself is not metabolized at all,

    23     then it can't have a first pass effect.         All it can have is

    24     efficient absorption or inefficient absorption.           And if you

    25     have something that is water soluble and is easily absorbed
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 198 of 330 PageID #: 7345
                                                                           198
                                    Kibbe - direct

     1     throughout the length of the GI tract, then you get

     2     100 percent bioavailability, which means all the drug you

     3     have given gets into the blood supply.

     4     Q.      Now, would any of these considerations prevent a

     5     person of ordinary skill in the art from considering, making

     6     a sustained release formulation?

     7     A.      No.     This is just part of not every single one of

     8     the things you think of as a formulator as you go about the

     9     process of making a sustained release.         The key is, is the

    10     drug a potential candidate for it?        And, if so, then you can

    11     move forward.

    12     Q.      Okay.    So you said the key is if the drug is a

    13     potential candidate for sustained release.          So if a person

    14     of ordinary skill in the art was asked to make a sustained

    15     release formulation for a particular drug, what

    16     characteristics of the drug need to be considered?

    17     A.      Well, I've got a demonstrative with four distinct

    18     characteristics which I think are important.

    19                     First, you have to have a relatively short

    20     half-life.    A drug with a half-life of 24 hours is not a

    21     candidate for sustained release.        You would give it once a

    22     day and that is exactly the way it should be given.

    23                     You have to have relatively efficient absorption

    24     pattern.    That is, the drug has to be absorbed efficiently

    25     throughout the GI tract.       And that is because your sustained
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 199 of 330 PageID #: 7346
                                                                           199
                                    Kibbe - direct

     1     release product, because it releases the drug slowly, will

     2     migrate down the GI tract as it releases the drug, and so

     3     the drug has to be able to be absorbed relatively

     4     efficiently throughout the GI tract.

     5                   You need a dose that you don't mind doubling up.

     6     And we're constrained by what people can swallow, and what

     7     is convenient to put in to a dosage form.

     8                   When you are making a sustained release dosage

     9     form, you have to use quite a bit of excipient that gives it

    10     its sustained release characteristic.

    11                   And so if you had a drug with a normal acute

    12     dose of 600 milligrams, if you try to make a sustained

    13     release drug out of it, you'd have to use 1,200 milligrams

    14     of the drug and then excipients.        You'd have something two

    15     grams.   And that is really the size we like to administer to

    16     horses and not convenient for people to swallow.           So it has

    17     to be a potent drug and that lasts.

    18                   You have to treat a chronic condition.         If you

    19     are trying to treat an acute condition with the same

    20     release, you are working against the issues that are in the

    21     best interest of the patient.

    22                   Chronic conditions go on for 24 a day for months

    23     and months.    We want therapy to be at or above the minimum

    24     effective concentration every single day for months and

    25     months, and sustained release is one way of doing that.            But
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                                                                           200
                                    Kibbe - direct

     1     it's certainly not useful for acute situations.

     2     Q.      And is there a particular prior art reference that

     3     you relied on for this information?

     4     A.      To get the information, to answer whether or not 4-AP

     5     has these characteristics, yes.

     6     Q.      What I'm just asking again, Dr. Kibbe, is it known

     7     in the art about these particular characteristics?           Are

     8     there references that a person of ordinary skill in the

     9     art could turn to to see this is information that would be

    10     considered?

    11     A.      Yes, you could look at Remington's textbook.          There

    12     isn't a table I could pull you out of Remington's, but you

    13     could read in the text and every one of these things would

    14     be in the text.

    15     Q.      And do you have an opinion, Dr. Kibbe, as to whether

    16     or not 4-AP has any of these characteristics?

    17     A.      4-AP actually fulfills all of those characteristics.

    18     Q.      And do you have a demonstrative that is related to

    19     that?

    20     A.      Well, I believe I do.      This is the first study that I

    21     looked at.    It's 4-AP has the essential kinetics to be an

    22     attractive sustained-release candidate.         So remember we want

    23     a half-life to be relatively short, we want good uniform

    24     bioavailability, and what have you.

    25                   And so the work of Uges which was published in
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 201 of 330 PageID #: 7348
                                                                           201
                                    Kibbe - direct

     1     May of 1982 look at 4-aminopyridine strictly for kinetic

     2     evaluation.    Okay?

     3                   So if we go to the next one.

     4     Q.      Dr. Kibbe, is the Uges reference a reference that you

     5     reviewed and are relying on for your opinions in this case?

     6     A.      Yes, it is.

     7                   So if you look at the abstract, Uges used nine

     8     healthy subjects (seven men and two women), and they

     9     received three different doses of 4-aminopyridine, a 20

    10     milligram iv dose and enteric dose, and a 20 milligram

    11     uncoated tablet.

    12                   So they were looking at the administration of

    13     the drug iv orally in an immediate release and orally in a

    14     delayed release, and they found that the half-life of the

    15     drug in their hands was 3.7 hours, which is approximately

    16     four hours when you put in the plus or minus.

    17                   That is a good half-life to look at in terms of

    18     converting it to sustained release because if you have to

    19     give it as immediate release, you have to give it every four

    20     hours, but if we can get it to be absorbed slowly over a

    21     longer period of time, we can give it every 12 hours.

    22                   There is a couple of other things in here that

    23     really helps us understand that this is a good candidate.

    24     Q.      What are those?

    25     A.      The bioavailability of the enteric coated tablets is
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 202 of 330 PageID #: 7349
                                                                           202
                                    Kibbe - direct

     1     95 plus or minus 29 percent, which means it is almost

     2     100 percent absorbed, even when its absorption has been

     3     delayed by two hours because that is what enteric coat does,

     4     which means it is being absorbed more or less informally

     5     throughout the intestinal tract.

     6                   Then the last item on here, on this thing is

     7     biotransformation is unlikely.

     8                   Now, what that tells us is that the drug is

     9     excreted unchanged in the urine, and, in fact, urinary

    10     excretion is 98 percent of the administered dose, which

    11     means there is not going to be any first pass effect because

    12     there is no metabolism.      Okay?

    13                   So now if we went back with this information and

    14     look at that chart, we could tick everything off, and we

    15     could say, okay, short half-life.        Okay.

    16     Q.       Well, Dr. Kibbe, does the Uges reference make any

    17     comparisons regarding the cumulative urinary excretions by

    18     route of administration?

    19     A.       Yes, okay.   That is a chart in here.

    20                   What he did here was he compared total urinary

    21     collection based on the dose.        In other words, the fraction

    22     of the dose he absorbed, what percent of it showed up in the

    23     urine.

    24                   After iv administration, it was 100 percent.

    25     After enteric coated tablets, it was 98 percent.           And after
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                                                                           203
                                    Kibbe - direct

     1     uncoated tablets, 95 percent.       So only a trace amount was

     2     lost, and that's not statistically significantly different.

     3                   That's what makes me think we won't have a

     4     problem with either absorption or elimination or changes in

     5     kinetics when we use sustained release versus iv.

     6     Q.      And you mentioned, Dr. Kibbe, that the study was done

     7     on nine individuals.      Would a person of ordinary skill in

     8     the art be discouraged by the fact that this study was only

     9     done in nine individuals?

    10     A.      We always like more data.       There isn't a scientist

    11     that doesn't like more data, but you can't have a study like

    12     this done on thousands of people when it's the first time

    13     they're doing it.     And what it does for you is it gives you

    14     information that motivates you to go forward.

    15                   If there were problems with it, if the half life

    16     didn't match, if the bioavailability didn't match, then you

    17     might be deterred, but in the presence of this data, you

    18     would move forward and begin to generate a sustained release

    19     product.

    20     Q.      And how does the data from Uges apply to the

    21     characteristics of a sustained release formulation?

    22     A.      So we have a demonstrative which I was jumping the

    23     gun and going to earlier.       Relatively short life, 3.6 hours.

    24     Efficient absorption pattern, hundred percent

    25     bioavailability, and relatively small dose, Uges uses 20
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                                                                           204
                                    Kibbe - direct

     1     milligram dose in IV, oral and in enteric coat.           And this

     2     morning Dr. Peroutka talked about what one is the

     3     appropriate dose and the condition that it would be

     4     appropriate in and that would be MS and MS is a chronic

     5     disease and the dose that he said was appropriate based on

     6     his understanding of the literature was the 10 milligrams

     7     twice a day.

     8     Q.      In addition to Dr. Peroutka's testimony, did you look

     9     at any prior art references that also relate to treating a

    10     chronic condition with 4-AP?

    11     A.      Yes.   Of course I looked at some of the same

    12     references that he looked at.       The next slide is 4-AP was in

    13     this -- they're talking about using it to improve clinical

    14     signs in multiple sclerosis and that right away tells you

    15     it's a chronic disease.      And they're using 4-aminopyridine

    16     to treat that.     This is Stefoski article and Dr. Peroutka

    17     talked about this this morning.        So we can talk about some

    18     of the same characteristics that he talked about.

    19     Q.      And what is your understanding, Dr. Kibbe, of how

    20     they dose the drug in this study?

    21     A.      Well, they got male patients with multiple sclerosis

    22     and they gave it as an injection.        And they gave it between

    23     seven and 35 milligrams of the drug, and one to five

    24     milligram doses over a 60 minute time frame.          And then they

    25     evaluated the benefits.      Dr. Peroutka talked about that, how
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                                                                           205
                                    Kibbe - direct

     1     the benefits started with the dose and ended at

     2     approximately the same amount of time as a half life when

     3     you compared it to Uges, this article quotes actually

     4     references Uges, I think it's reference 24.          So they had

     5     that information that they could relate to.          They say there

     6     is no serious side effects in either normal subjects or

     7     patients receiving 4-AP.

     8     Q.      And when did the authors conclude?

     9     A.      In their conclusion section, first in the abstract,

    10     the improvement with 4-AP are substantial enough to be

    11     transient therapeutic benefit in selected patients.           But in

    12     their conclusion which we have a pull out of, they recognize

    13     that side effects happen at high levels, but they said,

    14     okay, putting that concern aside for a second, we believe

    15     that the magnitude of the improvement we observed without

    16     serious side effects suggest that clinical usefulness for

    17     this agent, administered orally in selected patients.

    18                   You notice that their study was IV, but they're

    19     recommending oral.      That's because the way they dosed is not

    20     convenient for normal therapy for patient, it's a strictly

    21     an experimental way of dosing.

    22                   They recognize based on the fact that they have

    23     read Uges like I have, that you can give it successfully

    24     orally and get blood levels that give you the therapeutic

    25     effect you want, that's why they make that recommendation.
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                                                                           206
                                    Kibbe - direct

     1     Q.      Are you aware, Dr. Kibbe, of another prior art

     2     reference where they did administer it orally?

     3     A.      Yes.    We're going to go to Davis.      So 4-AP was

     4     already being used immediate release to treat the chronic

     5     disease MS, and Davis was testing oral administered

     6     4-aminopyridine to improve clinical signs in multiple

     7     sclerosis.     And so what he did was he took 20 male MS

     8     patients and they were given either ten up to 25 milligrams

     9     of 4-AP or lactose placebo capsules, and they were evaluated

    10     for motor function.      And occular motor function.       And then

    11     he concluded last part, we conclude that the oral

    12     administered 4-AP produces clinically important improvements

    13     in multiple chronic deficits in MS.

    14     Q.      And did the authors of this study make any further

    15     recommendations?

    16     A.      Yes.    Of course we go to his conclusion area, and

    17     although it's important to recognize the potential side

    18     effects, just like it's important for a formulator to

    19     recognize the problems associated with making a formulation,

    20     they still conclude that our results suggest a safe and

    21     effective therapeutic window for orally administered 4-AP

    22     for visual and motor defects in selected MS patients.

    23                    This is the kind of conclusion you make for

    24     every single drug because every drug is a poison.           I like

    25     the Australian system.      They list them all under the
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 207 of 330 PageID #: 7354
                                                                           207
                                    Kibbe - direct

     1     poisons.    There is rat poison that's a real poison and then

     2     there are drugs that can be used safely and effectively if

     3     used correctly.     So every one of them you can get too much

     4     toxicity so you're always looking for that window you can

     5     operate in.    And if that window is narrow, it's a narrow

     6     therapeutic index drug.      If the window is broad, it's not.

     7     Even aspirin, you can take enough of it to really get you

     8     sick, but everybody uses it for headache.

     9                    The fact that there are side effects really

    10     doesn't deter you from moving forward if you can control the

    11     levels well enough to stay within that sweet spot if you

    12     will.

    13     Q.      Let's go back to your slide relating the

    14     characteristics of 4-AP as they relate to a sustained

    15     release drug?

    16     A.      Now, we have added references that I have looked at

    17     and references that Dr. Peroutka looked at that say this is

    18     for treating a chronic condition.        There is no doubt that

    19     4-AP is to treat a chronic condition and it has all the

    20     other characteristics that make it a good candidate for

    21     sustained release.

    22     Q.      Do you have an opinion as to whether or not a person

    23     of ordinary skill in the art would be motivated to make a

    24     sustained release formulation of 4-AP based on this

    25     information?
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                                                                           208
                                    Kibbe - direct

     1     A.      Yes, I think it would be and I think it would be in

     2     the best interest of the patient for a couple of reasons.

     3     First, they would be able to take it on a more regular

     4     dosage regimen twice a day.       And second, when you take an

     5     immediate release dose late in the day, it starts to lose

     6     concentration.     And if you're supposed to take it four or

     7     six hours later and you're still sleeping, now it's going to

     8     drop below the effective level.        This -- we see this in

     9     arthritis medicine all the time, where people wake up with

    10     morning stiffness, and so we like to give them a sustained

    11     release product so that the sufficient drug available when

    12     they wake up so that they're not stiff and they can start

    13     taking the therapy and continue their therapy.

    14                   With this drug since we're dealing with motor

    15     skills and difficulty in movement, you would want them to

    16     have sufficient levels in the body when they wake up in the

    17     morning so it would make them easier to get around that day.

    18     Q.      So Dr. Kibbe, in 1990, once a person of ordinary

    19     skill in the art had decided to make a sustained release

    20     formulation of 4-AP, how would they go about doing it?

    21     A.      Most formulators have a favorite platform, and there

    22     are lots of different platforms that can be used to make a

    23     sustained release.      If you go to Remington, Remington lists

    24     several of them.     This is the 1990 edition of Remington.         In

    25     the same chapter we looked at in 1985, there are a list of
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 209 of 330 PageID #: 7356
                                                                           209
                                    Kibbe - direct

     1     drugs that have been approved that are in each of these

     2     different platforms.

     3                   So we go to the next page, we'll see reservoir

     4     diffusion product, and these are products that are on the

     5     market or were on the market in 1990 that use that system.

     6     Matrix diffusion products, and you'll notice that we're

     7     pulling these out of pages.       The verbiage in that page is

     8     how you make each one of these, so it's not that they just

     9     tell you these exist and good luck to you, they actually lay

    10     out how you can make it and what excipients are appropriate

    11     for these dosage forms.

    12                   The next page talks about matrix dissolution

    13     products, and again a whole bunch of those, and encapsulated

    14     dissolution products.      I told you that one of my teachers

    15     was Rudy Blithe, and Rudy invented Contac which is on the

    16     right-hand side and every one of the products that is called

    17     spansule, he developed those in the 1950's.

    18                   In fact, his system is really straightforward.

    19     If you wanted to use it, you could.        This drug would work in

    20     his system quite nicely, but most people nowadays go to a

    21     matrix system because the manufacturing process of a matrix

    22     tablet has fewer steps, and everything is about saving

    23     money.

    24                   So in a matrix tablet, all you do is blend the

    25     active ingredient with your matrix polymer and the most
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 210 of 330 PageID #: 7357
                                                                           210
                                    Kibbe - direct

     1     common is hydroxypropylmethylcellulose, but there is a

     2     handful of them.     When you get a uniformed blend and you

     3     tablet it, when that tablet goes into water, the polymer

     4     swells, forms a gel around the contents and the contents

     5     then have to dissolve and diffuse out through this gel,

     6     they're moving out to get into the bulk of the fluid of the

     7     gut very slowly, thus we get slow sustained release.

     8     Q.      Dr. Kibbe, what type of testing would a person of

     9     ordinary skill in the art conduct to determine whether the

    10     chosen platform was appropriately working for their

    11     sustained release formulation that they were developing?

    12     A.      Well, the first thing you need to do is select a

    13     platform and select excipients you're going to use and then

    14     do a compatibility test to see if the active ingredient has

    15     any chemical reaction with any of those excipients.           If it

    16     does, you shift away from this excipient.          You blend the

    17     active ingredient at the dose you want to use with various

    18     ratios of sustained release polymers, so you might have a

    19     ratio of ten to one polymer to active ingredient or less,

    20     and you make several of those.        And you can do that in a

    21     day, day-and-a-half.      The blending process takes 15, 20

    22     minutes and then you tablet them, then you will a have

    23     several hundreds tablets of each type.

    24                   Then the next day you can go in and do a

    25     dissolution test.     What happens is you get a series of
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 211 of 330 PageID #: 7358
                                                                           211
                                    Kibbe - direct

     1     dissolution curves that move from left to right faster and

     2     slower based on the ratio that you used, and then you pick

     3     one that will give you dissolution over six, eight hours so

     4     that you're sure that when it's administered, it will

     5     release the drug, at least over six hours or more to get you

     6     to a sustained release product.        So it's really

     7     straightforward.     And if you don't hit exactly what you

     8     want, you will have bracketed it with some of your

     9     experiment, so next week you come back and do it again.

    10     Q.      And Dr. Kibbe, were you present in the courtroom

    11     earlier today when the deposition testimony was played of

    12     Dr. Michael Myers regarding what the Acorda inventors did

    13     when they developed their formulation that's claimed in the

    14     '938 patent?

    15     A.      Yes, I was here.

    16     Q.      How does that testimony relate to the process that

    17     you've described here?

    18     A.      I believe he said that they used a platform that

    19     hadn't been developed.      So they had experience with a given

    20     platform and then they just added this active ingredient

    21     instead of a different one and adjusted the platform with

    22     routine testing until they got the dissolution pattern and

    23     therefore the blood level apparent that they wanted.

    24     Q.      And do you recall how long, or approximately

    25     Dr. Myers testified it took him to do that?
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                                                                           212
                                    Kibbe - direct

     1     A.      You know, it was a little mumbly, but it wasn't a

     2     very long time.     Most formulators can do a really good job

     3     in about four months.

     4     Q.      Dr. Kibbe, summing up on your opinions of claims 3

     5     and 8 of the '938 patent, what's your conclusion?

     6     A.      I have a demonstrative with my conclusion.          The

     7     claimed invention of the '938 patent is obvious.           A POSA

     8     would have been motivated to make a sustained release

     9     formulation of 4-AP because of the characteristics of the

    10     4-AP and the characteristics of the patients who need it.

    11                   Sustained release products were well-known to be

    12     advantageous over immediate release in chronic conditions,

    13     and 4-AP has the characteristics necessary for it to be a

    14     candidate for a sustained release formulation.

    15                   The prior art discloses that 4-AP was effective

    16     in treating chronic disease and I rely on Dr. Peroutka for

    17     that as well as for the references we looked at.           And the

    18     prior art discloses well-known methods for making a

    19     sustained release and I went to standard text and my own

    20     years of experience on how to make it to say that.           So it's

    21     obvious.

    22     Q.      Dr. Kibbe, let's shift gears back to the Acorda

    23     patents and go back to the asserted claims.          Do you have any

    24     demonstrative slides that provides an exemplary claim to

    25     these patents?
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                                                                           213
                                    Kibbe - direct

     1     A.      Yes, I do.    All of these patents have similar claims.

     2     We're going to go to the claim 1 of the '826 patent and this

     3     will give us a handle on what the elements are from my

     4     perspective that are throughout all four of these patents.

     5     First, their methods of treating, methods of maintaining a

     6     therapeutic effective concentration of 4-AP in order to

     7     improve walking in humans with multiple sclerosis.           4-AP

     8     chronic condition MS, orally administering to a human a

     9     sustained release composition, 10 milligrams daily at, twice

    10     daily going forward.

    11     Q.      And what's being administered?

    12     A.      10 milligrams of 4-AP, twice daily in a sustained

    13     release.    And then they tell you what the kinetics of the

    14     drug and dosage form would yield in terms of the minimum and

    15     maximum concentrations being in a ratio of one to 3.5 and

    16     the average concentration being between 15 nanograms and 35

    17     nanograms.    And so they're actually just claiming what I

    18     consider to be the natural outcome administering this drug.

    19     Q.      And Dr. Kibbe, have you prepared a demonstrative that

    20     relates to these, specifically relates to these

    21     pharmacokinetic parameters that are claimed and are common

    22     throughout the Acorda patent claims?

    23     A.      Yes, I did.

    24     Q.      Let's go to that, please.

    25     A.      So the four things that I really would like to talk
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 214 of 330 PageID #: 7361
                                                                           214
                                    Kibbe - direct

     1     about and where are they in all these patents, because there

     2     is four patents and they all in someplace or another have

     3     one or more of these elements.        So ten milligrams sustained

     4     release 4-AP twice daily appears in all those patents and

     5     all of the asserted claims listed next to the patents.            The

     6     ratio of Cmin, Cmax appears in the '426.         The range of 15 to

     7     35 nanograms per mil appears in all four patents, at least

     8     one of the claims, or asserted claims.

     9                   And then another one which didn't appear in

    10     claim 1 of the '426, but does appear in other places is

    11     Tmax, which is the time to reach maximum concentration after

    12     the administration of a dose.       And they appear there.

    13     Q.      You have an asterisk next to the Tmax range.          What

    14     does that mean, Dr. Kibbe?

    15     A.      There is a statement in one of the claims that says

    16     that release profile encompasses at least six hours.           And

    17     that means that the drug after it's being administered, the

    18     dosage form of releases the drug, continuously or sustained

    19     release over a six hour or more period of time.

    20     Q.      Dr. Kibbe, I want to make sure the record is clear.

    21     Going back to the second pK parameter, Cmax steady state

    22     ratio Cmin steady state ratio of 1.0 to 3.5, I think you

    23     referred to the '426 patent.

    24     A.      I'm sorry, '826.     My fault.    Too many numbers, too

    25     many patents.
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                                                                           215
                                    Kibbe - direct

     1     Q.        And Dr. Kibbe, you prepared some demonstratives that

     2     explain to the Court a little bit further what steady state

     3     pK parameters mean?

     4     A.        We're going to go back to an original slide that we

     5     showed earlier that was stylized sustained release which was

     6     Tmax and Cmax.     But we don't give it that way, we don't stop

     7     after one dose, we give more.       So the next slide shows what

     8     happens when you add a second dose to an already existing

     9     blood level, you'll see that it comes up, goes down, but it

    10     goes up higher.     The length of the increase is the same from

    11     one place to the other, but because it's added on top of

    12     what already exist, it's higher.        Okay?

    13                    So if I were to look at the distance from this

    14     point to that point, it would be the same as the distance

    15     from zero to that point.       Right.   And we keep doing that.

    16     And what happens is as the levels build up, the rate of loss

    17     increases because the rate of loss is a function of the

    18     concentration times the rate constant for elimination.

    19                    Another one point, the amount that we're adding

    20     each time will exactly equal the amount that is eliminated

    21     during the dosing interval.       And there, we get to the green

    22     which is called steady state.       And if we continue faithfully

    23     to give exactly the same dose at exactly the same dosing

    24     interval, that steady state becomes steady.          It doesn't

    25     change.
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                                                                           216
                                    Kibbe - direct

     1                   I have another demonstrative from Ritscchel, he

     2     had several like that, where he shows that what we can then

     3     say is that the lowest number, sometimes called the trough

     4     number is C steady state minimum, and the other number is C

     5     steady state maximum.      And going forward with routine

     6     therapy in that patient, you would get those same numbers

     7     going forward.

     8                   You will notice that they have a number at the

     9     top, called tau, and that is a designation for dosing.            T is

    10     designation for the time after the dose, but tau is the

    11     distance between doses.

    12                   So for our case, 4-AP it would be 12 hours.

    13     Q.      And, Dr. Kibbe, how many doses does it take before a

    14     patient typically reaches steady state?

    15     A.      Somewhere between five and seven doses.         There is a

    16     rule of thumb that if you dose on the half-life, it's

    17     exactly five.     But if you are slightly off the half-life,

    18     then it takes five to seven.

    19     Q.      And, Dr. Kibbe, how would a person of ordinary skill

    20     in the art obtain steady state data for a particular drug?

    21     A.      There are two approaches.       You can calculate and

    22     estimate it or you can do a study and measure it.           Okay?

    23                   Once you know the half-life of the drug, the

    24     size of the dose you are administering, and the time to

    25     maximum concentration, you can then successfully calculate
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 217 of 330 PageID #: 7364
                                                                           217
                                    Kibbe - direct

     1     Cmin at steady state and Cmax at steady state.          And there

     2     are other equations than can be applied to these systems.

     3                     Kinetics was developed in the '60s, early '60s,

     4     and these equations were all derived back then, and they

     5     have been in textbooks ever since.

     6                     I have an example equation to give you an idea

     7     of what you can do.      This equation would calculate the

     8     steady state for any drug given on a routine basis if you

     9     know the dose and the rate constant for elimination.

    10                     So Csub-naught is the dose divided by the volume

    11     of distribution which is indicative of how big your patient

    12     is.

    13                     Kel is the rate of elimination, tau is the

    14     dosing interval, and you can calculate CSSmin with this

    15     equation.

    16     Q.      Okay.    And, Dr. Kibbe, what determines what PK values

    17     are actually obtained in an individual patient?

    18     A.      Well, it usually is their size.        If you give a 10

    19     milligram sustained release to someone who weighs 100 kilos,

    20     you are going to get a lower Cmin than if you give a

    21     10 milligram sustained release to someone who weights

    22     50 kilos.    Okay?   So the Cmin/Cmax ratio would be constant

    23     in those two individuals, but the window would move up and

    24     down.   Okay?

    25     Q.      Now that we've talked about what the steady state PK
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 218 of 330 PageID #: 7365
                                                                           218
                                    Kibbe - direct

     1     parameters are, do you have an opinion regarding the

     2     asserted claims of the Acorda patents?

     3     A.        Yes.   So this is a brief summary of my opinions on

     4     Acorda.

     5                      The asserted claims of the Acorda patent are

     6     obvious to a person of ordinary skill in the art over the

     7     prior art.

     8                      The Acorda patents claim the use of an obvious

     9     dosing regimen of 10 milligrams twice a day.

    10                      With a known sustained release formulation of

    11     4-AP, which means that we know that there is sustained

    12     release formulation out there.

    13                      To treat a symptom of MS, which, of course, is

    14     the 10 milligram dose and the fact that we're treating MS

    15     that was already discussed, and we're depending in part on

    16     that for our opinion.      And we can arrive at the inherent

    17     known PK values.      I could have calculate that from Uges, but

    18     we're going fo look at data where they did the study and got

    19     the data.

    20     Q.        No. 2 on your summary here, it says there was a known

    21     sustained release formulation of 4-AP.         What is the basis

    22     for your opinion on that?

    23     A.        We can go back to the '938.     And the '938 was issued

    24     well ahead of the Acorda patents.        And so, therefore, it

    25     constitutes prior art for the Acorda patents.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 219 of 330 PageID #: 7366
                                                                           219
                                    Kibbe - direct

     1                   And it says here that there will be, or they're

     2     claiming a sustained release of 4-AP, which achieves

     3     therapeutically effective blood levels over a 12 to 24 hour

     4     period when administered on a once or twice a day.

     5                   So they're claiming the sustained release

     6     product that will have that characteristics.

     7     Q.      And does the '938 patent teach a person of ordinary

     8     skill in the art how to manufacture a sustained release

     9     formulation of 4-AP?

    10     A.      It doesn't claim in the claims any particular form,

    11     but in the specification, there are suggestions for how you

    12     might do that.

    13                   And so in the specification, we pulled out a

    14     couple of statements from the specification -- I'm sorry, I

    15     didn't -- it's column 4, 41 to 46; is that right?

    16     Q.      Yes, that is right.      You have good eyes.

    17     A.      I can read it off the bottom.

    18                   So preferably the water soluble polymer in the

    19     core, they're talking about making a matrix core or

    20     membrane, which would mean something like the bead where the

    21     drug is coated on the bead and then a membrane is put around

    22     it, is the same or different and is selected from, and these

    23     are commonly used coatings that will slow the release of the

    24     drug or could be incorporated into a matrix to slow the

    25     release of the drug.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 220 of 330 PageID #: 7367
                                                                           220
                                    Kibbe - direct

     1                    And I highlighted hydroxypropylmethylcellulose

     2     because it is the most commonly used polymeric material in

     3     sustained release matrix forms.

     4                    They go on to say that the pellets or granulates

     5     may be compressed into tablets using a binder and a

     6     hardening agent.

     7                    And microcrystalline cellulose is one of the

     8     most common products added to aid with tableting.           And there

     9     would be two or three other excipients that would be added

    10     to the tablet, one a lubricant, one a glidant, but they

    11     would have any affect on the functionality of the tablet.

    12     Q.      And, Dr. Kibbe, in addition to the '938 patent, are

    13     you relying on any other prior art references for your

    14     opinion that a sustained release formulation 4-AP was

    15     already known?

    16     A.      Yes.   So we can go to some of the work of Hayes.

    17                    This is an open label, multiple dose study to

    18     determine the pharmacokinetic and safety of fampridine SR in

    19     patients with chronic spinal cord injury.

    20                    And this was done I think part of the phase

    21     testing.    This is supportive data for that.

    22                    Basically, they administered -- or sorry.         This

    23     was published in 2001.

    24     Q.      And do you know if there was another Hayes reference

    25     that you are relying on?
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                                                                           221
                                    Kibbe - direct

     1     A.      Yes, there is a second one.       We called it Hayes III.

     2     It was published in 2003, and it's the pharmacokinetic study

     3     of single and multiple oral doses of fampridine.           It was

     4     nice of them to say:      sustained release 4-aminopyridine in

     5     patients with chronic spinal cord injury.

     6                   And I have a pullup from both of them that I

     7     have highlighted.

     8                   The study participants received multiple oral

     9     doses of 10, 15, 20 or 25 milligrams twice a day; or in the

    10     second study, they received 10 to 25 milligrams administered

    11     as a single dose in 14 patients and twice daily for a week

    12     in 16 patients.     So that they did both acute and chronic in

    13     the second study and chronic in the first.

    14     Q.      And how long was the duration of the study in the

    15     first Hayes reference?

    16     A.      It was one week.

    17     Q.      And so, Dr. Kibbe, what does this information teach

    18     to a person of ordinary skill in the art regarding whether

    19     or not there was a sustained release formulation that

    20     preexisted the Acorda patents for 4-AP?

    21     A.      Well, the sustained release formulation that they

    22     used had to have preexisted the Acorda patents because they

    23     used it in the study which is prior art to the Acorda

    24     patents.    So it had to exist.

    25     Q.      And what pharmacokinetic data do the case studies
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 222 of 330 PageID #: 7369
                                                                           222
                                    Kibbe - direct

     1     disclose?

     2     A.       Okay.    So we went to the Table 2 on -- there we go.

     3                      So they tested 10, 15, 20, and 25.     That tells

     4     them some information across doses, but we're going to focus

     5     on the 10 milligrams because the claims of the Acorda patent

     6     are all about giving 10 milligrams twice a day.           Okay?

     7     Q.       And, Dr. Kibbe, are you relying on Dr. Peroutka as to

     8     whether or not 10 milligrams would be appropriate?

     9     A.       Yes.

    10     Q.       You are not a physician; right?

    11     A.       No.     When I went to graduate school, I decided I

    12     would rather dump my mistakes down the drain rather than

    13     bury them, so I became a researcher.

    14                      So what we have here is a whole bunch of really

    15     good data about 4-AP in chronic administration.           Remember,

    16     they dosed it for a week, and remember I said that you could

    17     get five to seven doses and you would get steady state.            And

    18     so a week is 14 doses, so we clearly know they're at steady

    19     state.   There is no argument there.       So these are steady

    20     state values.      All right.

    21     Q.       And how do these values relate to the pharmacokinetic

    22     parameters in the claims of the patents?

    23     A.       That's right, and we're going to talk about those.

    24     You will notice there are three Cs over here, and they're

    25     hard to read and they're even hard to read when you have the
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 223 of 330 PageID #: 7370
                                                                           223
                                    Kibbe - direct

     1     document right in front of you.

     2                    But it's Caverage, Cmax, and Cmin, one after the

     3     other.

     4                    So the Caverage is 20.8 in a 10 milligram dose.

     5     And that fits directly in the range of 15 to 35 that the

     6     Acorda patents claim.

     7                    The reported values for Cmax and Cmin are 32.2

     8     and 14.    And if you divide them, you get 2.3.        And 2.3 sits

     9     right in the range of 1 to 3.5 for Cmin/Cmax in the '826

    10     patent.    Okay?

    11                    Now, a little further down, there are two T

    12     values.    One is Tmax, the first one.       And it is 2.7 plus or

    13     minus 1.    And that also fits in the range that the patents

    14     claim of 2 to 5.2 or 6.      Okay?

    15                    It also tells us the half-life.       And you will

    16     notice the half-life is a little longer than what you saw

    17     in the immediate release data that Uges had.          And that is

    18     because with sustained release dosing, the drug is released

    19     longer.    And even though it reaches peak, there is still

    20     drug being absorbed, and that tends to make the half-lives

    21     stretch out.    So that is slightly longer.

    22                    But, of course, they didn't claim a half-life,

    23     so this is the natural consequence of administering this

    24     drug anyhow.

    25     Q.        Dr. Kibbe, did you look at any of the steady state PK
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 224 of 330 PageID #: 7371
                                                                           224
                                    Kibbe - direct

     1     data that was provided in the Acorda patents?

     2     A.       Yes.    So if we turn to our next demonstrative.

     3     Right.

     4                      So on the right is Table 7 directly from the

     5     '826.    I always want to get my numbers right.        Okay?   And on

     6     the left is Table 2 from the Hayes documents.

     7                      And what is interesting to me is they're

     8     identical.      That the Hayes documents were used in or the

     9     Hayes data was used in the Acorda patents, verbatim.

    10                      If you go down the list, Cmin, Cmax 32.2, in

    11     table 7, Cmax in Hayes 3.2 and so on.         And you can do, I

    12     highlighted all the things that match up and clearly they

    13     do:   Tmax of 2.7 hours, Tmax of 2.7 plus or minus 1.          So

    14     clearly they used the data that Hayes was generating in

    15     support of the Acorda patents.

    16     Q.       And, Dr. Kibbe, do you have an understanding as to

    17     why the inventors of the Acorda patents would have used

    18     steady state data from Hayes even though that was done in

    19     spinal cord patients?

    20     A.       Okay.    So what would be the difference in the

    21     pharmacokinetics between an MS patient and a spinal cord

    22     patient?    We've already established the drug is not

    23     metabolized, so even if either one of those diseases affect

    24     the liver, it wouldn't affect this drug.

    25                      What happens is this drug is eliminated by the
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 225 of 330 PageID #: 7372
                                                                           225
                                    Kibbe - direct

     1     kidney.    And unless these diseases materially impact the

     2     kidney function, it would be no difference.          And, in fact,

     3     they don't.    And so you would expect that dose in a normal

     4     person would give you the same kind of results as a dose in

     5     a spinal cord injury person or an MS person.          Okay?   And so

     6     it doesn't affect.      They can use that same data as exemplary

     7     pharmacokinetic data.

     8     Q.        Dr. Kibbe, did you -- I know you looked at some

     9     steady state data from the Acorda patents, but did you look

    10     at any single point data from those patents as well?

    11     A.        Yes, they report single point data in the patent.

    12     And I have a table that puts together three of their tables.

    13                    So this is single point data in the Acorda

    14     patent, and it confirms that the disease state is irrelevant

    15     to the PK values.

    16                    So, in other words, it is just confirming what

    17     I know to be the case with this drug.         And that is that

    18     whether you give it to a multiple sclerosis patient, whether

    19     you give it to a spinal Acorda injury patient, or whether

    20     you give it to a healthy volunteer, you are going to get

    21     approximately the same results.

    22                    And we picked two things, Cmax and Tmax,

    23     because they are a function of the absorption and rate of

    24     elimination which is the kinetic impact on them.           And you

    25     will notice that they are in the same order of magnitude
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 226 of 330 PageID #: 7373
                                                                           226
                                    Kibbe - direct

     1     across all three sets of patients.

     2     Q.      Dr. Kibbe, summing up.      Do you have a demonstrative

     3     that relates to your summary opinion of the Acorda patents?

     4     A.      I do.    So the claimed invention of the Acorda patents

     5     are obvious in my mind.      And I think I have demonstrated

     6     that through the references I have used.

     7                     Prior art discloses the use of twice daily

     8     sustained release formulations of 4-AP for the treatment of

     9     MS.

    10                     The claimed PK parameters resulting from the

    11     administration of 10 milligrams grams BID of 4-AP were known

    12     in the art and were a natural result of the administration

    13     of the 10 milligrams sustained release product.

    14                     And a POSA would have been motivated to choose

    15     10 milligrams as a dose and would have treated the MS

    16     patients for at least two weeks because of its chronic

    17     condition.

    18                     That last, I depend upon Dr. Peroutka for

    19     because he is the clinician.       In the normal operation of

    20     formulation development, the clinician comes to you with a

    21     drug and says I need X number of milligrams to be delivered

    22     every six hours, every eight hours, whatever, to get good

    23     therapy, and then you design a dosage form that will deliver

    24     that drug at that rate.

    25     Q.      And, Dr. Kibbe, when you formulated your opinions of
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 227 of 330 PageID #: 7374
                                                                           227
                                    Kibbe - direct

     1     obviousness related to the '938 patent and the Acorda

     2     patents, did you consider any secondary considerations of

     3     nonobviousness?

     4     A.      I did briefly consider them.

     5     Q.      Do you have a demonstrative relating to that?

     6     A.      I didn't find any secondary considerations that

     7     overcome the obviousness of the asserted patents.

     8                   There is no evidence in my mind that the claims

     9     of sustained release formulation of 4-AP satisfied a long

    10     felt need.

    11                   No evidence of other attempts to make a

    12     sustained release formulation of 4-AP but failing.

    13                   No evidence that others were skeptical about

    14     making a sustained release formulation of 4-AP.

    15                   And no evidence that the sustained release

    16     formulation of 4-AP resulted in unexpected results.

    17                   MR. FLORENCE:     Thank you, Dr. Kibbe.

    18                   Subject to redirect, Your Honor, I pass the

    19     witness for cross-examination.

    20                   THE COURT:    That's fine.     Thank you.

    21                   We'll have cross-examination.

    22                   MR. STIEFEL:     Thank you, Your Honor.

    23                   May I approach?

    24                   THE COURT:    You may.

    25                   (Binders passed forward.)
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                                                                           228
                                     Kibbe - cross

     1                   THE WITNESS:     A three hour cross are you

     2     planning?

     3                               CROSS-EXAMINATION

     4     BY MR. STIEFEL:

     5     Q.       Good afternoon, Dr. Kibbe.

     6     A.       Good afternoon.    It's good to see you again.

     7     Q.       Same here.    I just want to start by clarifying one

     8     thing about the testimony you gave towards the end of your

     9     presentation.

    10                   You were talking about there being a

    11     pre-existing sustained release formulation.          You were

    12     talking about at the time of the Acorda patents; is that

    13     correct?

    14     A.       Yes, it is.    The '938 happened so far earlier and

    15     then we had a product made, and it was tested by Hayes.            And

    16     so that is pre.     The Acorda patents really talks about

    17     those.

    18     Q.       You were not suggesting that there was a sustained

    19     release formulation already in existence at the time of the

    20     '938 patent; correct?

    21     A.       No, unless the Russians come out and say they had one

    22     years ago, we're all right.

    23     Q.       Now, you are a -- you said you're professor emeritus

    24     at Wilkes University?

    25     A.       That's correct.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 229 of 330 PageID #: 7376
                                                                           229
                                     Kibbe - cross

     1     Q.      And you joined Wilkes in 1992?

     2     A.      Four.

     3     Q.      '94.    So you have been there for twenty-two years?

     4     A.      That's correct.

     5     Q.      And during the twenty-two years, is it fair to say

     6     that you published only one research paper in a peer

     7     reviewed scientific journal?

     8     A.      Most of the stuff that we did with our students got

     9     presented as posters.

    10     Q.      But you only -- only one research paper in a

    11     scientific, in a peer reviewed journal?

    12     A.      That's correct.

    13     Q.      And that was entitled Effective Surfactant Polymers

    14     and Nonionic Compounds at Surface Tension at Liquid Air

    15     Interface; correct?

    16     A.      That's right, it's a theoretical piece.

    17     Q.      It had nothing do with sustained release formulation;

    18     correct?

    19     A.      We were interested in it because it affects the

    20     reliability of sustained release products.

    21     Q.      But it didn't involve the development of the

    22     sustained release formulation?

    23     A.      No, in fact not, it was a theoretical piece.

    24                     THE COURT:   Dr. Kibbe, it's important you wait

    25     until the question is completed so we can have only one of
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 230 of 330 PageID #: 7377
                                                                           230
                                     Kibbe - cross

     1     you speak at a time.

     2                    Go ahead.

     3     BY MR. STIEFEL:

     4     Q.      You went through a series of slides which showed that

     5     you had held various positions before you joined Wilkes

     6     University.    Do you recall that?

     7     A.      Yes.

     8     Q.      And during -- in those positions you also did not do

     9     research that you published in peer reviewed journals with

    10     respect to the development of sustained release

    11     formulations; is that correct?

    12     A.      That is correct.

    13     Q.      And the publications in your CV doesn't describe how

    14     to prepare, how to develop a sustained lease formulation;

    15     correct?

    16     A.      We have done some evaluation work when I was at Old

    17     Miss, so that there are some articles in there that deal

    18     with controlled release, and one with delayed release that

    19     we did describe how we made and then we tested it on animal

    20     models, but no, we didn't teach people in the literature how

    21     to do that.    We taught our students how to do that.

    22     Q.      And you personally had no experience with MS drugs;

    23     correct?

    24     A.      No.

    25     Q.      And no experience with 4-AP?
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                                                                           231
                                     Kibbe - cross

     1     A.      No.

     2     Q.      And you're not an inventor on any patents; correct?

     3     A.      That's correct.

     4     Q.      And I think you told me at your deposition that until

     5     you got involved in this case, you were not aware of Elan

     6     having been a company that was dedicated to the development

     7     of sustained release formulations?

     8     A.      I was not familiar with Elan.

     9     Q.      And is it fair to say, Dr. Kibbe, that you're not

    10     aware of any drugs other than 4-AP in which the active

    11     ingredient was first approved by the FDA in a sustained

    12     release formulation?

    13     A.      I didn't bother to do a search for that.          I know that

    14     Contac was the first marketed approved product with a

    15     sustained release which contained an antihistamine and a

    16     decongestant, but those products were probably grandfathered

    17     in before that happened.

    18     Q.      So as of 1990, sustained release technology was being

    19     used to improve upon drugs which were already approved in

    20     immediate release form?

    21     A.      In the most cases, yes.

    22     Q.      And you're not aware of any cases in which it was

    23     being used to develop sustained release in the first

    24     instance other than 4-AP; is that correct?

    25     A.      Well, before I got in this case, I wouldn't have
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 232 of 330 PageID #: 7379
                                                                           232
                                     Kibbe - cross

     1     known about off the top of my head 4-AP anyhow.

     2     Q.      And is it fair to say that if a drug is approved in

     3     immediate release form by the FDA, substantial amount of

     4     information is available to the public and to researchers

     5     about the physical chemical properties of the drug?

     6     A.      Actually the submissions to the FDA are confidential.

     7     Q.      Aren't there generally publications related to

     8     approved drugs which would make available to the public

     9     substantial amounts of information about the properties of

    10     the drug?

    11     A.      The publications are independent of whether the

    12     information was used by the FDA to do anything, so that

    13     information if it's in the literature, it's in the

    14     literature.    Just like in this case, if it's in the

    15     literature, if they were subsequently used to get approval,

    16     but you would have known it.       So the act of getting FDA

    17     approval doesn't automatically add a whole body of

    18     information.

    19     Q.      Isn't it fair to say that typically drugs that -- if

    20     a drug has been approved by the FDA, there is substantial

    21     information available and publications both about the

    22     physical chemical properties of the drug and about the

    23     safety and efficacy of the drug?

    24     A.      It's fair to conclude that there would be literature

    25     about it, but the decision to move forward is always based
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 233 of 330 PageID #: 7380
                                                                           233
                                     Kibbe - cross

     1     on whether you have enough information to make them

     2     confident that you can go forward.

     3     Q.      If a drug has been approved by the FDA, is it fair to

     4     say that the correlation between the pharmacokinetic of the

     5     drug and the efficacy of the drug would be known?

     6     A.      Well, the agency will not approve something unless

     7     you can show that it's therapeutically effective.           There are

     8     compounds that can be approved that don't have good

     9     pharmacokinetics at all.

    10     Q.      But wouldn't the information available, wouldn't

    11     there be substantial information available about the drug in

    12     its immediate release form?

    13     A.      I'm getting lost in the question.

    14     Q.      My question is if a drug has been approved by the FDA

    15     in immediate release form, wouldn't there be significant

    16     information available to formulators about the efficacy and

    17     safety of the drug?

    18     A.      Well, obviously if a drug has been on the market for

    19     a while, then we know something about its efficacy because

    20     we can read the FDA official labeling.

    21     Q.      And I assume you'll agree with me that in 1990, there

    22     was no approved drug containing 4-AP; correct?

    23     A.      Yes, I believe that is correct.

    24     Q.      And is it also fair to say that in 1990, there was no

    25     universal platform that could be used to make sustained
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 234 of 330 PageID #: 7381
                                                                           234
                                     Kibbe - cross

     1     release formulations of any and all drugs?

     2     A.      The reason they had so many different platforms is

     3     because each of them have a unique characteristic and in the

     4     hand of the person that's expert in that platform, they

     5     would use that.     Some platforms are able to handle lots of

     6     different drugs quite efficiently and only have draw backs

     7     in certain cases.

     8                   So if you have a drug with the characteristics I

     9     talked about which is a relatively short half life, small

    10     dose, a nice absorption pattern, you can probably put it in

    11     a number of the different platforms and it would work.

    12     Q.      But you weren't involved in develop -- in doing

    13     research of that sort; correct?

    14     A.      Excuse me?

    15     Q.      You personally were not involved in doing research of

    16     that sort; correct?

    17     A.      Of comparing different platforms with the same drug?

    18     We did some of that in our teaching, but we didn't publish

    19     about it.

    20     Q.      I would like you to -- well, in 1990, is it fair to

    21     say that the FDA was still in the process of developing

    22     guidelines for evaluating controlled release dosage forms?

    23     A.      I don't think that would be fair to say they were

    24     looking at always improving their guidelines, but they had

    25     improved -- approved a large number of sustained release
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 235 of 330 PageID #: 7382
                                                                           235
                                     Kibbe - cross

     1     dosage forms already, which meant if they didn't have public

     2     guidelines, they had internal guidelines, because that's how

     3     they go about doing everything.

     4                     Then what they do, they call us in, those of us

     5     who work in the area, to have a meeting to talk about what

     6     would be a good set of information for them to use going

     7     forward, and they did that with I think Dr. Skelly and a

     8     group of pharmacokinetics from around the country.

     9     Q.      When you say that they -- well, withdrawn.

    10                     Weren't they in the process of developing

    11     guidelines that they could disseminate to the public so that

    12     researchers could have guidance in developing sustained

    13     release formulations?

    14     A.      Yeah.    Originally the agency didn't tell anybody

    15     anything.    And then the industry started getting anxious and

    16     said tell us what we need to do so we can do it correctly,

    17     early on the first things what are the stability

    18     temperatures that you keep things at to keep them stable and

    19     the agency would say whatever stability temperatures you

    20     think would work, and people didn't like that, they wanted

    21     something more concrete.

    22                     So in the case of sustained release products

    23     which were being approved back in the fifties and sixties,

    24     the companies were going to say well, you approved this one

    25     and you're not going to approve this one, tell me why, where
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 236 of 330 PageID #: 7383
                                                                           236
                                     Kibbe - cross

     1     is the -- so eventually they'll come around to giving you a

     2     guidance.    It's kind of like pulling teeth if you have ever

     3     worked with the agency.

     4     Q.      Could we turn to JTX 108.       And do you recognize JTX

     5     108 as a report of the workshop on in vitro and in vivo

     6     testing and correlations for oral controlled/modified

     7     release dosage forms?

     8     A.      Yes.

     9     Q.      And is that, in fact, a report of an FDA workshop

    10     with respect to controlled release dosage forms?

    11     A.      Yes.

    12     Q.      And there is a list of authors there.         And your name

    13     is not included among the authors; correct?

    14     A.      No, Les Bennett, Joe Robinson whose book we referred

    15     to, Gordon Amidon, who is in Michigan, they are people who

    16     are involved.     I knew them all.

    17     Q.      Who is Joseph Robinson?

    18     A.      He was the author of the book that we referred to

    19     about controlled delivery systems and he was one of my

    20     instructors when I was at Columbia University.

    21     Q.      Wasn't he also one of the authors of the chapters in

    22     Remington's that you relied on?

    23     A.      Yes, he was.

    24     Q.      And you consider him a real authority on sustained

    25     release; correct?
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 237 of 330 PageID #: 7384
                                                                           237
                                     Kibbe - cross

     1     A.       He was.    He's passed away.

     2     Q.       If you look at page 84, column two.

     3     A.       Okay.

     4     Q.       Do you understand this to be a release by the FDA of

     5     guidelines with respect to the development of sustained

     6     release formulations?         Looking at the -- well, I'm asking

     7     you that --

     8     A.       Yes.

     9     Q.       We're looking at the second page on the first full

    10     paragraph in the right-hand column, guideline?

    11     A.       So, I wanted to answer that last question --

    12                      THE COURT:    Dr. Kibbe, hold on.   Let counsel ask

    13     the question and you have been interrupting him a couple of

    14     times.

    15                      THE WITNESS:    I'm sorry.   I apologize.

    16                      You asked me a question which I never got around

    17     to answering.      This is a report of a workshop on that, and I

    18     think the official guidelines have to come out in the

    19     federal registry.

    20     Q.       Would you read the first -- read that paragraph,

    21     please, in the second column beginning with guidelines.

    22     A.       Yes.    "Guidelines for evaluation of

    23     controlled-release pharmaceutical dosage forms may provide

    24     assistance to those designing, conducting and evaluating

    25     studies.    However, it is important at the outset to
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 238 of 330 PageID #: 7385
                                                                           238
                                     Kibbe - cross

     1     recognize that each drug may possess inherent properties

     2     that require considerations specific to that drug and its

     3     dosage forms which may override the generalities of these

     4     guidelines."

     5     Q.      And can you read the next two sentences, please?

     6     A.      "This paper revises the informal guidelines published

     7     in 1987 for the design, construct, and evaluation of studies

     8     of controlled-release pharmaceutical dosage forms."

     9     Q.      Can you go on.

    10     A.      "As was the case previously, no attempt has been made

    11     to achieve completeness."

    12     Q.      And one more sentence.

    13     A.      "The report has been written with the recognition

    14     that it can and should be improved."

    15     Q.      So would you agree with me that -- what's the date on

    16     this paper, 1990; is that correct?

    17     A.      The report is from December of 1988, but it was

    18     published in the International Journal of Pharmaceutics in

    19     1990.

    20     Q.      So at that point, the FDA was in the process of

    21     developing guidelines to guide researchers in developing

    22     sustained release formulations; correct?

    23     A.      Well, of course they say that this paper revises the

    24     informal guidelines published in '87, so they must have had

    25     some document that they were working on originally, and now
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                                                                           239
                                     Kibbe - cross

     1     we are they're trying to improve it.         The agency has always

     2     said that science wins, and if you have a good scientific

     3     reason for doing something outside of the guidelines, you

     4     can document it, they'll accept it.        So that's why they do

     5     the little caveat about this isn't absolute, this is just a

     6     guideline.

     7     Q.      Now, you I think opined, at least in your report,

     8     that a typical goal of a sustained release formulation is to

     9     deliver the drug at a predetermined rate and maintain the

    10     desired drug concentration.       Do you agree with that?

    11     A.      The goal is to maintain Cmin Cmax constantly going

    12     forward.

    13     Q.      And one of the difficulties in developing a sustained

    14     release formulation is the dissolution rate of the product

    15     may not match up with blood levels that you would predict in

    16     terms of the uptake of the ingredient in the body?

    17     A.      If the ingredient has poor absorption characteristics

    18     then that may be true and you may have to readjust your

    19     dosage form.    But with an ingredient that is readily

    20     absorbed, then the rate determining step is liberation from

    21     the dosage form.

    22     Q.      Would you look at the second paragraph on page 90 of

    23     JTX 108.    And could you read that paragraph?

    24     A.      Yes.   "The present state of the science and

    25     technology does not always permit meaningfully correlations
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                                                                           240
                                     Kibbe - cross

     1     between in vitro dissolution rates and the rate and extent

     2     of availability as determined by blood concentrations,

     3     and/or urinary excretion of drug or metabolites referred to

     4     as an in vitro/in vivo correlation.        Development of such

     5     correlations is an important objective and should be

     6     vigorously and systematically pursued on a

     7     product-by-product basis.       Such correlations allow one to

     8     develop product specifications with bioavailability

     9     implications providing maximum assurance and

    10     predictability."

    11     Q.      Now, in 1990, is it fair to say that there was no

    12     already determined rate at which you would want to release

    13     4-AP to treat multiple sclerosis?

    14     A.      There is a reasonable rate that would give you an

    15     extended release that you could then evaluate in a normal

    16     human study.    One of the ways to go about it is to recognize

    17     that this is an easily absorbed product, so liberation is

    18     the key.    And so something that releases over six to ten

    19     hours will likely give you a reasonable blood level curve

    20     during the 12 hour dosing window.

    21     Q.      Let me ask to you look at page 199 of your deposition

    22     testimony in this case.      It says at the bottom on page 199,

    23     do you have that?

    24     A.      I'm getting there.

    25     Q.      It says --
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                                                                           241
                                     Kibbe - cross

     1                      Question:   And I think I was reading from your

     2     report:    A typical goal of a sustained release formulation

     3     is to deliver the drug at a predetermined rate and maintain

     4     the desired drug concentration.

     5                      Do you see that?

     6                      Yes.

     7     A.        Yes.

     8     Q.               Question:   Okay.   And in the case of 4-AP at the

     9     time of the Masterson patent, is it fair to say that there

    10     was no predetermined rate known that -- at which you would

    11     want to release 4-AP?

    12                      And you said:

    13                      Answer:   Well, there was no single absolute

    14     number.    That statement refers to the fact that you're

    15     eventually going to have to come up with a rate of release

    16     and a rate of absorption that gives you the 12 hours'

    17     worth of blood level, but that's all a result of some

    18     experimentation.        You start off with what we talked about,

    19     kinetics and you go from there.

    20                      Do you see that?

    21     A.        Yes, I do.

    22     Q.        You gave that -- I asked that question and you gave

    23     that answer; correct?

    24     A.        Yes.

    25     Q.        Would you look at PTX-95 in your cross binder?
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                                                                           242
                                     Kibbe - cross

     1     A.      The cross.    Okay.

     2     Q.      This is from a chapter from a treatise entitled

     3     Pharmaceutical Dosage Forms.

     4     A.      This is Volume 3 of the tablets.

     5     Q.      It's the tablets volume; is that correct?

     6     A.      Tablet Volume 3.      There is three volumes for tablets.

     7     It covers all the aspects.

     8     Q.      And if we could look at -- and what is the date?           On

     9     the third page of the exhibit, it has the date?

    10     A.      Yes, the copyright is 1990.

    11     Q.      Okay.    And that's the year we're talking about?

    12     A.      Well, that's the copyright.

    13     Q.      But that is the year.      You have opined with respect

    14     to the obviousness of the '938 patent as of 1990; correct?

    15     A.      Yes.

    16     Q.      And if you would look at the first page of this

    17     article, which is chapter 4.       It is entitled, Sustained Drug

    18     Release From Tablets and Particles Through Coating.

    19                     Do you see that?

    20     A.      Yes.

    21     Q.      And who is the author?

    22     A.      Joe Robinson, and one of his colleagues from Schering

    23     Research, Rong-Kun Chang.

    24     Q.      And so that is the same Joe Robinson who authored

    25     the treatise you relied on and the Remington's treatise you
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 243 of 330 PageID #: 7390
                                                                           243
                                     Kibbe - cross

     1     relied on; correct?

     2     A.      Yes.

     3     Q.      And if you look at, in that first paragraph, the last

     4     word on the line, about two-thirds of the way down is

     5     "successful."     Do you see that?

     6     A.      No.

     7     Q.      "Successful."

     8     A.      I think I've got it.      "Successful fabrication of

     9     sustained release."

    10     Q.      Yes.    Can you read that?

    11     A.      Okay.    If you don't mind, I would like to point out

    12     that he does say that the earliest sustained drug delivery

    13     dosage, Your Honor, was made in 1938.

    14                     MR. STIEFEL:   Your Honor, I ask the question --

    15                     THE COURT:   I think he does mind.

    16                     THE WITNESS:   Really.

    17                     THE COURT:   Answer his questions.     He is allowed

    18     to ask the question.

    19     BY THE WITNESS:

    20     A.      Successful clinical performance of these products can

    21     vary considerably.

    22     Q.      Can you go on?

    23     A.      Successful fabrication of sustained release products

    24     is usually difficult and involves consideration of the

    25     physical-chemical properties of the drug, pharmacokinetic
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 244 of 330 PageID #: 7391
                                                                           244
                                     Kibbe - cross

     1     behavior of the drug, route of administration, disease state

     2     to be treated and, most importantly, the placement of the

     3     drug in a dosage form that will provide the desired temporal

     4     and spacial delivery pattern for the drug.          This chapter is

     5     devoted to an examination of one method of sustained release

     6     drug delivery; namely coating.

     7     Q.      And the various properties of 4-AP were, that are

     8     discussed there were largely unknown as of 1990; isn't that

     9     correct?

    10     A.      No, I doubt that is true.       I don't think they are

    11     largely unknown.     We had prior art that talked about the

    12     kinetics of the drug and the nature of its availability and

    13     whether it is metabolized, so we had lots of data.

    14     Q.      So the "lots of data" you are talking about is the

    15     Uges paper?

    16     A.      Uges.

    17     Q.      And what was known about the desired temporal and

    18     spacial delivery pattern for the drug?

    19     A.      If a drug has a window of absorption, then it needs

    20     to release during that window of absorption.          This is for

    21     drugs which have active transport mechanisms or have poor

    22     membrane different fusion characteristics.

    23                     These drugs would not give rise to the same

    24     bioavailability after an oral or enteric coated tablet.

    25                     They would have problems that would show up
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 245 of 330 PageID #: 7392
                                                                           245
                                     Kibbe - cross

     1     early in the development or early in your exposure of that

     2     drug to testing.

     3     Q.      Would you turn to page 201 of PTX-95?

     4     A.      Okay.

     5     Q.      Under the heading 2, Requirements For Sustained Drug

     6     Release.    Can you read that first sentence?

     7     A.      Design of a sustained-release product is normally a

     8     very difficult task because of the interplay of the

     9     physical-chemical-biological properties of the drug, and the

    10     patient disease state.

    11     Q.      And you told me at your deposition that you generally

    12     agree with that statement; correct?

    13     A.      I generally agree with that.

    14     Q.      And you testified -- so, Dr. Robinson says that

    15     design of a sustained release product as of 1990 at least is

    16     normally a very difficult task; correct?

    17     A.      It takes time.     It is --

    18     Q.      Is that what -- excuse me.

    19     A.      That is exactly what he said.

    20     Q.      That is what Dr. Robinson said?

    21     A.      Yes.

    22     Q.      And you testified earlier this afternoon that the

    23     process of developing a sustained release formulation is,

    24     quote, "really straightforward;" correct?

    25     A.      Yes.
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                                                                           246
                                     Kibbe - cross

     1     Q.      Now, you testified that it would have been obvious

     2     to, in 1992, to try to develop a sustained release

     3     formulation of 4-AP because of the advantages that that

     4     would present; correct?

     5     A.      Yes, that is correct.

     6     Q.      And you posit that one would have been motivated

     7     to come up with a more convenient 4-AP formulation

     8     notwithstanding that the usefulness of 4-AP was an open

     9     question and it wasn't approved by the FDA; correct?

    10     A.      Well, the usefulness was being developed and being

    11     examined, and it was clearly being shown to be useful or

    12     could be useful, at least some of the MS patients.           So

    13     without an FDA approval, that doesn't mean I'm not

    14     interested in coming up with a dosage form that I could go

    15     forward with and get FDA approval.

    16     Q.      Okay.    But nobody else had done that as to any other

    17     drugs as far as you knew; correct?

    18     A.      What, developed a dosage form before they went to the

    19     FDA?   They all do that.

    20     Q.      Developed a sustained release dosage form before they

    21     went to the FDA with respect to any -- with respect to an

    22     immediate release formulation of the same drug.

    23     A.      Okay.    So, yes, I said that I didn't know of any of

    24     those sustained release products that are on the market that

    25     weren't already there as an immediate release.          But I think
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 247 of 330 PageID #: 7394
                                                                           247
                                     Kibbe - cross

     1     often when they go to the agency to get a product on the

     2     market, they're already working on the sustained release

     3     independent of approval of their immediate release product.

     4     Q.      Okay.    Let's look at JTX-137.

     5     A.      JTX?

     6     Q.      That's the Uges paper that you testified to.

     7     A.      Yes.

     8     Q.      And as far as you know, that was, as of 1990, the

     9     only available published information about pharmacokinetics

    10     of 4-AP; correct?

    11     A.      This is the one I rely on.       This is the one we found

    12     that I think applies to this situation, yes.

    13     Q.      Okay.    And in, on the second page, page 588, there is

    14     a table, Table 1.     Do you see that?

    15     A.      Yes.

    16     Q.      And that is a substantial part of the pharmacokinetic

    17     information in this paper; correct?

    18     A.      This is the kinetics that comes from the model that

    19     they wanted to apply to the kinetics.

    20     Q.      Okay.

    21     A.      And the model has rate constant to move the drug

    22     between different portions of the body, depending on how

    23     rapidly it gets there and how hence it all decays.

    24     Q.      And the model they used was a proprietary program

    25     that wasn't available to the public; correct?
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                                                                           248
                                     Kibbe - cross

     1     A.      They might have had a proprietary program to do the

     2     calculation, but the model is all in the literature.

     3     Q.      And the data that you relied on or that you pointed

     4     to in Table 1 comes from a total of nine subjects; correct?

     5     A.      That's right.

     6     Q.      And it comes -- and the data in Table 1 reflects,

     7     doesn't it -- withdrawn.

     8                     The data in this paper reflects, doesn't it,

     9     that there is a significant variability in the

    10     pharmacokinetics of 4-AP from patient to patient?

    11     A.      I'm sorry.    There is variability in all of the terms

    12     that they calculate.

    13     Q.      But doesn't the data in this paper reflect that there

    14     is significant variability from patient to patient with

    15     respect to the pharmacokinetics of 4-AP?

    16     A.      Okay.    So the calculated values they have have

    17     standard deviation numbers within them which reflects the

    18     variability.     There are no patients in this paper.

    19     Q.      Well, sorry.     These subjects --

    20     A.      These are healthy subjects already.

    21     Q.      Right.

    22     A.      We can -- anyhow, that is neither here, nor there.

    23     If you look at the data in fact on Table 2, you will see

    24     that the standard deviations are less than 10 percent of the

    25     mean values.     That doesn't make them significant.        Usually,
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                                                                           249
                                     Kibbe - cross

     1     you have a tighter range, if you will, when you are dealing

     2     with normal subjects that you have selected from the age

     3     group of 25 to 35, and ideal body weight, and all that.            And

     4     we do that on purpose to get a real handle on what the

     5     numbers are.

     6     Q.       Well, would you agree with me first of all, Dr.

     7     Kibbe, that the data in Table 1 shows that the nine subjects

     8     can be broken down from a pharmacokinetics perspective to a

     9     five where the data corresponds to a triexponential model

    10     and four in which the data corresponds to a biexponential

    11     model?

    12     A.       Okay.   So the application --

    13     Q.       Can you tell me "yes" or "no" whether that is what

    14     Table 1 reflects?

    15     A.       The authors decided to do that, to analyze it on the

    16     basis of biexponential or triexponential decay curve.

    17     Q.       And so --

    18     A.       The data that they got from both of those things

    19     match across both.      Oops.

    20     Q.       So if one looks at -- you said that the data, the

    21     dispersion or the variation is ten percent.          If you look at

    22     item C1, that says that the mean is 7302, and the standard

    23     deviation plus or minus 5893.

    24     A.       Yes.

    25     Q.       Correct?
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                                                                           250
                                     Kibbe - cross

     1     A.      Yes.

     2     Q.      So way more than ten percent; correct?

     3     A.      But C1 isn't --

     4     Q.      Sir.

     5     A.      Can I?

     6     Q.      Well --

     7     A.      C1 is an extrapolated value that often has a higher

     8     variability than the standard numbers that you would use to

     9     make predictions such as the terminal rate constant.

    10     Q.      And C0 has similarly a mean of 7488 plus or minus

    11     5905; is that correct?

    12     A.      Yes.   They're trying to take five patients and push

    13     them into a triexponential and extrapolate the concentration

    14     back to zero time when they don't have data going back that

    15     far and they get into this kind of an issue.

    16     Q.      And when you look at, if you look at the T1/2, lambda

    17     1, that value; correct?

    18     A.      Yes.

    19     Q.      You said that the bi- and triexponential values

    20     correspond there, T1/1 is in the triexponential is .82 plus

    21     or minus .28, and in the biexponential it is 5.15 plus or

    22     minus 1.97; correct?

    23     A.      In order to get there from the other ones, you have

    24     to recognize in the triexponential they added an exponential

    25     which gave them lambda 2 at 11.6.        So if you start to
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                                                                           251
                                     Kibbe - cross

     1     average lambda 1 and lambda 2, you will get lambda 1 in the

     2     biexponential function or at least approximately that, and

     3     then the terminal lambda or terminal rate constant is 234 to

     4     198, and that reflects the differences in the model more

     5     than the differences in the drug.

     6     Q.      Would you expect that someone who undertaking to

     7     develop a sustained release formulation of a drug that had

     8     never been approved by the FDA in any form would want

     9     pharmacokinetics data from more than nine subjects?

    10     A.      Everybody wants more data than they have.          That's

    11     kind of a rule.     But this data tells you what you need to

    12     know about whether or not this drug is a good candidate

    13     for sustained release.      And you know that you are going to

    14     go forward with additional experiments to refine your

    15     understanding.

    16                    If you look at the Figure 2, you will notice

    17     that the terminal slope of the dosage administered orally

    18     and the dosage administered orally that is enteric coated

    19     are parallel, which means the drug acts and behaves

    20     consistently regardless of those two dosage forms.           That

    21     tells you a lot about the consistency you expect to get when

    22     you finally make your sustained release product.

    23     Q.      If you look at page 591 in the first column, at the

    24     bottom, the bioavailability.

    25     A.      Yes.
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 252 of 330 PageID #: 7399
                                                                           252
                                     Kibbe - cross

     1     Q.      You talked about the bioavailability of the drug as

     2     being 100, essentially 100 percent; correct?

     3     A.      Right.

     4     Q.      And this reflects that the terminal T1/2 was 95 plus

     5     or minus 29 percent; correct?

     6     A.      Okay.    So let's read the whole sentence because

     7     otherwise it will be misleading.

     8                     The bioavailability of the enteric coated tablet

     9     calculated by means of the AUC and corrected for the

    10     terminal half-life.

    11                     And what that means is they took the last

    12     measured data point and they divided it by the terminal

    13     half-life to get the tail that wasn't measured.           That is

    14     what they mean.

    15     Q.      But the terminal half-life was 95 plus or minus

    16     29 percent; correct?

    17     A.      No, that's wrong.      You are reading that wrong.       The

    18     area under the curve --

    19     Q.      Oh, sorry.    The bioavailability.

    20     A.      Right, was 95.

    21     Q.      Was 95 plus or minus?

    22     A.      And 98 percent.

    23     Q.      And 98 percent plus or minus.

    24                     THE COURT:   Hold on.   One at a time.

    25                     THE WITNESS:   I'm sorry.
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                                                                           253
                                     Kibbe - cross

     1                       THE COURT:   Or this will make no sense to

     2     anyone.

     3                       Go ahead, Dr. Kibbe.

     4     BY THE WITNESS:

     5     A.        Okay.    When you calculate an area under the curve,

     6     you usually do the trapezoidal rule, which means that for

     7     every segment of time, you go up to the curve line and get

     8     the values and calculate area of that trapezoid.           At the

     9     end, you only have one data point, and yet it goes on for

    10     infinity, and to calculate the area for the last data point

    11     to infinity, you take that data point and you divide it by

    12     the terminal rate constant, and all that does is complete

    13     your area under the curve.

    14                       And so that is what they did.    And the 95 that

    15     is here refers to the area under the curve, not to the

    16     half-life.

    17     Q.        Okay.

    18     A.        Okay.

    19     Q.        So the 95 plus or minus 29 percent refers to the area

    20     under the curve and the standard deviation?

    21     A.        For that number.     For the area under the curve.        And

    22     it did not differ from the bioavailability of 98 plus or

    23     minus 8 percent calculated from total urinary excretion

    24     which, is in some cases a cleaner number to get, but ...

    25     Q.        And the Remington, you pointed to excerpts from
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 254 of 330 PageID #: 7401
                                                                           254
                                     Kibbe - cross

     1     Remington which listed a number of sustained release

     2     formulation products that were available in 1990; correct?

     3     A.      That's correct.

     4     Q.      And you're not aware of any of those drugs having

     5     been available -- you're not aware that any of those drugs

     6     were available in sustained release formulation without

     7     first having been available in an immediate release

     8     formulation; correct?

     9     A.      I haven't done an analysis to find that out because

    10     it didn't affect my understanding of how you would proceed

    11     to make a sustained release product.

    12     Q.      But I asked you about that at your deposition and you

    13     have not since then found that any of those drugs were

    14     available in sustained release formulations before they were

    15     available in immediate release formulations; correct?

    16     A.      Okay.    That question -- I did not find that the

    17     combination of products were available as an immediate

    18     release.    They were only available as a sustained release.

    19     But the individual elements were available as immediate

    20     release.

    21     Q.      Would you look at JTX 112.       That's the Stefoski paper

    22     that you referred to; is that correct?

    23     A.      Yes.

    24     Q.      Maybe we can more easily cull up DTX 322, which I

    25     think you looked at.      And that -- am I correct that that
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 255 of 330 PageID #: 7402
                                                                           255
                                     Kibbe - cross

     1     reflects the abstract at the beginning?

     2     A.      That's the abstract from the article, you're correct.

     3     Q.      That reflects that this was a test involving 15 MS

     4     patients; correct?

     5     A.      20.    I'm sorry, 12.    12.    Sorry.

     6     Q.      I think it says --

     7     A.      12 temperature sensitive male patients with MS and

     8     five normal.

     9     Q.      I am on the wrong page.

    10     A.      I feel better.

    11     Q.      12, I stand corrected.         And if you look at the last

    12     sentence of that abstract, can you read that, please?

    13     A.      "The improvements with 4-AP are substantial enough to

    14     be of therapeutic benefit in selected patients, transient

    15     therapeutic.

    16     Q.      To be of transient therapeutic benefit?

    17     A.      Got it.

    18     Q.      If you turn the page or if we move on to DDX 323,

    19     that's a slide that you prepared?

    20     A.      Yes.   It's from.

    21     Q.      And you chose to highlight the language about the

    22     magnitude of the improvements we observed without serious

    23     side effects; correct?

    24     A.      Yes.   But I did in court quote the entire sentence,

    25     but talking about although there is side effects, and if you
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 256 of 330 PageID #: 7403
                                                                           256
                                     Kibbe - cross

     1     remember, the whole goal is to keep the levels below that

     2     level that would kick in those side effects, and if you can,

     3     then you can get...

     4     Q.      After the highlighted part, after the part that says

     5     that the magnitude of the improvements suggest a clinical

     6     usefulness for this agent, it goes on to say, studies are

     7     currently underway to assess this possibility; correct?

     8     A.      Yes, it does say that.

     9     Q.      And so the authors used the word possibility with

    10     respect to the use of 4-AP; correct?

    11     A.      They did.

    12     Q.      And the last sentence goes on to say in addition a

    13     search for new agents that can increase the conduction

    14     safety factor and testing for their efficacy in MS are

    15     warranted; correct?

    16     A.      Yes.

    17     Q.      So the author was saying notwithstanding what we

    18     think about 4-AP, we should be looking for other things

    19     besides 4-AP or other than 4-AP; correct?

    20     A.      Yes, that's the general goal of any innovative

    21     manufacturing company is to find new and better forms that

    22     can treat the conditions they treat.

    23     Q.      Would you look at -- now at -- and Stefoski, just to

    24     be clear, Stefoski was an experimental use of 4-AP; correct?

    25     A.      He was doing an experiment, these were not commercial
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 257 of 330 PageID #: 7404
                                                                           257
                                     Kibbe - cross

     1     products.

     2     Q.      In we could just bring up DDX 3-23 again, when the

     3     caption says 4-AP was already being used as an immediate

     4     release to treat the chronic disease MS, we're talking only

     5     about an experimental fashion in a very, very small number

     6     of people; correct?

     7     A.      Well, it hasn't been commercialized yet, so you're

     8     always starting -- in the normal development of a drug, the

     9     phase one test is in a small number.         And this is the

    10     beginnings of getting that data together.

    11     Q.      Now, would you look at JTX 43.        JTX 43 is the Davis

    12     paper that you relied on; is that correct?

    13     A.      Yes, it is.

    14     Q.      And if we could cull up DDX 3-24, I think that shows

    15     the abstract from JTX 43 that you pointed to; is that

    16     correct?

    17     A.      Yes, it is.

    18     Q.      And in this, there -- this is a study involving 15 MS

    19     patients; correct?

    20     A.      Okay.    So that's kind of incorrect, too.        20

    21     temperature sensitive male patients were given either 10 to

    22     25 milligrams of 4-AP, it looks like 20.         Five lines down in

    23     the middle.

    24     Q.      20?     Or identically appearing lactose placebo

    25     capsules.     20 in the study, but all of 15 MS patients given
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                                     Kibbe - cross

     1     4-AP, there were only 15 that got 4-AP in this study.

     2     A.       Yes.

     3     Q.       It goes on to say at the end that -- would you read

     4     the last sentence of the abstract.

     5     A.       "Further studies are warranted to assess efficacy and

     6     safety of prolonged administration."

     7     Q.       And that wasn't something you highlighted on the

     8     slide that you presented; correct?

     9     A.       No.    I talked about the sentence in front of it.

    10     Q.       Would you turn to JTX 27.      JTX 27 is a paper by

    11     Bever; is that correct?

    12     A.       That's what the author's name is, Christopher T.

    13     Bever.

    14     Q.       And it's dated 1994?

    15     A.       Yes, Annals of Neurology, 1994.

    16     Q.       And would you look at the page that has the number --

    17     the page number in the document of S119, it's the second

    18     page of the paper?

    19     A.       Yes, I got it.    I keep looking at these.

    20     Q.       If you look at the second column and the first full

    21     paragraph, it says, there is a sentence that begins on the

    22     last line with blinded?

    23     A.       So I'm reading early clinical trials suggest that AP

    24     and DAP.

    25     Q.       I want you to read the sentence that starts with
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                                                                           259
                                     Kibbe - cross

     1     blinded, the third sentence in the paragraph.

     2     A.      "Blinded controlled trials of intravenous and oral AP

     3     in temperature sensitive MS patients also suggested

     4     benefit."

     5     Q.      But these.

     6     A.      "But these studies were limited because they did not

     7     use a randomized treatment design, were not double-blinded,

     8     and relied on outcome measures that were not widely

     9     accepted."

    10     Q.      And the reference there to in brackets to references

    11     19 to 21, if you turn to the last page of this paper,

    12     references 19 and 20 are the Stefoski and Davis papers that

    13     you just testified about; is that correct?

    14     A.      Yes.

    15     Q.      You testified about a Ritschel paper; is that

    16     correct?

    17     A.      No, a book.

    18     Q.      A Ritschel book.     And the Ritschel book is dated

    19     1999; is that correct?

    20     A.      That was the edition I had in my office, yeah.

    21     Q.      So that was not -- that's certainly not prior art to

    22     the 1938 patent?

    23     A.      No, I can't prove, but I will tell you that all those

    24     equations were developed in the sixties.         This is an ongoing

    25     text I use.    If I had retrieve earlier editions, I would
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                                                                           260
                                     Kibbe - cross

     1     have.

     2     Q.      To the extent that you provided that to the Court,

     3     it's the 1999 edition?

     4     A.      Yes.

     5     Q.      And that, the -- that treatise provided

     6     pharmacokinetic data with respect to a variety of drugs;

     7     correct?

     8     A.      It has an appendix in the back that is reasonably

     9     up-to-date.    But it's mostly used for the equations and the

    10     references about how to use or apply those equations to get

    11     individual treatment regimens for individual patients.

    12     Q.      And that, the treatise didn't include any information

    13     on 4-AP; correct?

    14     A.      No, it didn't.

    15                    MR. STIEFEL:    I have no other questions.       Thank

    16     you.

    17                    THE COURT:   Thank you.

    18                    Redirect.

    19                    MR. STIEFEL:    I have some exhibits to admit.

    20                    THE COURT:   Okay.     You may offer those now.

    21                    MR. STIEFEL:    My apologies, Your Honor.      One --

    22     the plaintiffs offer JTX-108, PTX-95, and JTX-27.

    23                    THE COURT:   Any objections to those exhibits?

    24                    MR. FLORENCE:    No.

    25                    THE COURT:   Those are admitted.
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                                                                           261
                                    Kibbe - redirect

     1                      MR. STIEFEL:   Thank you, Your Honor.

     2                                REDIRECT EXAMINATION

     3     BY MR. FLORENCE:

     4     Q.        Dr. Kibbe, I have a few more questions for you.

     5     Remember earlier today you were asked whether or not you

     6     conducted any research or published any research during your

     7     time at Wilkes University?

     8     A.        Yes.

     9     Q.        Is the focus of Wilkes University, is the pharmacy

    10     department a research department at Wilkes?

    11     A.        No, Old Miss was research intensive.       Wilks is not a

    12     research intensive institution.        I was happy to be able to

    13     do trials with some of my students that resulted in posters.

    14     Q.        Dr. Kibbe, if you can, let's turn to JTX 108, please.

    15     And you recall being asked about this particular exhibit

    16     during your cross-examination, Dr. Kibbe?

    17     A.        Yes, I was.

    18     Q.        I would like to have you turn to the second page,

    19     please.    And the right-hand column, same paragraph that

    20     counsel had you focus on before that begins with

    21     "guidelines"?

    22     A.        Yes.

    23     Q.        And Dr. Kibbe, isn't it true that despite the absence

    24     of guidelines in 1990, that the FDA for sustained release

    25     formulations that there was still a large number of FDA
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                                                                           262
                                    Kibbe - redirect

     1     sustained release formulations?

     2                    MR. STIEFEL:    Leading.

     3                    THE COURT:   That is leading.     Ask a different

     4     way, please.

     5     THE ATTORNEY:

     6     Q.      Dr. Kibbe, what amount of sustained release

     7     formulations had been approved in 1990?

     8     A.      There were a large number and we put up a slide with

     9     a whole bunch of them that were approved prior to 1990.            In

    10     fact, Contac was approved back in the '50s.          This was long

    11     before this group got together.        The agency had been

    12     approving sustained release products for a long time, and I

    13     think I included that in my answer to the learned colleague

    14     from across the aisle.

    15     Q.      Dr. Kibbe, do you recall being asked whether or not

    16     you knew if a sustained release formulation that's had been

    17     approved at that time, whether or not they had all been

    18     previously approved in an immediate release formulation?

    19     A.      Yes, and I don't know.

    20     Q.      But I just want to make sure the record is clear,

    21     Dr. Kibbe, is it you don't know if they were approved or you

    22     don't know that they weren't?

    23     A.      Either, I don't know one way or the other.

    24     Q.      Now, Dr. Kibbe, let's -- despite the fact that there

    25     were not guidelines that were approved by the FDA in 1990
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                                                                           263
                                    Kibbe - redirect

     1     for sustained release formulations, does 4-AP have inherent

     2     properties that make it attractive as a sustained release

     3     formulation?

     4     A.      Yes, it does, and we went through those in my direct.

     5     Q.      In light of those characteristics, would a person of

     6     ordinary skill in the art be motivated to develop a

     7     sustained release formulation despite the absence of

     8     guidelines?

     9     A.      Yes.

    10     Q.      Now, Dr. Kibbe, let's go to JTX 90, please.          Actually

    11     that's not where I want to go.        Go ahead and take that down.

    12                    I just have a question for you, Dr. Kibbe.         Is

    13     an in vitro/in vivo correlation required before a person of

    14     ordinary skill in the art would be motivated to develop a

    15     sustained release formulation?

    16     A.      You can't have it until you have the formulation, so

    17     it's not prerequisite to motivate you to do it, it's a

    18     quality control test that you develop in the process of

    19     making a sustained release, so you can correlate the in

    20     vitro test what you do in a laboratory in each batch with an

    21     in vivo results with a bioequivalency or bioavailability

    22     studies.

    23     Q.      Dr. Kibbe, let's turn to PTX 95, please.

    24     A.      Oh, PTX.

    25     Q.      Yes, please.
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                                                                           264
                                    Kibbe - redirect

     1     A.      I'm in the wrong binders, I'm sorry.         Right.

     2     Q.      It should be --

     3     A.      I have it.

     4     Q.      And if you could turn to the next page, the

     5     introduction.

     6     A.      Right.

     7     Q.      One more, please.      And you recall being asked about

     8     the section where it begins at the bottom of the first

     9     paragraph where it says, begins with successful fabrication

    10     of sustained release products?

    11     A.      Yes.

    12     Q.      Dr. Kibbe, can the development of a dosage form be

    13     both difficult and straightforward at the same time?

    14     A.      Well, it can take time, but what you're doing is

    15     standard tests which give you an answer to one question and

    16     you move on to answer the next question.         And the more

    17     information you have before you start or the more compliant

    18     the active the pharmaceutical ingredient is in terms of it

    19     being an outstanding candidate, the easier the process

    20     becomes.

    21     Q.      Let's go ahead and take a look at the Ritschel

    22     reference.     It should be JTX 66.

    23     A.      JTX 56.

    24     Q.      JTX 66.

    25     A.      66, that's better because I have 66, I don't have 56.
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                                                                           265
                                    Kibbe - redirect

     1     Yes.

     2     Q.      And you recall, Dr. Kibbe, being asked whether or not

     3     the Ritschel reference was prior art to the 1938 patent?

     4     A.      That's right.

     5     Q.      What were you relying on from the Ritschel reference

     6     for your opinion?

     7     A.      I was using it as an example of what goes on when you

     8     give multiple doses on a stylized way to explain the meaning

     9     of Cmin Cmax and the equations that are available to allow

    10     you to calculate them.

    11     Q.      And Dr. Kibbe, was there enough information in the

    12     prior art that you didn't need to calculate this information

    13     prior to 1990?

    14     A.      That's true.

    15     Q.      And what information were you relying on for that?

    16     A.      I was using Hayes for that.

    17     Q.      Dr. Kibbe, let's go to the Stefoski reference,

    18     JTX-112.

    19     A.      (Witness complies.)

    20     Q.      And, Dr. Kibbe, you testified that the Stefoski

    21     reference actually relied on the Uges data; is that correct?

    22     A.      They quote or they reference Uges in the back of

    23     their text, and it's my opinion that they are cognizant of

    24     those numbers and know that the product is bioavailable when

    25     given orally or they wouldn't have recommended oral dosing.
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                                                                           266
                                    Kibbe - redirect

     1     Q.        Dr. Kibbe, let's go ahead and take a look at the

     2     Bever reference that you were questioned on.          It should be

     3     JTX-27.

     4     A.        (Witness complies.)

     5     Q.        And if you recall, Dr. Kibbe, you were questioned

     6     about a portion of this reference that is on the bottom of

     7     the page of S-119.

     8                      And you were questioned about a portion of the

     9     paragraph that begins, the first full paragraph in the

    10     right-hand column that begins:        With early clinical trials.

    11                      And you recall Dr. Kibbe being questioned about

    12     a sentence that states:      Blinding control trials of

    13     intravenous and oral AP in temperature sensitive MS patients

    14     also suggested benefits, but these studies were limited

    15     because they did not use a randomized treatment design, were

    16     not double blinded, and relied on outcome measures that were

    17     not widely accepted.

    18                      Do you see that?

    19     A.        Yes.

    20     Q.        Do you have an understanding of what the term

    21     "limited" means there?      How would you read that?

    22     A.        That means that you can't draw a lot of conclusions

    23     from them, but you can draw some.        And those conclusions

    24     could be verified by a larger study.

    25     Q.        And, Dr. Kibbe, let's go ahead and look at the front
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                                                                           267
                                    Kibbe - redirect

     1     of the Goodman reference.       Look at the publication date on

     2     the front of that reference.

     3     A.      Yes, it's 1994.

     4     Q.      And what is the priority date for the '938 patent?

     5                     MR. STIEFEL:    Your Honor, I think counsel may

     6     have misspoken.     Did you call this the Goodman reference?

     7                     MR. FLORENCE:    Oh, I did.    I did.   I misspoke.

     8     To clear up the record, we're talking about the Bever

     9     reference.

    10                     THE COURT:   Thank you.

    11     BY THE WITNESS:

    12     A.      Okay.    So this is not prior art to the '938 because

    13     it's priority date is 1990, I guess.          I can't remember off

    14     the top.

    15     Q.      So, but would a person of ordinary skill in the art

    16     have the benefit of Bever's thoughts regarding the

    17     information contained in this reference?

    18     A.      No, not when they were developing that patent.

    19     Q.      Dr. Kibbe, let's go back to your demonstrative

    20     slides, if we can, to your chart that applies the

    21     characteristics of 4-AP to sustained release formulations.

    22                     Now, Dr. Kibbe, what was in the prior art that

    23     would have motivated a person of ordinary skill in the art

    24     to make a sustained release formulation of 4-AP?

    25     A.      It has all the characteristics --
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                                                                           268
                                    Kibbe - redirect

     1                    MR. STIEFEL:    Objection.    It seems to me this is

     2     beyond the scope of the cross.

     3                    THE COURT:   What is your response?

     4                    MR. FLORENCE:    I disagree, Your Honor.

     5                    THE COURT:   Well, how is it not?

     6                    MR. FLORENCE:    Well, Dr. Kibbe was asked about

     7     each one of these references that he is relying on in this

     8     cross-examination.

     9                    THE COURT:   Mr. Stiefel, is there anything

    10     further on that?

    11                    MR. STIEFEL:    Well, I don't think -- I'm not

    12     sure exactly what you are going to do with this, but

    13     certainly we didn't discuss whether 4-AP lent itself -- the

    14     questions were not directed to whether 4-AP lent itself to

    15     making a sustained release formulation.         The questions were

    16     directed to whether it was a wise thing to be spending time

    17     on and whether you could have done it, but not whether 4-AP

    18     is something you could have made a sustained release

    19     formulation.

    20                    THE COURT:   All right.    I will overrule the

    21     objection.    We'll see where the question is going.         Go

    22     ahead.

    23     BY MR. FLORENCE:

    24     Q.       Dr. Kibbe, would a person of ordinary skill in the

    25     art have looked at each of the references that you have
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                                                                           269
                                    Kibbe - redirect

     1     referenced here in this chart individually?

     2     A.      No, you take them as a body because you are looking

     3     for all the characteristics of 4-AP that lend itself to the

     4     possibility that you would have a high probability of being

     5     successful when you made your sustained release product, and

     6     you could get a drug that you could give twice a day,

     7     because that really is what the patient needs.

     8                   MR. FLORENCE:     I have no further questions,

     9     Your Honor.    But I would like to enter a few exhibits into

    10     evidence.

    11                   THE COURT:    Okay.

    12                   MR. FLORENCE:     If there is no objection, I would

    13     like to enter the following exhibits:         DTX-129, JTX-79,

    14     JTX-137, JTX-81, and JTX-66.

    15                   THE COURT:    Is there any objection?

    16                   MR. STIEFEL:     No objection, Your Honor.

    17                   THE COURT:    Okay.    Those are all admitted.

    18                   (Above referenced exhibits are admitted into

    19     evidence.)

    20                   THE COURT:    And we're done with this witness?

    21                   MR. FLORENCE:     Yes.

    22                   THE COURT:    Okay.

    23                   MR. FLORENCE:     Thank you, Your Honor.

    24                   THE COURT:    Dr. Kibbe, you may step down.

    25                   THE WITNESS:     Thank you, Your Honor.
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                                                                           270


     1                   THE COURT:    What did defendants have in mind for

     2     next, please?

     3                   MR. KLEIN:    Your Honor, subject to any comments,

     4     I believe we're ready to close our case.

     5                   There is one logistical issue.        As you know, we

     6     had some demonstrative exhibits.        And I think the last time

     7     we had a trial, we introduced them into evidence as

     8     demonstratives and we would ask to introduce DDX-1 through

     9     3.

    10                   THE COURT:    Is that the slides?

    11                   MR. KLEIN:    Those are the slides, yes.

    12                   THE COURT:    Are you seeking to put in all the

    13     slides as just simply demonstratives?

    14                   MR. KLEIN:    Correct.

    15                   THE COURT:    Okay.    What is the plaintiffs'

    16     position on that?

    17                   MR. STIEFEL:     I think we have objection to the

    18     demonstratives being admitted into evidence.          We think

    19     they're prejudicial.

    20                   THE COURT:    Right.     They're not --

    21                   MR. STIEFEL:     They're misleading.

    22                   THE COURT:    They're not being offered as

    23     evidence.    I think they just want me to know that I have

    24     them as demonstratives for whatever value they have.             And

    25     I'm sure they don't object to you doing the same on your
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                                                                           271


     1     side, but if you have an objection to that approach, that is

     2     fine, but the objection can't be, well, they shouldn't be

     3     evidence because they're not being offered as evidence.

     4                    MR. STIEFEL:     All right.   Notwithstanding our

     5     view that they are misleading and should be treated

     6     differently from evidence, we will withdraw our objection.

     7                    THE COURT:   All right.    Well, they will be

     8     treated differently as evidence.        They are not evidence.

     9     Right?    You are not offering them as evidence.

    10                    MR. KLEIN:   That's correct.     But we may

    11     reference them in post-trial briefs as a demonstrative, not

    12     as evidence.

    13                    THE COURT:   As a demonstrative, and I have them.

    14                    MR. KLEIN:   Right.

    15                    THE COURT:   So to the extent there is an

    16     objection, it is overruled, but I don't believe there to be

    17     an objection.

    18                    So with that?

    19                    MR. KLEIN:   We rest, Your Honor.

    20                    THE COURT:   All right.    Well, before we turn to

    21     them for their case, we will take a break.          We will be in

    22     recess.

    23                    (Brief recess taken.)

    24                    *     *      *

    25                    (Proceedings reconvened after recess.)
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                                                                           272


     1                   THE COURT:    Okay.    Plaintiffs may call their

     2     first witness.

     3                   MR. STIEFEL:     Your Honor, before we do that, I

     4     wanted to move under Rule 52(c) of the Federal Rules of

     5     Civil Procedure and Paragraph 80 of the Pretrial Order for

     6     judgment, essentially as a matter of law or judgment of

     7     partial findings based on the fact that plaintiffs have --

     8     the defendants have concluded their case on invalidity and

     9     have not demonstrated, as they must by clear and convincing

    10     evidence, that the patents in suit are obvious and invalid

    11     on that basis.

    12                   We would also like to move similarly on the

    13     grounds that the defendants have not proven that the

    14     patents in suit are invalid under Section 112.          I think

    15     their witnesses have, who had submitted reports with respect

    16     to validity under Section 112, avoided those issues, as was

    17     essentially indicated what happened in the opening by

    18     counsel for the defendants.       And given that they did not put

    19     on evidence at all on the issue of 112, the Court should

    20     grant judgment on at least that issue, if not the entire

    21     case at this juncture.

    22                   THE COURT:    Okay.    Do defendants want to address

    23     that?

    24                   MR. KLEIN:    Your Honor, we defer to the Court.

    25     Given that it's a bench trial and we're going to have
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                                                                           273
                                    Cohen - direct

     1     closing arguments on Friday, we ask you to deny the motion

     2     without prejudice and address the issues they raise later,

     3     but I'm happy, if you want to hear argument, I'm happy to

     4     address them now.

     5                   THE COURT:    I am going to deny them without

     6     prejudice, but if you want to be heard on them now, that's

     7     up to you.

     8                   MR. KLEIN:    No, that's okay, Your Honor.        I'd

     9     rather move forward.

    10                   THE COURT:    Okay.    Then the motions are denied

    11     without prejudice, and let's move on with the evidence.

    12                   MR. DiNAPOLI:     Your Honor, plaintiffs call as

    13     their first witness, Dr. Ron Cohen.

    14                   THE COURT:    Okay.

    15                    ... RON COHEN, having been first duly sworn,

    16     was examined and testified as follows ...

    17                   THE COURT:    Welcome, Dr. Cohen.      Good afternoon.

    18                   THE WITNESS:     Thank you.

    19                   MR. DiNAPOLI:     Your Honor, may I approach the

    20     witness?

    21                   THE COURT:    You may.

    22                   (Binders passed forward.)

    23                              DIRECT EXAMINATION

    24     BY MR. DiNAPOLI:

    25     Q.      Dr. Cohen, are you currently employed?
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                                                                           274
                                    Cohen - direct

     1     A.       I am.

     2     Q.       How?

     3     A.       I am President and CEO of Acorda Therapeutics.

     4     Q.       And are you the Ron Cohen that is named as an

     5     inventor on the Acorda patents asserted in this case?

     6     A.       I am.

     7     Q.       What is Acorda?

     8     A.       Acorda is a biopharmaceutical company focused on

     9     developing therapies to improve or restore function in

    10     people with neurological diseases.

    11     Q.       And how many employees does Acorda have?

    12     A.       Close to 600.

    13     Q.       What products does Acorda sell?

    14     A.       Our main product is Ampyra, for improving walking in

    15     MS.   And we have two much smaller products, one called

    16     Zanaflex capsules and the other one called the Qutenza

    17     patch.

    18     Q.       What is Ampyra?

    19     A.       Ampyra is a twice daily pill formulation of

    20     4-aminopyridine or dalfampridine indicated to improve

    21     walking in people with MS.

    22     Q.       I'm going to ask you about your development of

    23     Ampyra, but first I want to ask you a few questions about

    24     your background.

    25                      Did you go to college?
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                                    Cohen - direct

     1     A.      I did.

     2     Q.      Where?

     3     A.      Princeton University, and I graduated with a BA

     4     degree in Psychology in 1977.

     5     Q.      And did you continue your formal education after

     6     Princeton?

     7     A.      Yes.   I obtained an MD degree from the Columbia

     8     College of Physicians and Surgeons in New York in 1981.

     9     Q.      What did you do after you graduated from Columbia?

    10     A.      I completed a three year residency program in

    11     Internal Medicine in 1984 at the University of Virginia in

    12     Charlottesville.

    13     Q.      And what did you do after your residency?

    14     A.      I came back to New York City, which is my home town,

    15     and practiced medicine for a time, and also was pursuing an

    16     avocation which was an interest in theater.

    17     Q.      Did you do anything else during that time?

    18     A.      I did.    A couple, two and-a-half years or so into it,

    19     I was recruited by a couple of scientists who had just

    20     started an early stage biotechnology company based on

    21     technology that they had invented for tissue engineering.

    22     The company was called Marrow-Tech.

    23     Q.      And what was Marrow-Tech?

    24     A.      It was originally looking to grow human bone marrow

    25     for bone marrow transplants in vitro in a dish and then also
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                                                                           276
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     1     to try to grow other organ and tissues like skin and so

     2     forth.

     3     Q.        And what were your responsibilities at Marrow-Tech?

     4     A.        Well, I was the, I believe the fourth, there were

     5     four or five of us in a very rapid period, so I was one of a

     6     very small group, so my responsibilities covered almost

     7     everything.      And I was originally hired to be VP of medical,

     8     but in fact we all did everything.

     9                      And then as the company grew, my

    10     responsibilities grew with it, and I became directly

    11     responsible for all clinical and regulatory development,

    12     quality assurance, quality control, actually the

    13     communications function of the company, the investor

    14     relations, the public relations and then I collaborated with

    15     the chief scientists and/or the CEO on things like

    16     intellectual property and business development and I was

    17     also an internal director of the company.

    18     Q.        Did your experience at Marrow-Tech influence your

    19     career?

    20     A.        Yes.   I would say it was transformative.       I was

    21     magnetized by seeing firsthand and living firsthand taking

    22     science out of the laboratory and trying to turn that into

    23     useful medicines that would advance medical care and put

    24     that in the clinic for patients.        So that experience gave me

    25     my direction in life.
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     1     Q.      What did you do after Marrow-Tech?

     2     A.      I left Marrow-Tech at the end, by then it was called

     3     Advanced Tissue Sciences, same company.         I left, I took some

     4     time to take stock, and then began to work on my own company

     5     called Acorda.

     6     Q.      And when did you begin working on your Acorda?

     7     A.      In 1993.

     8     Q.      And what was your plan for Acorda at that time?

     9     A.      The original plan was to have a company that would be

    10     dedicated to finding therapies to restore function to people

    11     with spinal cord injuries and repair the spinal cord

    12     injuries and then from there branch out if we were

    13     successful into other areas of neurology like MS and

    14     Parkinson's and stroke and the like.

    15     Q.      How did you go about doing that?

    16     A.      My original concept was to establish the company as

    17     what we call a virtual company, meaning I had seen in my

    18     earlier experience that, at Marrow-Tech, Advanced Tissue

    19     Sciences, that we had to raise a lot of money all the time

    20     from investors to do what we were doing, and having a lot of

    21     fixed costs like a facility and a laboratory and employees

    22     required even more money.       And we didn't have any revenue,

    23     didn't know when we were going to, and similarly for me when

    24     I started Acorda, I didn't even have a product.           So I

    25     recruited ten of the world's leading scientists in the field
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     1     related to spinal cord injury and nerve repair to work with

     2     me as a network, as a collaborative network out of their own

     3     laboratories at their universities.

     4     Q.      Was one of those scientists that you recruited

     5     Dr. Blight?

     6     A.      Dr. Andrew Blight, yes.

     7     Q.      What was some of the early research that Acorda

     8     worked on?

     9     A.      We worked on a different number of molecules that

    10     came to our attention that we were able to experiment with.

    11     There was something called L1 which was a protein for

    12     regenerating nerves.      There was a monoclonal antibody called

    13     M1 at the time that was for repairing nerves.          And then at

    14     some point we got ahold of rights to or certain rights to a

    15     molecule called 4-aminopyridine.

    16     Q.      How did you first become aware of 4-aminopyridine?

    17     Is it okay if I call it 4-AP?

    18     A.      Sure.    I learned about it through my initial

    19     conversations with Andrew Blight when I was recruiting him

    20     and then recruited him to be part of our scientific advisory

    21     collaborative network.      He had told me that he had

    22     personally been working with a molecule in his spinal cord

    23     injury research, including in vitro experiment, animal

    24     experiments and actually even a small human trial.

    25     Q.      What was Dr. Blight doing at that time?
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     1     A.        He was the head of neurosurgical research at the

     2     University of North Carolina in Chapel Hill.

     3     Q.        After Dr. Blight brought 4-AP to your attention, what

     4     do you do?

     5     A.        He told me that he had worked with a neurosurgeon in

     6     Canada to do some initial exploratory study with people with

     7     spinal cord injury, and that based on that work, the

     8     foundation in Canada that had funded the work had filed a

     9     patent.

    10                    And so I called up the head of that foundation

    11     and asked if that patent application were available for us

    12     to license.    And I was told that it was not, that they had

    13     already licensed it to another company.

    14     Q.        And did you eventually obtain rights to that patent

    15     application?

    16     A.        We did.   Quite -- a number of months later, I don't

    17     remember exactly, it could have been six months or so, I was

    18     discussing with the scientific advisory group various types

    19     of therapies that we could try to develop and one of them

    20     raised 4-AP or fampridine, and we told them that we had

    21     already looked into it, but then I took that as a prompt to

    22     call the head of the foundation again just to check in.            And

    23     I checked in and he told me that coincidently he had just

    24     decided to take back the rights to the patent application

    25     and he was willing to talk to us about it.
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     1                   So Andy Blight and I flew to Florida where there

     2     was going to be a spinal cord injury meeting within that

     3     week and we met him there and agreed that we would get the

     4     rights to it.

     5     Q.      And what did you do after you obtained the rights?

     6     A.      We -- well, we began to lay out a plan for developing

     7     the drug to see if it could be made to work or if it worked

     8     in spinal cord injury as a medicine.         The first thing we had

     9     do was to actually get a formulation because we didn't have

    10     one, we weren't manufacturers.        So we contracted with an

    11     outside contract manufacturing organization or a CMO to make

    12     a pill for us.

    13     Q.      And what was the form of that pill?

    14     A.      It was a simple immediate release pill, form of 4-AP,

    15     meaning that it had to be taken around four times a day.

    16     Q.      And did you ultimately change formulations?

    17     A.      We did.

    18     Q.      To what?

    19     A.      We eventually changed to a formulation that had been

    20     developed by Elan Corporation, which was a twice daily

    21     sustained release formulation.

    22     Q.      And what did Acorda do once they obtained that

    23     sustained release formulation?

    24     A.      Well, we obtained it in an agreement with Elan, the

    25     very beginning of 1997.      And we then set out to design
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                                                                           281
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     1     clinical trials in people with chronic spinal cord injury to

     2     see if we could find a medical, approvable medical use for

     3     it.

     4     Q.      Did you conduct clinical trials with 4-AP in spinal

     5     cord injury?

     6     A.      We did, we conducted several trials.

     7     Q.      What happened?

     8     A.      We went through phase one, phase two, and then

     9     ultimately designed and executed two fairly large phase

    10     three trials and unfortunately they failed.

    11     Q.      When did Acorda first become involved with MS?

    12     A.      In 1998.

    13     Q.      And what happened at that time?

    14     A.      We became aware through our contacts at Elan that

    15     they were no longer interested in pursuing or supporting the

    16     MS development of this molecule, of their sustained release

    17     formulation of fampridine, so we approached them and asked

    18     if they would allow us to take over the program, which they

    19     did.

    20     Q.      What did you learn of Elan's program at that time?

    21     A.      Well, we learned that they had also sponsored

    22     multiple trials along the way, and that they had done a 161

    23     patient trial in MS which was a well-controlled placebo

    24     controlled adequate trial, and it had failed.

    25     Q.      Why were you interested in taking over the clinical
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                                                                           282
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     1     development in light of that failed trial?

     2     A.        Our situation at the time was very different from

     3     Elan's.    We were just a startup, and entirely dependent on

     4     investor being interested in putting money in.          We had to

     5     take much bigger risks than other companies.          Elan had

     6     products on the market, they had revenue, they were

     7     diversified, so we had to take really big risks and we knew

     8     that.   So despite the fact that there were some daunting

     9     challenges there, we felt we had to take the risk.

    10     Q.        And after you decided to take over development, what

    11     did Acorda do?

    12     A.        Well, we reviewed all the information we could on the

    13     Elan program.       We reviewed the literature on MS and

    14     fampridine.    We actually convened a meeting of clinical

    15     advisors that included one or two of the Elan people as

    16     well, all to try to get a grounding in how might we proceed

    17     at that point.

    18     Q.        Did you review any clinical study reports?

    19     A.        We did.

    20     Q.        What were those study reports?

    21     A.        We reviewed the available Elan study reports for

    22     their program and in particular we were interested in this

    23     161 patient trial and what happened?

    24     Q.        In general what was the Elan clinical study reports?

    25     A.        In all of them?
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                                                                           283
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     1     Q.      Just generally, general overview of what it is that

     2     you looked at?

     3     A.      We looked at their phase one data, their

     4     pharmacokinetic data, their phase two where they were

     5     exploring outcomes and then leading up to this larger study

     6     which was meant to be if you will an acid test, something

     7     that really would have the power to show effects.

     8     Q.      Take a look at PTX 360 in your book and my question

     9     is whether you can identify that document?

    10     A.      Yes.

    11     Q.      What is it?

    12     A.      This is the Elan study report for this trial that I

    13     was referring to, the 161 patient trial.

    14     Q.      What is the date of the report?

    15     A.      It is February 1996.

    16     Q.      Is this one of the study reports that you reviewed in

    17     1998?

    18     A.      It is.

    19     Q.      What's your understanding of the clinical study

    20     described in that report?

    21     A.      Well, this was a double blind randomized placebo

    22     controlled study in 161 patients looking at both safety and

    23     efficacy of sustained release form of fampridine twice a day

    24     in people with multiple sclerosis with several different

    25     outcome measures that they were looking at, two outcome
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     1     measures were prespecified in particular.

     2     Q.      Did you have an understanding of what the primary

     3     endpoints were?

     4     A.      Yes.

     5     Q.      And what were they?

     6     A.      One of them was the Kurtzke EDSS which is the

     7     disability score for people with MS.         And the other one was

     8     a patient reported outcome with perception of their health

     9     whether it had improved or not.

    10     Q.      Do you know why the EDSS was selected as the primary

    11     endpoint?

    12     A.      I do.    If we go to page -- actually I'll go to page

    13     102 of this document.      They actually specified why they

    14     picked it.     And if you look at the first sentence in the

    15     third paragraph, it says the major endpoints for this study

    16     were selected on the recommendation of an MS advisory group

    17     as these endpoints had already been used in previous studies

    18     and were accepted by the MS community.         I think it's also --

    19     I should point out that the protocol also says that this was

    20     the largest study that had been done with fampridine.

    21     Q.      Do you know what doses were tested in the study?

    22     A.      Yes, I do.    They were three doses.       The people in the

    23     study who got drug versus placebo started at 12-and-a-half

    24     milligrams twice daily and that was increased over time by

    25     five milligram increments to 17-and-a-half milligrams twice
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     1     daily and then 22-and-a-half milligrams twice daily, unless

     2     it was not tolerated at a higher dose and then it was dialed

     3     back.

     4     Q.       And did you have an understanding of why the dose was

     5     gradually increased?

     6     A.       Yes.

     7     Q.       What was that understanding?

     8     A.       The molecule was known and continues to be known to

     9     have potentially toxic effects, particularly as the doses

    10     get higher and higher.      These include seizures, among other

    11     serious events.     So the understanding of how to administer

    12     the drug was to start with a low starting dose and then

    13     raise it over time so that the patient could acclimate and

    14     get to an ultimate dose hopefully without adverse event.

    15     Q.       What does the study report say about the results of

    16     the clinical study?

    17     A.       The only outcome measure that had a statistical

    18     significant difference in the drug versus placebo was a

    19     secondary outcome which was the lower extremity motor score,

    20     so the test of muscle strength in the legs.          The primary

    21     outcomes failed and did not show significance, and the rest

    22     of the secondary outcomes also failed.

    23     Q.       I take it eventually Acorda did conduct a clinical

    24     study?

    25     A.       We did.
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                                                                           286
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     1     Q.        And what was that first study?

     2     A.        The first study was actually looking at the eye

     3     muscles, so we were looking at a very discrete type of motor

     4     function, and that would be the nerves that innervate the

     5     eye muscles.     And people with MS very frequently get

     6     something called Internuclear Ophthalmoplegia, INO, where

     7     certain muscles become weak and, therefore, the patient

     8     cannot move their gaze.      They get blurry vision and double

     9     vision.    That's what we looked at to see if we could improve

    10     that.

    11     Q.        Why don't you take a look at PTX 413A.

    12     A.        Yes.

    13     Q.        And can you identify that document?

    14     A.        This is the clinical study report for that INO study

    15     I just referenced.

    16     Q.        If you look at the cover page, it says protocol

    17     number MS-F200.     What does that refer to?

    18     A.        That is the designator for this particular study.

    19     Q.        Is it okay to refer to it as the F200 study?

    20     A.        Yes.

    21     Q.        What's the date of the report?

    22     A.        The date of the report is November 5th, 2001.

    23     Q.        When was the F200 study conducted?

    24     A.        It was conducted between October 11th, 1999 and May

    25     11th, 2000.
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     1     Q.      Can you generally describe what that study was?

     2     A.      Yes.    This was a study in 24 people who had MS and

     3     Internuclear Ophthalmoplegia, and it was looking at three

     4     different doses of fampridine against placebo.          And there

     5     was a device that could measure eye movements and the

     6     velocity and direction of eye movements with tremendous

     7     precision.     And the center in Texas that did the study under

     8     our sponsorship had this device so they were able to execute

     9     this study.

    10     Q.      What were the results?

    11     A.      None of the outcomes worked.        The study failed.     One

    12     of the studies the placebo did better, the study failed.

    13     Q.      After that failed eye movement study, what did Acorda

    14     do?

    15     A.      We took stock and in essence took a step back and

    16     decided to start from an earlier point of view in our own

    17     hands, we designed a dose ranging study to look primarily at

    18     a range of doses and safety and tolerability and

    19     pharmacokinetics at those doses and secondary to explore a

    20     number of different outcome measures to see if any one of

    21     them gave us a hint of where we might go next.

    22     Q.      Take a look at PTX 466A.

    23     A.      Yes.

    24     Q.      Can you identify that document?

    25     A.      Yes.    This is the clinical study report for the, what
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                                                                           288
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     1     we -- what we call the 201 study, but it was this dose range

     2     study.

     3     Q.       It's okay to refer to it as the F201 study?

     4     A.       Yes.

     5     Q.       What is the date of the report?

     6     A.       July 15th, 2006.

     7     Q.       When was the F201 study conducted?

     8     A.       Between November 6th, 2000, and September 18, 2001.

     9     Q.       And can you just briefly describe the design of the

    10     study?

    11     A.       Yes.   There were -- there was a total of 36 people

    12     with MS in the study.      25 of them had -- were in the

    13     randomized to the drug group and 11 of them were randomized

    14     to the placebo group.      After a week of run in, I believe it

    15     was a week, but after a period of run in, the drug group got

    16     five milligrams twice daily for a week, the placebo group

    17     got placebo.    And then every week the drug group got

    18     escalating doses by five milligrams BID, meaning they would

    19     start at 10, 15, 20, 25, all the way up to 40 milligrams BID

    20     in the seventh week and the placebo would get the placebo

    21     throughout that time.

    22     Q.       Why did you chose the 10 milligram dose as the

    23     starting dose?

    24     A.       Again, as we previously discussed from the Elan

    25     studies, we knew based on everything that we had learned
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     1     about the field that with this drug because of the risk of

     2     severe toxicity it was important to have a low starting dose

     3     and then titrate upward hopefully to get maximum effect

     4     without getting intolerable side effects for the patient.

     5     Q.       And what did you choose the 40 as the top dose?

     6     A.       Based, we were also running a spinal cord injury

     7     program at the time, and we had done dose ranging program

     8     there.   Based on that, it was our strong impression that

     9     above 40 milligrams twice a day, there was an intolerable

    10     increase in the risk of severe adverse events so we should

    11     not go above that.

    12     Q.       What other measures did you include in the F201

    13     study?

    14     A.       We had quite a few.     We were particularly interested

    15     in fatigue, and so we had at least two different fatigue

    16     outcome measures in there.       We had the lower extremity

    17     manual muscle test.      We had the multiple sclerosis

    18     functional composite, which comprises three different tests.

    19     The timed 25 foot walk, a nine hold peg test, and what is

    20     called the PSAT-3 which is a cognitive test.          There were

    21     also multiple subjective measures for both the clinicians

    22     and the patients.

    23     Q.       Well, what were the results of the F201 study?

    24     A.       All of the prespecified analyses failed except for

    25     the lower extremity manual muscle test which, when comparing
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     1     the seven week range drug group against placebo, was

     2     statistically significant.

     3     Q.      And so I'm clear, what were the results of the timed

     4     walk?

     5     A.      It was not at all significant.

     6     Q.      And how did that compare to the Elan studies you had

     7     reviewed?

     8     A.      It was consistent with the Elan study, the 161

     9     patient study.

    10     Q.      And was it inconsistent with any of the Elan studies?

    11     A.      It was inconsistent with a very small study that Elan

    12     had sponsored after the failure of the 161 study -- 161

    13     patient study.     They had sponsored a single center trial in

    14     10 people with MS.      It was a crossover design so everyone

    15     got placebo, everyone got drug, and they used the timed 25

    16     foot walk, and that study indicated that the timed 25 foot

    17     walk might work, but it did not work in our study.

    18     Q.      If you turn to Figure 1 on page 63 of the study

    19     report, the F201 study report.

    20     A.      Yes.

    21     Q.      And can you explain what you are showing here?

    22     A.      Yes.   Yes, this is a graphic representation of each

    23     week of the study with respect to the change in baseline,

    24     in seconds on the timed 25 foot walk.         Now, this is average

    25     for each group.     So the dark gray is the drug group, the
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     1     fampridine SR group the light gray is the placebo group.

     2     And the zero line would be the baseline.         So that was before

     3     anyone got randomized or got drug.        This was their baseline.

     4                   So what you are seeing is week by week what the

     5     change in average seconds from baseline is for each group.

     6     Q.      What does Figure 1 show about the results from the

     7     placebo in an F201 study?

     8     A.      It shows variability.      And there is, most of the

     9     placebo weeks actually show some improvement.          The third

    10     week you see an average worsening of 2.6 seconds or slowing

    11     of 2.6 seconds.

    12     Q.      And which is the best results shown on Figure 1?

    13     A.      So if you look at all of the bars, the best result is

    14     actually, if you look at placebo and drug, the best result

    15     is actually the placebo group in week 7 showing 4.3 seconds,

    16     4.32 second reduction in time.

    17     Q.      And if you look at I guess study week 1, what was the

    18     dose in study week 1?

    19     A.      That was 10 milligrams twice daily.

    20     Q.      What does Figure 1 show about the placebo data

    21     relative to the 10 milligrams twice daily dose?

    22     A.      Well, what you see here, in week one for the drug

    23     group, there is an average decrease of 2.57 seconds.

    24                   If you look at the placebo experience in the

    25     trial, three out of the seven weeks are actually a better
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                                                                           292
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     1     result than for that 10 milligram group.

     2     Q.      Did you do any posthoc analysis of the data in the

     3     201 study?

     4     A.      Yes, we did.

     5     Q.      What was that analysis?

     6     A.      We analyzed the timed 25 foot walk according to speed

     7     as opposed to time.

     8     Q.      And what was the result of that?

     9     A.      That showed a statistically significant difference

    10     between the drug and placebo group.

    11     Q.      After the F201 study, what did Acorda do?

    12     A.      We then designed a next study which was designed to

    13     explore what we had done in 201 and to then explore it and

    14     see if we could make anything of it.         So we designed what we

    15     call the 202 study.

    16     Q.      And why was it that you continued development of 4-AP

    17     after the 201 study?

    18     A.      I'm sorry, I missed the question.

    19     Q.      No problem.     Why was it you continued development of

    20     the 4-AP and MS after the 201 study?

    21     A.      We were quite discouraged after the 201 study.           The

    22     only thing that we could point to was the posthoc analysis,

    23     and we knew that posthoc analyses were particularly fraught

    24     with risk as well as the fact that it was already a small

    25     study to begin with.
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     1                     However, it was all we had to go on.       So we

     2     decided that we were going to take the walking speed based

     3     on that posthoc analysis and see if we could get that to

     4     work prospectively.

     5     Q.      And why did you choose walking speed?

     6     A.      Because that was the only meaningful -- well, I

     7     shouldn't say meaningful.       It was the only test other than

     8     the muscle strength that showed any hint of significance.

     9     And we didn't really know what to do with the muscle

    10     strength so we had to go with the walking.

    11     Q.      Take a look at PTX-168A.

    12     A.      168A.    Yes.

    13     Q.      And can you identify that document?

    14     A.      This is the clinical study report for that next study

    15     that we designed, the MS-F202 study.

    16     Q.      So it's okay to refer to that as the F202 study?

    17     A.      Yes.

    18     Q.      And what is the date of this report?

    19     A.      It is November 30th, 2006.

    20     Q.      And does it say when this study was run?

    21     A.      Yes.    Between February 27th, 2003 and December 18th,

    22     2003.

    23     Q.      What doses did you use in the 202 study?

    24     A.      On this study, we used 10, 15, and 20 milligrams

    25     twice daily --
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                                                                           294
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     1     Q.      Why --

     2     A.      -- versus placebo.

     3     Q.      I'm sorry.

     4     A.      I'm sorry.

     5     Q.      No problem.     It was my fault.     Why did you choose

     6     those doses?

     7     A.      Based on my experience with the 202 study and our

     8     overall experience, we were concerned about going higher.

     9     It was clear that certainly above 25 milligrams twice daily

    10     that we were seeing more and more serious adverse events

    11     including seizure.

    12                    And in the 201 study, at least numerically, it

    13     didn't seem that the 25 BID week was much different than the

    14     20, so we also had to limit the size of the studies so we

    15     thought that the range of 10 to 20 was the reasonable one to

    16     test.

    17     Q.      And is there anything about walking speed in general

    18     that shed light on what dosages you would have wanted?

    19     A.      Well, yes.    The whole point in walking speed is that

    20     people with MS begin to lose walking ability and then

    21     incrementally they lose more and more.         So it's a continuum.

    22     It's not an on/off type of an outcome.

    23                    The whole point, if you want to be clinically

    24     beneficial to these people, is that you have to get the

    25     maximum effect that you can.       You have to improve their
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                                                                           295
                                    Cohen - direct

     1     walking speed as much as you can, because the more you

     2     improve it, that's a very good proxy for overall walking

     3     ability, so you are pushing them closer to normal state

     4     walking as it were.      So it was very important to us that

     5     we get the maximum benefit we could on walking for these

     6     people.

     7     Q.        What was the dosing design used in this study?

     8     A.        There was a run-in period where people either got

     9     nothing or they got placebo.       Then we had a two week up

    10     titration period where -- well, it was two week up titration

    11     period, then there was a 12 week period on final dose, we

    12     call that the stable dose period, and then they came off

    13     drug and we measured them two weeks later.

    14     Q.        And why did you use an up titration period?

    15     A.        Well, again, with this drug, it was necessary to have

    16     a low starting dose and then increase it over time to get

    17     to maximal dose, maximally beneficial dose hopefully without

    18     getting into intolerable side effects.

    19     Q.        What analysis did you originally plan to do in the

    20     202 study?

    21     A.        The original analysis was to do, to look at the

    22     average change in walking speed across the stable, 12 week

    23     stable dose period versus baseline and then compare those

    24     changes between the different drug groups and placebo.

    25     Q.        And what was the result of that analysis?
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                                                                           296
                                    Cohen - direct

     1     A.      It failed.    It did not show a statistically

     2     significant difference for any of the drug groups versus

     3     placebo.

     4     Q.      And how did that compare to the 201 study?

     5     A.      Well, the posthoc analysis in the 201 study looked at

     6     speed, and that did show a statistically significant change.

     7     In this case, the prospective analysis based on speed did

     8     not.   So it was not consistent with that result.

     9     Q.      And so after you reviewed -- after you received the

    10     analysis showing that there was no statistical significance,

    11     what did you do?

    12     A.      Well, we looked more deeply at the study and we

    13     looked at various parts of it.        And two things jumped out at

    14     us.

    15                   One thing is that during the up titration period

    16     where people were getting either placebo or 10 milligrams or

    17     10 and then 15 milligrams for two week period, that that was

    18     statistically significant versus placebo.

    19                   And then we looked at the latter part of the

    20     study after stable dose when they stopped taking drug and

    21     came back two weeks later and what we found was that all

    22     three drug groups dropped back to baseline or even below

    23     baseline level versus placebo, and that was also

    24     statistically significant.       So that was the first thing we

    25     did.
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     1     Q.       Did you do any other analysis?

     2     A.       We did.   At that point, because of those findings in

     3     the up titration and post-stable dose period, I asked the

     4     statistician to give me printouts of all 206 people in the

     5     study.   And I wanted specifically the graphs of their timed

     6     walk speeds for all of the weeks of all of the visits of the

     7     study and I wanted them blinded.        So she gave them to me

     8     with number markers, but I didn't know who was in what

     9     group, placebo or dose of drug or anything.

    10                   I then saw with Andy Blight who was my

    11     collaborator and discussed it with him and then examined

    12     each of those traces, all 206 of them, applying my clinical

    13     acumen to them.     And I was looking to see whether I thought

    14     I was persuaded that there was actually a meaningful

    15     difference from baseline in one patient versus another.

    16                   And I ultimately separated these printouts into

    17     two piles:

    18                   One pile was the pile where there was absolutely

    19     nothing changing over time or it looked random enough to my

    20     clinical eye that I was not persuaded that there was

    21     actually a meaningful effect or not likely to be.

    22                   The other pile was one where I was either very

    23     persuaded or extremely confident that there was a meaningful

    24     change going on from baseline.

    25                   And I gave the two piles to the statistician and
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                                    Cohen - direct

     1     asked her to unblind and tell me what I did.

     2                    When she came back, she gave me the results.

     3     And the results showed that the group that I had designated

     4     as very confident or extremely confident that there was a

     5     meaningful change, positive change going on was

     6     overwhelmingly filled with people in the drug groups versus

     7     placebo.    And the P value on that was less than .0001.

     8     Q.      And after you received this information, what did you

     9     do?

    10     A.      Well, I discussed it at great length with Andy, and

    11     we converted that finding into what we called a responder

    12     analysis.    And once we had the responder analysis, we gave

    13     that to our statisticians and asked them to apply it to the

    14     study as if they had just unblinded the study, and that this

    15     was -- as if it were the primary analysis.          Of course, it

    16     was posthoc.    And they did that.

    17                    And what they found was that the responders

    18     under that responder analysis were again overwhelmingly

    19     filled with drug patients versus placebo patients and the

    20     P value on that was less than .0001.

    21     Q.      Did you draw any conclusions about the relative

    22     effects of the 10, 15, and 20 milligram dose?

    23     A.      We did.

    24     Q.      What was those conclusions?

    25     A.      We were extremely surprised to see that there was
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                                                                           299
                                    Cohen - direct

     1     actually no meaningful difference among the three drug

     2     doses, 10, 15, or 20.      10 was as good as 15 or 20 with

     3     respect to the responder analysis.

     4     Q.        And what was your reaction to that?

     5     A.        We were extremely surprised, as I said.       Everything

     6     that we had come to expect throughout the program told us

     7     that we should be seeing more and more efficacy the higher

     8     the dose went as long as the patients were tolerating it and

     9     that turned out not to be the case.

    10     Q.        And did you draw any conclusions with respect to the

    11     titration of 4-AP in your clinical study?

    12     A.        Well, based on that, we realized we didn't have to

    13     titrate any more because 10 milligrams is what we would need

    14     to use.    You want to use a dose that is not going to have

    15     intolerable side effects as long as it is the most effective

    16     dose, and since we now saw that it was as effective as 15

    17     or 20, there was no reason to go higher and titrate.

    18     Q.        After the 202 study, did Acorda continue the

    19     development of 4-AP in MS?

    20     A.        We did.

    21     Q.        What did you do?

    22     A.        We designed a Phase III study with the responder

    23     analysis as the prospectively defined primary outcome

    24     measure, and only one dose in the drug group, and that was

    25     the 10 milligram BID dose or twice daily.
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                                                                           300
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     1     Q.       Was that one study?     What was the result of the

     2     study?

     3     A.       Well, we did two studies in sequence.        So we did one

     4     and then we got the results, and then we did another Phase

     5     III study that was very similar.

     6     Q.       And what was the results?

     7     A.       Both of them succeeded and showed that the primary

     8     outcome hit, as it were, with P values less than .0001.

     9     Q.       After the successful studies, what did you do?

    10     A.       We prepared a new drug application, an NDA to get

    11     approval, and we submitted that to the FDA.

    12     Q.       Did you get any special review from the FDA in

    13     connection with your NDA?

    14     A.       We did.

    15     Q.       And what was that?

    16     A.       We got what is called priority review, which is a

    17     shorter review than usual.

    18     Q.       When was Ampyra approved?

    19     A.       It was approved in January of January of 2010.

    20     Q.       What is your understanding of how well received

    21     Ampyra was following its approval?

    22     A.       It was extremely well received.       It -- the uptake was

    23     far more rapid than we or anyone else following us had

    24     expected.    It turned out that doctors told me that they had

    25     been, the word is "warehousing," but they had been taking
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                                                                           301
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     1     patient interest for a long time because the patients had

     2     been following our clinical trials as they came out, so

     3     there was a huge pent-up demand right when we launched in

     4     March of 2010.

     5     Q.        All right.   And was that reflected in the sales of

     6     Ampyra?

     7     A.        It was.   You know, the ten months sales period for

     8     that year, we sold something over $130 million, which was

     9     around twice what the projections had been.

    10     Q.        Have the sales increased since then?

    11     A.        They have.

    12     Q.        What are they currently?

    13     A.        We're projecting this year they'll be just short of

    14     about $500 million.

    15                    MR. DiNAPOLI:    I have no further questions, Your

    16     Honor.

    17                    THE COURT:   Okay.    Cross-examination.

    18                    MR. KLEIN:   May I approach?

    19                    THE COURT:   Yes, you may.

    20                    (Binders passed forward.)

    21                               CROSS-EXAMINATION

    22     BY MR. KLEIN:

    23     Q.        Good afternoon, Dr. Cohen.

    24     A.        Good afternoon.

    25     Q.        My name is Chuck Klein and I will be asking you a few
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                                                                           302
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     1     questions on behalf of the defendants.

     2                     So you and Dr. Blight are the listed inventors

     3     for all of the four Acorda patents at issue in this case; is

     4     that right?

     5     A.       Yes.

     6     Q.       You didn't invent 4-AP, though; correct?

     7     A.       Correct.

     8     Q.       And you didn't invent the use of 4-AP to treat MS

     9     patients; is that correct?

    10     A.       We invented a particular use, but not -- I don't --

    11     we invented a particular use.

    12     Q.       Let me rephrase.    You didn't discover that 4-AP could

    13     be used to treat MS; correct?

    14     A.       Well, we discovered it could be used and how it could

    15     be used to treat walking and MS.

    16     Q.       But there were others such as Davis who wrote

    17     articles before you even got involved in the issue about

    18     using 4-AP to treat MS; correct?

    19     A.       There were -- it had been proposed before we came

    20     along.

    21     Q.       And there had been testing as well; correct?

    22     A.       Yes.

    23     Q.       And you and Dr. Blight didn't invent the concept of

    24     using 4-AP in a sustained release formulation to treat MS

    25     patients; correct?
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                                                                           303
                                     Cohen - cross

     1     A.        Correct.

     2     Q.        Elan Corporation invented that?

     3     A.        Elan invented the sustained release formulation that

     4     we used and are using.

     5     Q.        Or they have a patent to it, they have a patent on

     6     that topic; correct?

     7     A.        Yes.

     8     Q.        There is obviously a dispute as to whether it's

     9     patentable.       And that patent, I don't know if you know the

    10     number, it's the '938 patent, does that sound familiar?

    11     A.        I have not read it in many years, but that sounds

    12     familiar.

    13     Q.        Fair enough.    But do you understand it issued in

    14     1996?

    15     A.        Again, not from memory.     I don't remember exactly

    16     when, sorry.

    17     Q.        But Acorda -- after that patent issued, Acorda took a

    18     license, an exclusive license to that patent; is that right?

    19     A.        Yes.    For spinal cord injury initially.

    20     Q.        And then MS as well?

    21     A.        Yes.

    22     Q.        And that happened a couple of years after the patent

    23     issued?

    24     A.        Well, depending on -- what was the date you said?

    25     Q.        1996.
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                                                                           304
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     1     A.      So assuming -- we did our deal with Elan January of

     2     1997 for spinal cord injury, and then in 1998 for MS.

     3     Q.      And you obtained the 10 milligram sustained release

     4     4-AP product from Elan; right?

     5     A.      Yes.

     6     Q.      And you used Elan's formulation for the clinical

     7     studies that you talked about on direct?

     8     A.      Yes.

     9     Q.      And you didn't do any development work on any

    10     sustained release formulation for 4-AP; correct?

    11     A.      Not at that time, no.

    12     Q.      Not at any time; right?

    13     A.      We have been doing work much more recently on another

    14     type of sustained release, but we did not during that

    15     program at all.

    16     Q.      Certainly not before 2004?

    17     A.      No.

    18     Q.      And so before 2004, Acorda never modified the

    19     sustained release 4-AP product that it got from Elan;

    20     correct?

    21     A.      No.

    22     Q.      Now, on direct, you referenced a clinical study, it's

    23     PTX 360, that I think you referred to as a failed Elan

    24     study; is that right?

    25     A.      I don't remember the designator.        If you can just
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                                                                           305
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     1     maybe point me to it.

     2     Q.      Can you put up PTX 360.

     3                    PTX 360 is the study that you referred to as a

     4     failed Elan study?

     5     A.      I believe this was the 161 patient study that I

     6     referred to.

     7     Q.      Now, this study report was not made public; correct?

     8     A.      I'm not aware that it was.       I wouldn't be final

     9     arbiter on that, but I don't believe it was.

    10     Q.      And the details as to this study weren't made public

    11     either; correct?

    12     A.      I believe that there was at least one published paper

    13     that made a reference to an outcome or some of the outcomes

    14     of the study.

    15     Q.      Is that the Schwid paper?

    16     A.      I believe so.

    17     Q.      Other than the Schwid paper, you're not aware of any

    18     other publication that discussed this Elan study reflected

    19     in PTX 360?

    20     A.      I'm not aware of one, no.

    21     Q.      And you and Dr. Blight continued to use Elan

    22     sustained release 4-AP formulation to develop a product even

    23     after this study; correct?

    24     A.      We did.

    25     Q.      And you claimed to have found a preferred dose of the
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                                                                           306
                                     Cohen - cross

     1     Elan product for treating MS patients; is that right?

     2     A.      We did.

     3     Q.      And that dose is 10 milligrams taken twice daily;

     4     correct?

     5     A.      Yes.

     6     Q.      Now, you then tested Elan's 10 milligrams 4-AP

     7     product in phase two studies related to MS; correct?

     8     A.      Yes.

     9     Q.      And the first phase two study is what you refer to as

    10     the F201 study?

    11     A.      The 200 study.

    12     Q.      The 200 study?

    13     A.      Yes.

    14     Q.      And then there was a phase two study referred to as

    15     the F201 study as well?

    16     A.      Yes.

    17     Q.      And the results of the F201 study were made public

    18     before 2004 by Dr. Goodman; correct?

    19     A.      If you could maybe help me with a specific reference.

    20     Q.      Sure.    Can you put up JTX 061.

    21                     It's -- just do the middle left-hand side for

    22     now.   You see the date, April 1, 2003 at the top?

    23     A.      Yes.

    24     Q.      And then there is a title, placebo controlled

    25     double-blinded dose ranging study of fampridine SR in
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                                                                           307
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     1     multiple sclerosis.

     2     A.      Yes.

     3     Q.      And the first author is Dr. Goodman?

     4     A.      Yes.

     5     Q.      And do you recognize this as reporting the results of

     6     the F201 study?

     7     A.      Yes.

     8     Q.      If you go to the next page, the next column, rather.

     9     You see the results paragraph?

    10     A.      Yes.

    11     Q.      Halfway into the results paragraph there is a

    12     sentence that reads, "the fampridine", do you see that?

    13     A.      Yes.

    14     Q.      And there it says, "The fampridine SR group showed

    15     statistically significant improvement from baseline compared

    16     to placebo in functional measures of mobility timed 25

    17     walking speed, P equals 0.04."        Do you see that?

    18     A.      Yes.

    19     Q.      That is an accurate characterization of the results

    20     of the F201 study; is that right?

    21     A.      It is an incomplete characterization.         Given that

    22     there is no context, so if you just take it at face value,

    23     it is accurate, but it is missing important context.

    24     Q.      And the important context that you are referring to

    25     is information that is in the clinical study report that you
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                                                                           308
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     1     discussed on direct examination?

     2     A.        Specifically among other things it would be the fact

     3     that it was a post hoc analysis.

     4     Q.        And that comes from the data in the clinical trial

     5     report?

     6     A.        That is in the clinical trial report, yes.

     7     Q.        The clinical trial report is -- was not made public

     8     before 2004; correct?

     9     A.        Not to my knowledge.

    10     Q.        In fact, none of the clinical trial reports that you

    11     went through on direct examination were made public before

    12     2004; is that correct?

    13     A.        To my knowledge they were not.

    14     Q.        Were any of them ever made public, the actual

    15     reports?

    16     A.        To my knowledge, they are not.

    17     Q.        Now, I think, correct me if I'm wrong, but on direct,

    18     I think I heard you testify that you were discouraged after

    19     the F201 study; is that right?

    20     A.        Yes.

    21     Q.        Now, but sir, the 201 study results actually

    22     demonstrated that sustained release 4-AP improved walking

    23     ability in MS patients; correct?

    24     A.        They did not demonstrate that in the sense that they

    25     did not remotely prove it.       They gave in a very small
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                                                                           309
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     1     exploratory study that was not at all powered or intended to

     2     prove efficacy, they gave what I would call a clinical

     3     suggestion about where you could go next.          This was what we

     4     call a hypothesis generating study.        So they generated a

     5     hypothesis that we could test, meaning we could do another

     6     trial and see if walking speed was any good for this.

     7     Q.      Now, sir, before 2004, Acorda announced to the entire

     8     world that participants in MS studies with sustain release

     9     4-AP had demonstrated improved walking ability and lower leg

    10     strength; is that correct?

    11     A.      Demonstrated is a term that means this is what the

    12     study showed.     It does not say proved, it does not say that

    13     there is confidence in that outcome, it just says that

    14     that's what you saw when you analyzed it.

    15     Q.      Let's go to DTX 584.      Do you recognize DTX 584 as

    16     coming from Acorda's website?

    17     A.      I don't directly recognize it.        It looks -- I mean,

    18     it looks like it could be from the website.          I can't say I

    19     directly read this any time recently.

    20     Q.      At the top, you see there is a date, December 3, so

    21     let's take that down for a minute.        And let's highlight the

    22     first full paragraph, by heading, fampridine clinical

    23     history in the first full paragraph, do you see that?

    24     A.      Yes.

    25     Q.      And the beginning of this discusses how approximately
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                                                                           310
                                     Cohen - cross

     1     550 people have been treated with fampridine SR in 14

     2     clinical trials.     Do you see that?

     3     A.      Yes.

     4     Q.      And it goes on to talk about not only SCI, but also

     5     six clinical trials for MS; right?

     6     A.      Yes.

     7     Q.      If you look at the last sentence it says,

     8     "Participants in MS studies demonstrated improved walking

     9     ability and lower leg strength."

    10                     Do you see that?

    11     A.      I do.

    12     Q.      Was that a statement that Acorda made before 2004 to

    13     the public on its website?

    14     A.      Well, I cannot personally attest to what we did on

    15     the website.     I'm taking your word for it that this is our

    16     website from that time.      And as we discussed, saying that it

    17     demonstrated is simply saying that there were data that

    18     showed this, it says nothing about whether the data were

    19     reproducible or any good or true, it just says that's what

    20     was shown.     It doesn't say anything about all the studies

    21     that didn't work, for example.

    22     Q.      This is referring to the F201 study; correct, given

    23     the date?

    24     A.      Well, we had other studies as well.         The 200 study,

    25     for example.
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                                                                           311
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     1     Q.      Okay.    I mean --

     2     A.      And it's not clear to me that it's referring only to

     3     the Acorda sponsored trials.       It doesn't say Acorda's

     4     trials, it says they have been treated.         So it might be

     5     referring to academic trials or Elan trials, I don't know,

     6     but it doesn't outright say that.

     7     Q.      So when the website says participants in MS studies

     8     demonstrated improved walking ability and lower leg

     9     strength, you read that as referring to more than just the

    10     F201 study?

    11     A.      This is referring to eight clinical trials for spinal

    12     cord injury and six clinical trials for MS.          To the best of

    13     my recollection, we had not run at that point six clinical

    14     trials in MS.     I could be misremembering it, but it's

    15     referring to trials that had been done by someone, some of

    16     them undoubtedly us, but not necessarily all.

    17                     And then it says, it gives sort of a global

    18     summary saying that among all those studies, there were

    19     studies that where they saw improved walking and lower leg

    20     strength, that's all it says.

    21     Q.      Can you also highlight the last paragraph.

    22                     So here it says Acorda is currently conducting

    23     two phase three clinical trials of fampridine-SR in chronic

    24     SCI as well as a phase two clinical trial in MS.           Given that

    25     language, does that lead you to believe that at the time
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                                                                           312
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     1     this statement was made, the F201 study was completed, but

     2     the F202 study was ongoing?

     3     A.       Yes, that would be my impression.       Although,

     4     actually, let me just say, it says as well as a phase two

     5     clinical trial, well, the 201 was also a phase two study, so

     6     I can't say that with assurance.

     7     Q.       The F201 study was completed by December 3rd, 2003 --

     8     A.       It was -- if this is reflective of December 3rd, it

     9     would have been completed by then, this would have then

    10     referred to the 202 study.

    11     Q.       The F201 study results strongly supported using

    12     Elan's 10 milligrams 4-AP formulation in future clinical

    13     studies, do you agree with that?

    14     A.       Not exactly as you pose it, and not strongly

    15     supported.    I would not say that.      I would say that the 201,

    16     the F201 study gave us a direction.        That was the best you

    17     could say.    And that direction was to look somewhere in the

    18     range of 10 and 20 milligrams BID and see whether we could

    19     show an effect on walking speed.        It was a hypothesis

    20     generating study.     And, in fact, as I pointed out, that

    21     study did not work as designed.

    22     Q.       So the F201 study supported looking to see if I think

    23     you said 10 or 20 milligrams BID would work in a future

    24     study?

    25     A.       I said it supported looking at a range between 10 and
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                                                                           313


     1     20 milligrams BID to see if anything could work.

     2     Q.      And when you say could work, you're referring to --

     3     A.      The walking speed based on the timed 25 foot walk.

     4     Q.      For at least two weeks; correct?

     5     A.      What are we talking about now?        What we learned from

     6     that study, from the 201 study?

     7     Q.      Let me rephrase.

     8     A.      All right.

     9     Q.      I believe you said that the F201 study supported

    10     looking to see whether the -- whether a dose between 10 and

    11     20 milligrams taken twice daily would improve walking speed

    12     in MS patients.     Do I have that right?

    13     A.      It gave us a hypothesis to test that between --

    14     somewhere in the range of 10 to 20 milligrams that we should

    15     test that range for walking speed in MS versus placebo.

    16     That's all it told us.      It didn't tell us anything about

    17     duration or anything of the kind.

    18     Q.      But when you go ahead and conduct those tests, it

    19     would certainly test whether a dose within that range would

    20     work for at least two weeks in MS patients; correct?

    21     A.      I can't tell you what it certainly would do.          I can

    22     tell you what that study did in 202 which actually looked at

    23     dosing for 14 weeks.

    24                   MR. KLEIN:    I have no further questions.

    25                   Thank you.
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                                                                           314


     1                   THE COURT:    Okay.    Redirect.

     2                   MR. DiNAPOLI:     I have no questions, Your Honor,

     3     but I do want to move into evidence four exhibits referred

     4     to during Dr. Cohen's direct, PTX 360, PTX 413A, PTX 466A,

     5     and PTX 168A.

     6                   THE COURT:    Are there any objections?

     7                   MR. KLEIN:    No objections.     And we would like to

     8     move in DTX 584.

     9                   THE COURT:    Was that DTX 584?

    10                   MR. KLEIN:    Correct.

    11                   THE COURT:    Any objection to that?      Any

    12     objection?

    13                   MR. DiNAPOLI:     Sorry.   No, Your Honor.

    14                   THE COURT:    All five of those exhibits are

    15     admitted.    You may step down.     Thank you, Doctor.

    16                   Plaintiff can call their next witness.

    17                   MR. STIEFEL:     Your Honor, plaintiff calls Dr.

    18     Reza Fassihi.

    19                    ... REZA FASSIHI, having first been duly sworn

    20     on oath, was examined and testified as follows ...

    21                   THE COURT:    Thank you.    Good evening.

    22                   MR. STIEFEL:     May I approach?

    23                   THE COURT:    Yes, you may approach.

    24                   MR. STIEFEL:     Thank you, Your Honor.

    25                   (Binders passed forward.)
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                                                                           315
                                    Fassihi - direct

     1                               DIRECT EXAMINATION

     2     BY MR. STIEFEL:

     3     Q.        Good afternoon, Dr. Fassihi.

     4     A.        Good afternoon.

     5     Q.        Would you state your name for the record?

     6     A.        Razi Fassihi.

     7     Q.        And how are you employed?

     8     A.        I'm employed at Temple University, School of

     9     Pharmacy.    I am Professor of Pharmacy there.

    10     Q.        And what is that?    What field does that encompass?

    11     A.        Being a Professor of Pharmacy, you teach

    12     pharmaceutics courses.      You are involved with formulation

    13     development.    You are involved in research activities and

    14     responsibilities within the university.

    15     Q.        And how long have you been at Temple University?

    16     A.        I've been at Temple for 24 years.

    17     Q.        And what generally are your duties at Temple

    18     encompass?

    19     A.        I teach at Temple University.      I do research and I'm

    20     also involved in some administrative work.

    21     Q.        Administrative work of what kind?

    22     A.        I was director of graduate programs, and I'm a chair

    23     of multiple committees that relate to education at all

    24     levels.

    25     Q.        Would you briefly describe your post-high school
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 316 of 330 PageID #: 7463
                                                                           316
                                    Fassihi - direct

     1     education?

     2     A.      I got my Bachelor's of Pharmacy from Punjab

     3     University in India.

     4                   From there, I went to United Kingdom.         I got my

     5     Ph.D. from Brighton University in 1978.

     6     Q.      And what did you do immediately after you received

     7     your Ph.D. in 1978?

     8     A.      After I got my Ph.D., I joined Isfahan University in

     9     Isfahan as an Assistant Professor in Pharmacy.

    10                   Then in 1982, I joined, I went back to United

    11     Kingdom and joined the School of Pharmacy at Brighton

    12     University as a postdoctorate fellow.

    13                   The following year of that, 1983, I joined a

    14     School of Pharmacy as a Senior Scientist at Welsh School of

    15     Pharmacy in Cardiff.

    16     Q.      And what did you do after the Welsh School of

    17     Pharmacy?

    18     A.      After there, I joined Rhodes University in

    19     Grahamstown in South Africa as a Senior Lecturer, which is

    20     equivalent to Associate Professor in U.S. terms.

    21                   And I was there, and after four years, I went to

    22     Johannesburg, South Africa.       I became Head of Department and

    23     Chair of School of Pharmacy, Chair of Pharmaceutics At the

    24     School of Pharmacy at the University of Witwaterstrand.

    25     Q.      And where did you go after Johannesburg?
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                                                                           317
                                    Fassihi - direct

     1     A.      In 1991, I joined University of Cincinnati as a

     2     Visiting Professor working with Dr. Richard that was

     3     mentioned here for a year.

     4                   And then in 1992, I joined Temple University as

     5     Professor, and I've been at Temple since then.

     6     Q.      And what courses have you taught at Temple

     7     University?

     8     A.      Well, at Temple, we have Pharm.D students, and Ph.D.

     9     students, and amateur students.

    10                   So I teach the courses that I have taught are

    11     pharmaceutics, drug formulation, controlled drug release

    12     systems, the bioavailability, bioequivalency, and there are

    13     model pharmaceuticals, these other particle preparations.

    14     Q.      And do you teach a course on sustained release

    15     formulations specifically?

    16     A.      I do, yes.

    17     Q.      And to whom do you teach that?

    18     A.      Well, some basics of controlled release technology

    19     very similar to what Dr. Kibbe described, I teach at the

    20     Pharm.D level.     And then I have more advanced courses in

    21     controlled release that are designed for Ph.D. students and

    22     those who want to go to pharmaceutical companies.

    23     Q.      What is the difference between a Pharm.D degree and a

    24     Ph.D. degree?

    25     A.      The Pharm.D degree is a six year program that is
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 318 of 330 PageID #: 7465
                                                                           318
                                    Fassihi - direct

     1     designed to train pharmacists, basically clinical

     2     pharmacists that work in the pharmacies in the hospitals.

     3     Sometimes also they join pharmaceutical companies.

     4                    The Ph.D.s is more advanced degree.        So after,

     5     for example, they finish Pharm.D, which is pharmacy

     6     doctorate, they can go for Ph.D. and spend another four

     7     years, five years to get that degree.

     8     Q.      Have you, in the course of your career, been an

     9     advisor for Ph.D. students?

    10     A.      Yes.   I have always had graduate students at the

    11     Ph.D. level.    I have been major advisor to 27 Ph.D.

    12     students.

    13     Q.      Do you do research at Temple?

    14     A.      I do, yes.

    15     Q.      And can you tell us what sort of research you do?

    16     A.      My research focuses on development of solid oral

    17     dosage forms and specifically controlled release, sustained

    18     release pharmaceuticals for oral administration and for

    19     other routes of administration as well.

    20     Q.      Would you turn to -- and have you done research

    21     developing sustained release formulations?

    22     A.      Yes, I have.

    23     Q.      And what sort of research have you done developing

    24     sustained release formulations?

    25     A.      Most of the projects that I have done, obviously they
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 319 of 330 PageID #: 7466
                                                                           319
                                    Fassihi - direct

     1     relate to my Ph.D. graduate, so many of those projects were

     2     sponsored by pharmaceutical companies and they involve

     3     formulation developments of sustained release preparations,

     4     the evaluation of them and bioequivalence, bioavailability.

     5                    We have also tried, for educational purposes, to

     6     comply with the FDA regulatory side of the requirements for

     7     development of pharmaceutical formulations.

     8     Q.      Would you turn in your exhibit book to JTX-40?

     9     A.      (Witness complies.)      Yes, I'm there.

    10     Q.      Can you tell me what JTX-40 is?

    11     A.      This is my CV.

    12     Q.      And does your CV provide further detail regarding

    13     your education, your work experience and research

    14     experience?

    15     A.      It does, yes.

    16     Q.      Have you published your research in peer-reviewed

    17     books and journals?

    18     A.      Yes, I have about 135 peer-reviewed scientific

    19     publications in the journals.       I have also book chapters.

    20     And I also have seven U.S. patents issued.

    21     Q.      Have you also delivered speeches and presentations?

    22     A.      Yes.   During the course of my 24 years here, I have

    23     always been invited at various meetings, control release

    24     society, American Association of Pharmaceutical Scientists.

    25     Regularly I go and present seminars, workshops.           I also have
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                                                                           320
                                    Fassihi - direct

     1     given seminars and still give seminars at FDA.

     2     Q.        And are the peer-reviewed publications and

     3     presentations that you have given over the years detailed in

     4     JTX-40?

     5     A.        They are.    They are listed there, starting on page 5

     6     of my CV.

     7     Q.        And to what extent do those publications and

     8     presentations relate to research in the development of

     9     sustained release formulations?

    10     A.        The majority of my publications relate to sustained

    11     release, controlled release, dosage forms for oral

    12     administration.

    13     Q.        And you mentioned that you are an inventor on several

    14     U.S. patents.       Do any of those patents relate to sustained

    15     release formulations?

    16     A.        Except for one, which is apparatus, all of them

    17     relate to controlled release delivery systems, yes.

    18     Q.        Have you testified before as an expert in patent

    19     cases?

    20     A.        I have.

    21     Q.        Have you testified for both branded companies and

    22     generic companies?

    23     A.        I have, yes.

    24                    MR. STIEFEL:    Your Honor, at this time,

    25     plaintiffs would offer Professor Fassihi as an expert in the
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 321 of 330 PageID #: 7468
                                                                           321
                                    Fassihi - direct

     1     field of pharmaceutics and, in particular, sustained release

     2     formulations.

     3                   THE COURT:    Is there any objection to that?

     4                   MR. FLORENCE:     No, Your Honor.

     5                   THE COURT:    Okay.    He is so recognized.

     6                   MR. STIEFEL:     Thank you, Your Honor.

     7     BY MR. STIEFEL:

     8     Q.      When you got involved in this case, did you review

     9     the report which had been submitted by the expert report

    10     which had been submitted by Dr. Kibbe?

    11     A.      Yes, I reviewed that.

    12     Q.      And what were you asked to do?

    13     A.      Well, I was asked to review that and give my opinion

    14     on the '938 patent.      So I read the report and I also read

    15     the '938 patent, and I provided my opinion in my report.

    16     Q.      And did you provide an opinion on the question of

    17     obviousness that Dr. Kibbe raised?

    18     A.      That is correct, yes.

    19     Q.      And did you understand in doing that, that you

    20     should, that you were to consider the validity issues from

    21     the perspective of a person of ordinary skill in the art at

    22     the time, as of the priority date of the '938 patent?

    23     A.      Yes, I was aware of that.

    24     Q.      And I'd like you to take a look at PDX-4-1.          Do you

    25     see there a definition of a person of ordinary skill in the
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 322 of 330 PageID #: 7469
                                                                           322
                                    Fassihi - direct

     1     art?

     2     A.        Yes.

     3     Q.        Is that the definition that appears in your expert

     4     report.

     5     A.        It is, yes.

     6     Q.        And did you -- and that was a definition that the

     7     plaintiffs had subscribed to before you got involved; is

     8     that correct?

     9     A.        I believe so, yes.

    10     Q.        And did you consider this a reasonable definition of

    11     are person of ordinary skill in the art in the context of

    12     the issues that you were being asked to consider?

    13     A.        Yes, I think this was reasonable definition.        Yes.

    14     Q.        Did you also review the definition of a person of

    15     ordinary skill in the art that was set forth in Dr. Kibbe's

    16     expert report?

    17     A.        Yes, I also read that.    Yes.

    18     Q.        And in terms of the opinions that you have arrived

    19     at, is there -- does it matter whether you are applying the

    20     definition that is reflected in PDX-4-1, which is on the

    21     screen, or the definition that Dr. Kibbe provided in his

    22     expert report?

    23     A.        They are very similar, and I think they talk to the

    24     same thing, so, no, there, no difference between them.

    25     Q.        And you were present earlier today when Dr. Kibbe
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 323 of 330 PageID #: 7470
                                                                           323
                                    Fassihi - direct

     1     testified about his view of person of ordinary skill in the

     2     art; is that correct?

     3     A.      Yes.

     4     Q.      And do your opinions change any if you apply the

     5     opinion that -- the definition of person of ordinary skill

     6     in the art that Dr. Kibbe provided at the time?

     7     A.      No, I don't think it would change my opinion.          No.

     8     Q.      Can we take a look at Plaintiffs' Exhibit 4-2.

     9                    Can you tell me what is reflected on Plaintiffs'

    10     Exhibit 4-2?

    11     A.      This is a description of what is obviousness and is

    12     something that I have read and has been provided to me, and

    13     I am familiar with it.

    14                    So it talks about the patent claims that are

    15     invalid as obvious if the differences between the claimed

    16     invention and the prior art are such that the claimed

    17     invention as a whole would have been obvious before the

    18     effective filing date of the claimed invention to a person

    19     having ordinary skill in the art to which the claimed

    20     invention pertains.

    21     Q.      And is the contents of that slide, are those points

    22     that you took into account in arriving at the opinions that

    23     you have reached with respect to the '938 patent?

    24     A.      Yes, I have looked at them carefully.         And, yes, I

    25     have applied them.
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                                                                           324
                                    Fassihi - direct

     1     Q.       Would you turn to JTX-1?

     2     A.       (Witness complies.)     Yes.

     3     Q.       And you recognize that is the '938 patent; correct?

     4     A.       That is correct.

     5     Q.       And what is the U.S. priority date on that is what

     6     date?

     7     A.       The priority date on this one is November 1, 1991.

     8     Q.       And you heard Dr. Kibbe provided an opinion with

     9     respect to a priority date of November 1990; correct?

    10     A.       Yes.

    11     Q.       And does it matter in terms of your opinion whether

    12     you use a priority date of November 1991 or November 1990?

    13     A.       It wouldn't make any difference.       This is the same

    14     thing.

    15     Q.       And who do you understand the inventors of the '938

    16     patent were?

    17     A.       The inventors were Dr. Masterson, who was the MD and

    18     had an MD, and Dr. Myers, which I saw the video earlier this

    19     morning.    Those were the inventors.

    20     Q.       And do you have an understanding as to who employed

    21     Drs. Masterson and Myers at the time that they did the work

    22     that is reflected in the '938 patent?

    23     A.       They were employed by Elan Corporation.

    24     Q.       And were you familiar with Elan Corporation in 1990?

    25     A.       I was familiar with them, yes.
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                                                                           325
                                    Fassihi - direct

     1     Q.      And how were you familiar with them?

     2     A.      Well, in 1990 -- towards mid '80s, 1990 and early

     3     '90s, control release sustained release technology was

     4     something which was emerging, so many people were showing

     5     interest, but Elan Corporation was really on the forefront

     6     of all of the other companies.        And their scientists were

     7     for providing information at the meetings that I used to

     8     attend, conferences, Controlled Release Society and other

     9     meetings.    And I had heard them, so they were into the

    10     development of sustained release, controlled release

    11     delivery system ahead of everybody else.

    12     Q.      And does that bear on your analysis here?

    13     A.      Well, the people were there, you know, they had

    14     obviously education, experience, the talent and for sure I

    15     respect that.     I have, yes.

    16     Q.      You heard testimony earlier about potential

    17     advantages to sustained release formulations; correct?

    18     A.      That's correct.

    19     Q.      And do you have any disagreement with the fact that

    20     there are, in certain instances, advantages to using

    21     sustained release formulations?

    22     A.      There are advantages to the sustained release

    23     formulation, but there are also disadvantages associated

    24     with them.    So I have no argument with that at all.

    25     Q.      And what sorts of potential disadvantages are there
Case 1:14-cv-00882-LPS Document 266 Filed 10/21/16 Page 326 of 330 PageID #: 7473
                                                                           326
                                    Fassihi - direct

     1     to sustained release formulations?

     2     A.      I think this morning, dose dumping was mentioned,

     3     which is a serious issue.

     4     Q.      What is that?     What does that mean?

     5     A.      What it means is that most, all of controlled release

     6     systems, dosage forms, they have larger dose of the drug and

     7     the idea is that the release the drug very gradually, very

     8     slowly at a controlled rate.

     9                    If they break down for some reason, if they

    10     rupture, if they failure mechanically, they dump all the

    11     drug, and that could cause toxicity and problems.           This can

    12     happen by biting on the dosage form, this can happen by

    13     consumption of maybe alcohol, and things like that.           That

    14     could change the release rate, and it could cause problems

    15     with that dose dumping.

    16     Q.      What other, if any, potential disadvantages are there

    17     to using sustained release formulation?

    18     A.      Well, the sustained release formulations are more

    19     difficult, much more difficult to design so they are more

    20     expensive.    Not everybody has the knowledge to get -- to

    21     design them.    Unlike immediate release, they don't dissolve

    22     rapidly.    The drug travels from the stomach into a small

    23     intestine and distal intestine, in all these environment the

    24     drug has to function, has the release the drug, and the

    25     absorption of the drug in the entire GI tract is not
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                                                                           327
                                    Fassihi - direct

     1     uniform.    We never know where in what part, how much is

     2     absorbed.    A small intestine, the proximal has different

     3     absorption capacity, distal part has different and ascending

     4     colon also a different absorption capacity.          So those are

     5     the complications.

     6                   The pH environment changes from pH one to three

     7     in the stomach to four, five in the small intestine to 7.75

     8     in the iliac area and colon.       All of these would impact what

     9     happens to the dosage form and release.

    10                   The food that we ingest also is associated with

    11     the influencing the nature of drug release, so these are

    12     areas that when we are thinking of designing control drug

    13     system, we have to pay at a lot of attention and understand

    14     them very well before we do anything.

    15     Q.      So is the development of the sustained release

    16     formulation more difficult than the development of an

    17     immediate release formulation?

    18     A.      Of course it is.

    19     Q.      How has the development of sustained release

    20     formulation changed in the years between 1990 and the

    21     present?

    22     A.      Well, in 1990 we knew very little about controlled

    23     release, how to design them, how to develop them in such a

    24     way that they would work and not fail.         And we had limited

    25     number of excipients that we could use; equipment were not
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                                                                           328
                                    Fassihi - direct

     1     as sophisticated as they are today, so today we have a lot

     2     more of excipients, polymeric materials, sophisticated

     3     equipment that none of them we had before, so it was much

     4     more difficult in the 1990 time frame as compared to now.

     5     Q.      Have you in the course of your work on this case

     6     reached an opinion as to whether the development of the

     7     sustained release formulation would have been considered --

     8     withdrawn.

     9                   Have you reached an opinion in the course of

    10     your work in this case as to whether the development of a

    11     sustained release formulation of 4-AP would have been

    12     considered routine work in 1990-91?

    13     A.      Yes, my understanding reading the patent and

    14     everything which was available regarding 4-AP,

    15     4-aminopyridine, it was not routine experimentation at all,

    16     because this is a toxic material that at the time it was

    17     very toxic, induced seizures, so not much information was

    18     available.    So no, it was not a routine experimental drug at

    19     all.

    20     Q.      Did you hear Dr. Kibbe's testimony this morning that

    21     the development of the sustained release formulation as of

    22     1990 was really straightforward?

    23     A.      Well, that was Dr. Kibbe's opinion, but the fact is

    24     that even today, designing sustainable release is a

    25     challenge, even today, twenty years later, twenty-six years
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                                                                           329
                                    Fassihi - direct

     1     later, no, it's not a routine experimentation, it wasn't

     2     then, it is not now.      If it was routine, I could not train

     3     my Ph.D. student.

     4     Q.      Would you look at PTX 95.       Are you familiar with PTX

     5     95?

     6     A.      Yes, it is a pharmaceutical dosage forms tablets,

     7     authored by Lieberman, Lachman and Schwartz.

     8     Q.      Specifically PTX 95 includes a chapter from that

     9     treatise; is that correct?

    10     A.      That is correct, chapter four on sustained drug

    11     release from tablets and particles through coating.

    12     Q.      Do you recognize the name Joseph Robinson as one of

    13     the authors of chapter four?

    14     A.      I do.

    15     Q.      Who is Dr. Robinson?

    16     A.      Dr. Robinson was a well-known pharmaceutical

    17     scientist, especially in control release area.          He was

    18     actively working in the area at the time.          He was definitely

    19     knowledgeable and very knowledgeable professor, and a good

    20     man.

    21     Q.      And what was the year of this publication?

    22     A.      This publication was -- this is 1990.

    23     Q.      And did you hear Dr. Kibbe earlier today read from

    24     page 201 of PTX 95 where doctor -- where the authors say

    25     that design of the sustained release product is normally a
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                                                                           330
                                    Fassihi - direct

     1     very difficult task?

     2     A.      Yes.

     3     Q.      And do you agree with that view?

     4     A.      I fully agree with that, yes.

     5     Q.      In 1990 --

     6                    MR. STIEFEL:    Your Honor, I'm going to sort of

     7     start on a new section right now.        Would this be an

     8     appropriate time to break?

     9                    THE COURT:   Yes.   Thank you for that.      Bear with

    10     me for a moment, Doctor.

    11                    Just for counsel's planning purposes, subject to

    12     anything unusual happening tomorrow, I expect tomorrow will

    13     look a lot like today.      We'll get started at 8:30 and I'm

    14     available as of now until 6:00.

    15                    Anything we should talk about before we break?

    16                    MR. STIEFEL:    Not that I know of.

    17                    THE COURT:   Defendants.     Thank you for a good

    18     first day.

    19                    We will be in recess.

    20                    (Court adjourned at 5:56 p.m.)

    21

    22            I hereby certify the foregoing is a true and accurate
           transcript from my stenographic notes in the proceeding.
    23

    24                                     /s/ Brian P. Gaffigan
                                          Official Court Reporter
    25                                      U.S. District Court
